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              Jason M. Rund             Main Document  Page 1 of 232
              270 Coral Circle
              El Segundo, CA 90245
              Telephone: 310-640-1200
              Facsimile: 310-640-0200
1A
 101-7-TDR
 /2009
 /2010
 ary
 2 Services   Email: jrund@srlawyers.com
                                     UNITED STATES BANKRUPTCY COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
                                           LOS ANGELES DIVISION


               In Re:                                       §
                                                            §
               YOUTH POLICY INSTITUTE, INC.                 §      Case No. 2:19-23085 BB
                                                            §
                                   Debtor                   §

                               CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                               REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                               ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                       JASON M. RUND, TRUSTEE, chapter 7 trustee, submits this Final Account,
               Certification that the Estate has been Fully Administered and Application to be Discharged.

                       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
               and, if applicable, any order of the Court modifying the Final Report. The case is fully
               administered and all assets and funds which have come under the trustee’s control in this case
               have been properly accounted for as provided by law. The trustee hereby requests to be
               discharged from further duties as a trustee.

                      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
               discharged without payment, and expenses of administration is provided below:


               Assets Abandoned: 7,561,943.07                       Assets Exempt: NA
               (Without deducting any secured claims)

               Total Distributions to Claimants: 4,011,787.56       Claims Discharged
                                                                    Without Payment: NA

               Total Expenses of Administration: 2,670,835.36


                       3) Total gross receipts of $ 6,682,622.92 (see Exhibit 1), minus funds paid to the debtor
               and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 6,682,622.92 from the
               liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS            CLAIMS                CLAIMS                 CLAIMS
                                                SCHEDULED          ASSERTED              ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                  $ 4,481,622.00    $ 4,858,441.26        $ 1,335,374.63          $ 826,933.37

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                           NA       2,670,835.36          2,670,835.36          2,670,835.36

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                   NA                NA                    NA                    NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                             896,740.72      1,219,670.08          1,133,224.06          1,104,782.01

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                             6,829,209.22     19,038,112.39         18,969,010.66          2,080,072.18

TOTAL DISBURSEMENTS                              $ 12,207,571.94   $ 27,787,059.09       $ 24,108,444.71        $ 6,682,622.92


                  4) This case was originally filed under chapter 7 on 11/05/2019 . The case was pending
          for 55 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 05/15/2024                         By:/s/JASON M. RUND, TRUSTEE
                                                                           Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                        EXHIBITS TO
                                                      FINAL ACCOUNT


          EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                              UNIFORM                         $ AMOUNT
                                                                 TRAN. CODE1                      RECEIVED

ACCOUNTS RECEIVABLE - 90 DAYS OR
LESS                                                              1121-000                           513,361.21

ACCOUNTS RECEIVABLE - OVER 90 DAYS
OLD                                                               1121-000                               77,221.90

FUTA OVERPAYMENT - 2017                                           1124-000                           211,426.97

FUTA OVERPAYMENT - 2018                                           1124-000                               58,123.87

FINANCIAL ACCOUNT - WELLS FARGO
(SAVINGS)                                                         1129-000                                    0.78

FINANCIAL ACCOUNT - WELLS FARGO
(CHECKING)                                                        1129-000                                   47.43

FINANCIAL ACCOUNT - WELLS FARGO
(PAYROLL CHECKING)                                                1129-000                                4,545.49

FINANCIAL ACCOUNT - CITIBANK (CPWM
CHECKING)                                                         1129-000                                6,704.53

FINANCIAL ACCOUNT - CITIBANK
(CHECKING)                                                        1129-000                                1,251.29

FINANCIAL ACCOUNT - CITIBANK
(CHECKING)                                                        1129-000                                 401.10




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                         DESCRIPTION                              UNIFORM                         $ AMOUNT
                                                                 TRAN. CODE1                      RECEIVED

FINANCIAL ACCOUNT - CITIBANK
(CHECKING)                                                        1129-000                                    9.82

FINANCIAL ACCOUNT - CITIBANK
(CHECKING)                                                        1129-000                               23,725.00

FINANCIAL ACCOUNT - PAYPAL
(CHECKING)                                                        1129-000                               25,528.68

 TRANSFER - KAISER PERMANENTE                                     1141-000                           294,107.90

 TRANSFER - PRINCIPAL'S EXCHANGE                                  1141-000                               25,000.00

 TRANSFER - VISION SERVICE PLAN                                   1141-000                                7,500.00

 TRANSFER - THE PRINCETON REVIEW                                  1141-000                               20,000.00

TRANSFER - CALIFORNIA DENTAL
NETWORKS, INC                                                     1141-000                                7,467.00

 TRANSFER - BENUCK & RAINEY, INC.                                 1141-000                                8,500.00

TRANSFER - CALIFORNIA COMMUNITY
FOUNDATION                                                        1141-000                           400,000.00

CAUSE OF ACTION - DIXON SLINGERLAND
DEMAND                                                            1149-000                          4,886,796.00

FUTA OVERPAYMENT - 2016                                           1224-000                                4,820.96

CONTRIBUTION TO DEBTOR - BANK OF
AMERICA                                                           1229-000                               50,000.00

GRANTS - NOT REFLECTED IN SCHEDULES                               1229-000                               13,787.50




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                             DESCRIPTION                                   UNIFORM                                $ AMOUNT
                                                                          TRAN. CODE1                             RECEIVED

    REFUND - KEY DEPOSIT                                                     1229-000                                        50.00

    REFUND - INSURANCE                                                       1229-000                                     2,228.94

    FINANCIAL ACCOUNT - CITIBANK                                             1229-000                                     1,968.62

    FINANCIAL ACCOUNT - CITIBANK                                             1229-000                                        85.00

    CITY OF LOS ANGELES                                                      1229-000                                     1,579.23

FINANCIAL ACCOUNT - UNIVERSAL BANK                                           1229-000                                     1,336.38

FINANCIAL ACCOUNT - WELLS FARGO
BANK                                                                         1229-000                                        10.54

FINANCIAL ACCOUNT - CITIBANK
(SAVINGS)                                                                    1229-000                                     3,717.81

PREFERENCE - PRINCIPAL LIFE
INSURANCE                                                                    1241-000                                    10,000.00

    Post-Petition Interest Deposits                                          1270-000                                    21,318.97

TOTAL GROSS RECEIPTS                                                                                              $ 6,682,622.92
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM       $ AMOUNT
                                                                                                   TRAN. CODE        PAID

NA                                                                                                      NA                     NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                $ 0.00
THIRD PARTIES




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             EXHIBIT 3 – SECURED CLAIMS

                                                  UNIFORM         CLAIMS
                                                                                   CLAIMS            CLAIMS
CLAIM NO.               CLAIMANT                   TRAN.       SCHEDULED                                              CLAIMS PAID
                                                                                  ASSERTED          ALLOWED
                                                   CODE       (from Form 6D)

              Ford Motor Credit
              260 Interstate N PKWY NW
              Atlanta, GA 30339                                      13,622.00                NA                NA               0.00


              Jules and Associates
              2 Great Valley Parkway,
              Suite 300
              Malvern, PA 19355                                     118,000.00                NA                NA               0.00


              LOS ANGELES UNIFIED
000142B       SCHOOL DISTRICT                     4110-000                 NA         399,115.53        399,115.53               0.00


              BB&T NOW TRUIST,
000028        BANKRUPTCY MANAGEM 4210-000                                  NA         109,325.73        109,325.73               0.00


              NONPROFIT FINANCE
000130A       FUND                                4210-000        4,350,000.00       4,350,000.00       826,933.37        826,933.37

TOTAL SECURED CLAIMS                                            $ 4,481,622.00     $ 4,858,441.26    $ 1,335,374.63      $ 826,933.37


             EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                           UNIFORM
                                                               CLAIMS             CLAIMS             CLAIMS
                PAYEE                       TRAN.                                                                     CLAIMS PAID
                                                             SCHEDULED           ASSERTED           ALLOWED
                                            CODE

TRUSTEE
COMPENSATION:JASON M.
RUND                                        2100-000                     NA          223,584.32        223,584.32         223,584.32




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                                           UNIFORM
                                                          CLAIMS          CLAIMS           CLAIMS
                PAYEE                       TRAN.                                                          CLAIMS PAID
                                                        SCHEDULED        ASSERTED         ALLOWED
                                            CODE

TRUSTEE EXPENSES:JASON M.
RUND                                        2200-000                NA         6,377.13         6,377.13           6,377.13


INTERNATIONAL SURETIES, LTD                 2300-000                NA         6,857.05         6,857.05           6,857.05


MDB INTERNATIONAL
BRANDING LLC                                2410-000                NA      105,000.00       105,000.00        105,000.00


TRUSTEE INSURANCE AGENCY                    2420-000                NA         2,635.41         2,635.41           2,635.41


AXOS BANK                                   2600-000                NA        47,421.34        47,421.34          47,421.34


FRANCHISE TAX BOARD                         2690-730                NA         3,793.68         3,793.68           3,793.68


UNITED STATES BANKRUPTCY
COURT                                       2700-000                NA           350.00           350.00            350.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):GREENBERG
GLUSKER                                     3210-000                NA      558,314.50       558,314.50        558,314.50


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):LAW OFFICE OF
PHILIP DRACHT                               3210-600                NA     1,612,642.68     1,612,642.68      1,612,642.68


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):GREENBERG GLUSKER                     3220-000                NA         9,488.16         9,488.16           9,488.16


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER FIRM):LAW
OFFICE OF PHILIP DRACHT                     3220-610                NA         1,701.96         1,701.96           1,701.96




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                                         UNIFORM
                                                         CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                       SCHEDULED        ASSERTED         ALLOWED
                                          CODE

ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):HAHN FIFE
& COMPANY, LLP                            3410-000                 NA        40,476.00        40,476.00          40,476.00


ACCOUNTANT FOR TRUSTEE
EXPENSES (OTHER FIRM):HAHN
FIFE & COMPANY, LLP                       3420-000                 NA           921.10           921.10            921.10


BARBARA J SCHWARTZ                        3991-000                 NA           590.63           590.63            590.63


INTERCO MANAGEMENT
CORPORATION                               3991-400                 NA        45,000.00        45,000.00          45,000.00


INTERCO MANAGEMENT
CORPORATION                               3992-410                 NA         5,681.40         5,681.40           5,681.40

TOTAL CHAPTER 7 ADMIN. FEES                                     $ NA    $ 2,670,835.36   $ 2,670,835.36    $ 2,670,835.36
AND CHARGES



           EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                         CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                       SCHEDULED        ASSERTED         ALLOWED
                                          CODE

NA: NA                                          NA                 NA              NA               NA                 NA

TOTAL PRIOR CHAPTER ADMIN.                                      $ NA             $ NA             $ NA               $ NA
FEES AND CHARGES



           EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                            CLAIMS            CLAIMS
                                                UNIFORM
                                                          SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                       CLAIMS PAID
                                                           (from Form      (from Proofs of    ALLOWED
                                                 CODE
                                                               6E)             Claim)

            ACEVEDO, JACQUELINE
            819 West Maple Street
            Compton, CA 90220                                     423.94                 NA             NA            0.00


            ACOSTA CARR, MEGAN H.
            1000 Tiverton Ave.
            Los Angeles, CA 90024                               1,446.80                 NA             NA            0.00


            ACOSTA, ALICIA
            14410 TUPPER ST.
            PANORAMA CITY, CA
            91402                                                 425.00                 NA             NA            0.00


            ACUNA, ALONDRA
            1217 GABRIEL GARCIA
            MARQUEZ ST
            LOS ANGELES, CA 90033                               2,498.13                 NA             NA            0.00


            AGUILAR, MELISSA
            4630 LIVE OAK ST
            CUDAHY, CA 90201                                    3,005.19                 NA             NA            0.00


            AGUILAR, RICARDO D
            3546 WEST 132nd STREET
            HAWTHORNE, CA 90250                                 1,682.52                 NA             NA            0.00


            AGUILERA Jr., ANTONIO
            12972 Vaughn Street
            San Fernando, CA 91340                                213.75                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            AGUIRRE, ALEJANDRA
            12724 Herrick Ave
            Sylmar, CA 91342                                       303.52                 NA             NA            0.00


            AGUIRRE, ANA
            11803 GAGER ST
            LAKE VIEW TERRACE, CA
            91342                                                3,290.06                 NA             NA            0.00


            AGUIRRE, JOHN S.
            11150 GLENOAKS BLVD
            APT #34
            PACOIMA, CA 91331                                    2,783.00                 NA             NA            0.00


            AHUACTZI, VICTORIA
            7016 NATICK AVE
            VAN NUYS, CA 91405                                   4,713.31                 NA             NA            0.00


            ALBA, SORIE
            2049 CALLA LA SOMBRA
            UNIT 1
            SIMI VALLEY, CA 93063                                1,388.20                 NA             NA            0.00


            ALCALA, MARTIN D.
            13700 KAGEL CANYON ST
            ARLETA, CA 91331                                       376.72                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            ALEGRIA BORJAS, MIRNA
            E
            1053 S. NEW HAMPSIRE
            AVE. APT # 208
            LOS ANGELES, CA 90006                                  356.25                 NA             NA            0.00


            ALEMAN, VICTORIA
            5711 S Hooper ave
            Los Angeles, CA 90011                                  199.50                 NA             NA            0.00


            ALMANZA, YURI Y
            588 N. SUMMIT AVE APT
            A
            PASADENA, CA 91103                                   2,018.36                 NA             NA            0.00


            ALTAMIRANO, TOMMY
            14255 TYLER STREET APT
            2016
            SYLMAR, CA 91340                                     1,861.08                 NA             NA            0.00


            ALVARADO, ALEJANDRO
            12205 Hillsdale Ave
            Los Angeles, CA 91342                                  285.00                 NA             NA            0.00


            ALVARADO, ANNA
            12874 SUNBURST ST
            PACOIMA, CA 91331                                    4,024.93                 NA             NA            0.00


            ALVARADO, EKYAER
            244 1/4/ W 71ST
            LOS ANGELES, CA 90003                                  484.50                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            ALVARADO, MARILYNN
            M.
            4811 Rosewood Ave APT# 6
            LOS ANGELES, CA 90024                                1,581.48                 NA             NA            0.00


            ALVARADO, MARKO A.
            15555 NORDHOFF ST APT
            #6
            NORTH HILLS, CA 91343                                  183.50                 NA             NA            0.00


            ALVAREZ, ZABDI
            1000 S COAST DR L202
            COSTA MESA, CA 92626                                   254.08                 NA             NA            0.00


            ALVEAR, YANELI Y.
            2771 San Marino St. Apt#1
            Los Angeles, CA 90006                                  331.50                 NA             NA            0.00


            ALVIRDE, SANDY
            1417 W. 3rd St Apt #505
            Los Angeles, CA 90017                                  274.46                 NA             NA            0.00


            ANDALON GARCIA,
            RODOLFO
            5135 WOOD AVE
            SOUTH GATE, CA 90280                                 3,411.40                 NA             NA            0.00


            ANDERSON I, KEENAN
            112 E Buckthorn
            Inglewood, CA 90301                                     68.00                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            ANGUIANO, SABRINA I.
            10825 Telfair Ave
            Pacomia, CA 91331                                      244.67                 NA             NA            0.00


            ANTILLON, JACQUELINE
            V.
            1954 E 87th st
            Los angeles, CA 90002                                   99.75                 NA             NA            0.00


            ANTONIO, JUSTEEN
            946 S. CARONDELET ST.
            APT #2
            LOS ANGELES, CA 90006                                  216.93                 NA             NA            0.00


            ANTUNA, LILIA
            420 N Evergreen Ave 221
            Los Angeles, CA 90033                                  274.50                 NA             NA            0.00


            ANTUNA, MELISSA
            15044 BECKNER ST
            LA PUENTE, CA 91744-
            3738                                                   448.88                 NA             NA            0.00


            ANZALDO, ESMERALDA
            B.
            14000 Daventry St
            PACOIMA, CA 91331                                      195.80                 NA             NA            0.00


            APARICIO, ALEJANDRA
            13200 MERCER STREET
            PACOIMA, CA 91331                                    1,351.14                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            AQUINO, CARLOS
            3546 East 2nd Street
            Los Angeles, CA 90063                                3,714.25                 NA             NA            0.00


            ARANDA, LUIS
            1031 S. KINGSLEY DR. APT
            #2
            LOS ANGELES, CA 90006                                  438.91                 NA             NA            0.00


            ARANGO, EDWIN A
            727 SOUTH SERRANO
            AVENUE APT #17
            LOS ANGELES, CA 90005                                1,855.60                 NA             NA            0.00


            ARANGO-REYES, DORIS
            1440 E. 59TH PL
            LOS ANGELES, CA 90001                                2,392.88                 NA             NA            0.00


            ARAUJO, SEBASTIAN
            7706 Eton Avenue
            Canoga Park, CA 91304                                  256.36                 NA             NA            0.00


            ARCHILA, SELWYN
            10193 MOREHART AVE
            PACOIMA, CA 91331                                      311.59                 NA             NA            0.00


            ARECHIGA, BRIAN
            6821 Otis Ave
            Bell, CA 90201                                         224.75                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            ARIAS, NANCY
            3757 PUEBLO AVE
            LOS ANGELES, CA 90032                                3,842.68                 NA             NA            0.00


            ARREOLA, MELISSA
            3338 SEYMOUR ST
            LOS ANGELES, CA 90065                                  392.70                 NA             NA            0.00


            ARRIAGA, MIGUEL
            420 S SOTO ST
            LOS ANGELES, CA 90033                                  196.37                 NA             NA            0.00


            ARRIOLA, LESLIE
            335 W. 90TH STREET
            LOS ANGELES, CA 90003                                  861.76                 NA             NA            0.00


            ARROYO, ARLENE A
            4555 Michigan Ave
            Los Angeles, CA 90022                                  240.25                 NA             NA            0.00


            ARTHUR, ANDREW W.
            3842 PROSPECT AVENUE
            #6
            CULVER CITY, CA 90232                                  369.60                 NA             NA            0.00


            AUSTIN, JAMERE
            11755 Hunnewell Ave
            Sylmar, CA 91342-6057                                  338.30                 NA             NA            0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            AVALOS, DOMINIQUE
            12902 CORRENTI ST
            PACOIMA, CA 91331                                      442.00                 NA             NA            0.00


            AVALOS, JOSEPH J.
            9505 Sylmar Ave #3
            Pacoima, CA 91402                                      232.06                 NA             NA            0.00


            AVILA, BERNADETTE
            7228 Jamieson Ave
            Reseda, CA 91335                                       290.87                 NA             NA            0.00


            AVILA, ILIANA
            3745 MERCURY AVENUE
            LOS ANGELES, CA 90031                                1,880.97                 NA             NA            0.00


            AVILES, ALMA
            2615 CALIFORNIA ST
            HUNTINGTON PARK, CA
            90255                                                  940.78                 NA             NA            0.00


            AVINA LOPEZ, JULIO
            19549 DELIGHT ST
            CANYON COUNTRY, CA
            91351                                                1,937.57                 NA             NA            0.00


            AVINA, JESSICA
            19549 DELIGHT ST
            CANYON COUNTRY, CA
            91351                                                1,459.44                 NA             NA            0.00




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            AYALA, JOCELYN C.
            11150 Glenoaks #61
            Pacoima, CA 91331                                      725.32                 NA             NA            0.00


            AYALA, STEPHANIE
            225 N AVE 25 APT #222
            LOS ANGELES, CA 90031                                2,155.48                 NA             NA            0.00


            Aguilar, Bryan M
            11529 Califa St Apt 5
            North Hollywodd, CA 91601                              148.75                 NA             NA            0.00


            Aguilar, Ulises
            1190 Rolland Curtis Pl
            Los Angeles, CA 90037                                  397.50                 NA             NA            0.00


            Alejandro, Ricky
            714 S New Hampshire Ave
            Apt 15
            Los Angeles, CA 90005                                  374.85                 NA             NA            0.00


            Alvarez, Edy
            11763 Glencrest Drive
            San Fernando, CA 91340                                 310.00                 NA             NA            0.00


            Amezcua, Jasmin B.
            12112 Peoria St
            Sun Valley, CA 91352                                   305.00                 NA             NA            0.00




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                                                                6E)             Claim)

            Anguiano, Marlene R.
            10825 Telfair Ave
            Pacoima, CA 91331                                      334.80                 NA             NA            0.00


            Armenta, Steven R.
            8416 Luxor Street
            Downey, CA 90241                                       178.12                 NA             NA            0.00


            BALTAZAR CORDOVA,
            ILIANA
            12109 MCKINLEY AVE
            LOS ANGELES, CA 90059                                  375.00                 NA             NA            0.00


            BANUELOS, BREANNA
            16321 CHASE STREET
            NORTH HILLS, CA 91343                                  228.99                 NA             NA            0.00


            BANUELOS, CINDY
            37921 50TH ST. EAST
            PALMDALE, CA 93552                                     319.18                 NA             NA            0.00


            BARAJAS, ANTHONY
            905 SAN FERNANDO
            ROAD APT #6
            SAN FERNANDO, CA 91340                               5,600.00                 NA             NA            0.00


            BARAJAS, EMILIO M.
            13368 Pierce St.
            Pacoima, CA 91331                                      211.33                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            BARRAGAN, LUCIE F.
            14200 Polk St Unit 17
            Sylmar, CA 91342                                       289.45                 NA             NA            0.00


            BARRANCA, EDUARDO
            2001 E El Segundo Blvd Apt
            7
            Compton, CA 90222                                      181.69                 NA             NA            0.00


            BARRIOS, DAISY N.
            1649 S Catalina St
            Los Angeles, CA 90006                                  375.00                 NA             NA            0.00


            BARRIOS, JENNIFER
            5940 WILLOWCREST AVE.
            APT # C
            NORTH HOLLYWOOD, CA
            91601                                                3,619.56                 NA             NA            0.00


            BATERINA, MIRRIAM
            8700 ADRIANA STREET
            SPRING VALLEY, CA
            91977                                                1,376.62                 NA             NA            0.00


            BAUDOT, BRADLEY
            1101 Westerly Terrace APT 3
            LOS ANGELES, CA 90026                                2,569.18                 NA             NA            0.00




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            BECERRA, ANNA
            23536 SUMMERGLEN
            PLACE
            VALENCIA, CA 91340                                   6,672.35                 NA             NA            0.00


            BECERRA, FIDELIA D.
            12751 FILMORE ST
            PACOIMA, CA 91331                                      188.55                 NA             NA            0.00


            BELTRAN, JENNIFER A.
            14708 REX STREET
            SYLMAR, CA 91342                                     1,368.00                 NA             NA            0.00


            BENAVIDES, VANESSA
            12218 Crest Ave
            Sylmar, CA 91342                                       327.75                 NA             NA            0.00


            BERG, JULIANNE J.
            1320 N. SYCAMORE AVE
            APT 310
            LOS ANGELES, CA 90028                                3,278.07                 NA             NA            0.00


            BERRIOS, CHRISTIAN
            3504 11TH AVE.
            LOS ANGELES, CA 90018                                  405.00                 NA             NA            0.00


            BIN, MICHAEL
            1058 E. ANGELENO AVE
            BURBANK, CA 91505                                      210.19                 NA             NA            0.00




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            BOLANOS, SANTIAGO
            13751 Hubbard St Apt 106
            Sylmar, CA 91342                                       225.00                 NA             NA            0.00


            BORRAS, IRENE
            8788 Ranchito ave
            Panorama City, CA 91402                                163.94                 NA             NA            0.00


            BRAVO ROSALES,
            ELIZABETH
            815 S. Bonnie Brae St Apt
            204
            Los Angeles, CA 90057                                  341.00                 NA             NA            0.00


            BRAVO, MICHELLE
            1605 1/2 E 62nd St
            Los Angeles, CA 90001                                  337.44                 NA             NA            0.00


            BRAZIER, NAKIA
            3317 WILTON ST. APT #1
            LONG BEACH, CA 90804                                 2,445.83                 NA             NA            0.00


            BRITO, JENNIFER
            P.O. BOX 921571
            SYLMAR, CA 91392                                       305.10                 NA             NA            0.00


            BROWN, DEON J.
            16317 Devonshire
            Granada Hills, CA 91344                                156.75                 NA             NA            0.00




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            BROWN, DONTE
            16317 DEVONSHIRE ST
            GRANADA HILLS, CA
            91344                                                  129.88                 NA             NA            0.00


            BURTON, ARIEL N.
            1335 N. DETROIT ST APT
            102
            LOS ANGELES, CA 90046                                1,750.10                 NA             NA            0.00


            BUSTAMANTE,
            CHRISTOPHER
            8063 ORANGE STREET
            DOWNEY, CA 90242                                     1,507.35                 NA             NA            0.00


            Bailey, LaWanda M.
            9725 Ramona St #6
            Bellflower, CA 90706                                   224.00                 NA             NA            0.00


            Banos, Nathalie
            10340 Virginia Ave
            South Gate, CA 90280                                   302.25                 NA             NA            0.00


            Barrios, Leslie J.
            1722 W 20th st. apt #5
            Los angeles, CA 90007                                  211.47                 NA             NA            0.00


            Binder, Hannah
            2359 Riverdale Ave
            Los Angeles, CA 90031                                  210.19                 NA             NA            0.00




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            Botero, Carlos F.
            333 Alexander St
            San Fernando, CA 91340                                 244.00                 NA             NA            0.00


            Buchanan, Roy W.
            1426 1/2 W. 83rd St.
            Los Angeles, CA 90047                                  425.00                 NA             NA            0.00


            CAAL GARCIA,
            KIMBERLY C.
            4159 Gilman Rd
            El Monte, CA 91732                                     201.50                 NA             NA            0.00


            CABANAS, BRIAN E.
            2854 ONRADO STREET
            TORRANCE, CA 90503                                   2,669.74                 NA             NA            0.00


            CABRAL, IRVING
            1184 E. LEXINGTON
            STREET
            PASADENA, CA 91104                                     306.90                 NA             NA            0.00


            CABRERA, MARIANO
            433 N BRAND BLVD
            SAN FERNANDO, CA 91340                               2,350.80                 NA             NA            0.00


            CALDERON, ELIZABETH
            217 1/2 E 28 St.
            Los Angeles, CA 90011                                  271.75                 NA             NA            0.00




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            CALDERON, IVONNE
            348 W. Chevy Chase Dr.
            Glendale, CA 91204                                     357.00                 NA             NA            0.00


            CALDERON, STEPHANIE
            1324 1/2 S Spruce
            Montebello, CA 90640                                 1,723.68                 NA             NA            0.00


            CALDERON, STEPHANIE J.
            6806 BRYNHURST
            AVENUE
            LOS ANGELES, CA 90043                                1,725.56                 NA             NA            0.00


            CALIXTO, STEPHANIE M
            1833 W.39th St.
            Los Angeles, CA 90062                                  275.74                 NA             NA            0.00


            CALVILLO, MARIA
            3303 Marine Ave. #5
            Gardena, CA 90249                                      897.56                 NA             NA            0.00


            CAMACHO, AIMEE
            838 S SYCAMORE AVE
            LOS ANGELES, CA 90036                                  142.50                 NA             NA            0.00


            CAMACHO, BIANCA
            8443 LANGDON AVE APT
            14
            NORTH HILLS, CA 91343                                  242.25                 NA             NA            0.00




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            CAMACHO, CYNTHIA J.
            12734 Rajah St
            Sylmar, CA 91342                                       230.50                 NA             NA            0.00


            CAMARILLO MENDOZA,
            STACY
            2940 INDIANA AVENUE
            SOUTH GATE, CA 90820                                 2,040.81                 NA             NA            0.00


            CANO, GESSELLE
            8139 COLDWATER
            CANYON AVE
            NORTH HOLLYWOOD, CA
            91605                                                  815.40                 NA             NA            0.00


            CANTON, ALLISON
            15833 Ocean Ave
            Whittier, CA 90604                                     471.75                 NA             NA            0.00


            CANTORAN, MONICA
            10414 Morning Ave
            Downey, CA 90241                                       170.50                 NA             NA            0.00


            CAPRETTA, NICHOLAS
            1420 N. ALTA VISTA BLVD
            APT # 208
            LOS ANGELES, CA 90046                                  200.00                 NA             NA            0.00




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            CARDENAS, JOCELYN
            11150 Glenoaks Blvd Unit
            138
            Pacoima, CA 91331                                      195.80                 NA             NA            0.00


            CARLOS MONTANO,
            ZULEMA A.
            13074 Weidner St.
            Pacoima, CA 91331                                      402.56                 NA             NA            0.00


            CARRANZA, KAREN
            8735 MURRIETTA AVE
            PANORAMA CITY, CA
            91402                                                1,577.50                 NA             NA            0.00


            CASTANEDA,
            ALEJANDRA
            3840 SERVICE STREET
            LOS ANGELES, CA 90063                                  300.00                 NA             NA            0.00


            CASTANEDA, MARIANA
            1920 LUCAS STREET UNIT
            5
            SAN FERNANDO, CA 91340                                 261.30                 NA             NA            0.00


            CASTANEDA, YESSICA
            8201 NOBLE AVENUE
            PANORAMA CITY, CA
            91402                                                2,283.06                 NA             NA            0.00




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            CASTELLANOS, JULISSA
            12866 Van Nuys Blvd
            Pacoima, CA 91331                                      208.00                 NA             NA            0.00


            CASTILLO, JAMIE D.
            7616 KRAFT AVE
            NORTH HOLLYWOOD, CA
            91605                                                1,127.98                 NA             NA            0.00


            CASTRO-MONZON,
            CANDY
            10175 ELKWOOD ST
            SUN VALLEY, CA 91352                                 4,543.14                 NA             NA            0.00


            CEA, MATHEU R.
            402 S GARFIELD AVE
            UNIT 20
            ALHAMBRA, CA 91801                                   1,592.28                 NA             NA            0.00


            CEJA Jr., ALEJANDRO
            13681 Carl st.
            Pacoima, CA 91331                                      356.25                 NA             NA            0.00


            CERDA, VANESSA
            9214 San Luis Ave #A
            South Gate, CA 90280                                   422.11                 NA             NA            0.00


            CERVANTES, MOISES
            2819 West Main Street
            Alhambra, CA 91801                                     408.90                 NA             NA            0.00




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            CETZ TAMAYO, RAQUEL
            S.
            670 Shatto Pl. Apt. #308
            Los Angeles, CA 90005                                  450.00                 NA             NA            0.00


            CHAIDEZ, DAISY E.
            7933 Lurline Ave.
            Winnetka, CA 91306                                     228.00                 NA             NA            0.00


            CHAVEZ Jr., ELADIO
            4983 La Calandria Way
            Los Angeles, CA 90032                                   90.00                 NA             NA            0.00


            CHAVEZ, JONATHAN
            129 W 43RD ST
            LOS ANGELES, CA 90037                                  181.12                 NA             NA            0.00


            CHAVEZ, KIMBERLY
            4713 GRAPE ST
            PICO RIVERA, CA 90660                                  598.50                 NA             NA            0.00


            CHAVEZ, LUIS
            10422 S TRURO AVE
            INGLEWOOD, CA 90304                                    156.52                 NA             NA            0.00


            CHAVEZ, MICHAEL
            320 W. 67 St.
            Los Angeles, CA 90003                                  371.25                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            CHAVEZ, SANDRA
            8148 SAINT CLAIR AVE
            NORTH HOLLYWOOD, CA
            91306                                                  392.55                 NA             NA            0.00


            COLEOTE REYES, LUIS F.
            1162 E 56th St
            Los Angeles, CA 90011                                  317.06                 NA             NA            0.00


            COOPER, CYRILLE
            524 HYDE PARK PLACE
            APT #1
            INGLEWOOD, CA 90302                                  2,341.60                 NA             NA            0.00


            CORNEJO-LOPEZ,
            JACQUELINE G.
            157 S. Catalina St.
            Los Angeles, CA 90004                                  323.05                 NA             NA            0.00


            CORTES, STEPHANIE
            8363 Willis Ave. #15
            Panorama City, CA 91402                                450.00                 NA             NA            0.00


            COYT, ALIANNA M.
            13918 Vaughn St.
            Pacoima, CA 91331                                      208.00                 NA             NA            0.00


            CRISANTE, MELANIE
            1102 W 97th st apt 5
            Los Angeles, CA 90044                                  274.31                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            CRUZ ALVARADO,
            JUDITH
            174 E 46TH STREET
            LOS ANGELES, CA 90011                                  510.00                 NA             NA            0.00


            CRUZ, JACQUELINE
            2603 Monte Carlo Dr
            Santa Ana, CA 92706                                    256.50                 NA             NA            0.00


            CRUZ, JESSICA
            P.O. Box 31243
            LOS ANGELES, CA 90031                                  413.00                 NA             NA            0.00


            CRUZ, NAYELI
            458 S. HARTFORD AVE
            APT #210
            LOS ANGELES, CA 90017                                2,107.56                 NA             NA            0.00


            CRUZ, WALTER
            552 1/4/ N. KINGSLEY DR.
            LOS ANGELES, CA 90004                                2,145.48                 NA             NA            0.00


            CUEVAS Jr., FRANCISCO J.
            742 E 43rd St.
            Los Angeles, CA 90011                                  262.65                 NA             NA            0.00


            CURUP, ABEL
            4416 SINOVA ST.
            LOS ANGELES, CA 90032                                  305.41                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Canales Jr., Francisco J.
            6441 Seville Ave Apt H
            Huntington park, CA 90255                              288.56                 NA             NA            0.00


            Carianga, Ariejoyce S.
            1153 South Kenmore Ave
            Apartment 03
            Los Angeles, CA 90006                                  217.50                 NA             NA            0.00


            Castillo, Natalie G.
            9250 Sepulveda Blvd Apt 112
            North Hills, CA 91343                                  262.50                 NA             NA            0.00


            Colorado, Julie C.
            8112 JACKSON ST
            PARAMOUNT, CA 90723                                    382.50                 NA             NA            0.00


            Conde, Esmeralda
            2892 W 14th Street
            Los Angeles, CA 90006                                  117.00                 NA             NA            0.00


            Cortes-Bello, Rubyth
            219 E. 28th St.
            Los Angeles, CA 90011                                  271.75                 NA             NA            0.00


            Cortez, Beckylee
            11529 Aeolian Street
            Whittier, CA 90606                                     307.12                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Cruz Bautista, Melina
            1412 W 10th PL Apt #1
            Los Angeles, CA 90015                                  289.84                 NA             NA            0.00


            Cruz Montes, Marlene J.
            426 17th st Ste 100
            Oakland, CA 94612                                       57.00                 NA             NA            0.00


            Cruz, Oscar G.
            4729 Mascot St
            Los Angeles, CA 90019                                   99.75                 NA             NA            0.00


            Culley, Jeffery P.
            3301 Griffin Ave., Apt. 1
            Los Angeles, CA 90031                                  285.00                 NA             NA            0.00


            DAMIAN CARDENAS DE
            TRUJILLO, CECILIA
            730 S Lyon st #449
            Santa Ana, CA 92705                                    156.75                 NA             NA            0.00


            DAMIAN, ARIANA
            879 W Vernon Ave
            Los Angeles, CA 90037                                  375.00                 NA             NA            0.00


            DAVILA, MARIA
            10305 Buford Ave Apt 1
            INGLEWOOD, CA 90304                                    135.38                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            DAVIS, ADAM G.
            1152 W 55th St
            Los Angeles, CA 90037                                  248.24                 NA             NA            0.00


            DAWIT, DELINA
            1516 W 110Th St
            Los Angeles, CA 90047                                1,539.20                 NA             NA            0.00


            DE ANDA, LYNDA
            334 N. ATLANTIC BLVD.
            #108
            ALHAMBRA, CA 91801                                      67.50                 NA             NA            0.00


            DE LA FUENTE, ESTER
            6304 FAIR AVE
            NORTH HOLLYWOOD, CA
            91606                                                  100.00                 NA             NA            0.00


            DE LA LUZ, CYNTHIA
            6528 Otis Ave Apt B
            Bell, CA 90201                                         600.00                 NA             NA            0.00


            DE VALENTIM MEIRA,
            VITORIA
            444 N. Euclid Ave. Apt 22
            Pasadena, CA 91101                                   3,370.88                 NA             NA            0.00


            DEJOYA, CHARLOTTE L.
            4209 GARDEN HOMES
            AVENUE
            LOS ANGELES, CA 90032                                1,238.78                 NA             NA            0.00




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            DEL CID, LILIANA
            12348 N VILLAR WAY
            SYLMAR, CA 91342                                     1,924.00                 NA             NA            0.00


            DELEON, VANESSA
            11732 1/2 LAKEWOOD
            BLVD
            DOWNEY, CA 90241                                     2,575.56                 NA             NA            0.00


            DELGADILLO, BRYANT
            1500 S Grand Ave Apt 401
            Los Angeles, CA 90015                                  247.35                 NA             NA            0.00


            DELGADO, BENJAMIN
            848 N ALEXANDER ST
            SAN FERNANDO, CA 91340                               3,726.03                 NA             NA            0.00


            DELGADO, FLORENCIA
            14360 PARTHENIA ST
            PANORAMA CITY, CA
            91402                                                3,234.50                 NA             NA            0.00


            DIAMOND, LARRY
            6825 ANDASOL AVENUE
            VAN NUYS, CA 91406                                   4,614.40                 NA             NA            0.00


            DIAZ, JASMIN
            813 BOYLSTON STREET
            PASADENA, CA 91104                                   2,602.40                 NA             NA            0.00




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            DIAZ, MAIRANY G.
            210 E. 64TH STREET
            LOS ANGELES, CA 90003                                  348.75                 NA             NA            0.00


            DIAZ, MELISSA
            645 1/2 E. 48TH ST
            LOS ANGELES, CA 90011                                  363.75                 NA             NA            0.00


            DIAZ-DOMINGUEZ, ROSE
            11126 KESWICK ST.
            SUN VALLEY, CA 91352                                   576.00                 NA             NA            0.00


            DINEROS, RUTHLYNN
            426 MANZANITA AVE
            SIERRA MADRE, CA 91204                              11,709.19                 NA             NA            0.00


            DOE, ASHLEY
            133 PARK AVE APT 118
            SAN FERNANDO, CA 91340                               1,665.74                 NA             NA            0.00


            DOMINGUEZ, OLIVER
            13322 JUDD STREET
            PACOIMA, CA 91331                                      136.32                 NA             NA            0.00


            DUARTE HERRERA, JOSE
            M.
            1308 S. WESTLAKE
            AVENUE APT # 1/4
            LOS ANGELEZ, CA 90006                                   78.38                 NA             NA            0.00




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            DUARTE RODRIGUEZ,
            LETICIA
            13031 1/2 CARL ST APT 379
            PACOIMA, CA 91331                                       91.50                 NA             NA            0.00


            DUENAS, JIRO F.
            1371 EAST 48th STREET
            LOS ANGELES, CA 90011                                  248.59                 NA             NA            0.00


            DUNLAP, AMANDA
            4407 AVOCADO ST
            LOS ANGELES, CA 90027                                4,424.00                 NA             NA            0.00


            DURAN VALERIO,
            ISMAEL A.
            804 N Avenue 50 Apt 2
            LOS ANGELES, CA 90042                                  100.35                 NA             NA            0.00


            DURAN, STEPHANIE
            14366 Germain St
            Mission Hills, CA 91345                                277.88                 NA             NA            0.00


            De La Cruz, Tiffany D.
            14690 Nordhoff Street Apt
            305
            Panorama City, CA 91402                                399.50                 NA             NA            0.00


            De Los Santos, Vanelly
            6959 Murietta Ave.
            Van Nuys, CA 91405                                     170.50                 NA             NA            0.00




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            Diaz, Evilet
            1131 Elden Ave Apt. 108
            LOS ANGELES, CA 90006                                  150.00                 NA             NA            0.00


            Douma, Rawda H
            3317 West 118th Pl Apt 308
            Inglewood, CA 90303                                    202.50                 NA             NA            0.00


            Duarte, Daniela
            9334 Sunland Park Dr Apt
            103
            Sun Valley, CA 91352                                   342.00                 NA             NA            0.00


            EDWARDS, SAMONE
            11333 MONA BLVD APY
            288
            LOS ANGELES, CA 90059                                   71.25                 NA             NA            0.00


            ELIZARRARAS-HUERTA,
            SARETH
            3438 GLENALBYN DRIVE
            LOS ANGELES, CA 90065                                2,150.00                 NA             NA            0.00


            ELLORIN III, ANTONIO
            12420 SUNRISE RIDGE
            ROAD
            SYLMAR, CA 91342                                       251.62                 NA             NA            0.00


            ESCOBAR, KEYLA Z
            15067 Astoria St
            Sylmar, CA 91342                                       242.25                 NA             NA            0.00




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            ESCOBAR, LYDIA
            11020 HESBY STREET APT
            107
            NORTH HOLLYWOOD, CA
            91601                                                1,715.80                 NA             NA            0.00


            ESCOBEDO Jr., JESUS A.
            1833 MADISON AVENUE
            PASADENA, CA 91104                                   1,667.82                 NA             NA            0.00


            ESCOTO, LESLIE B
            13241 Paxton St. Apt.3
            Pacoima, CA 91331                                      238.83                 NA             NA            0.00


            ESPINAL, NATALIE
            8640 Hillrose St Apt B6
            Sunland, CA 91040                                      237.55                 NA             NA            0.00


            ESQUIVEL, LAURA E.
            4046 W 130TH ST
            HAWTHORNE, CA 90250                                    261.32                 NA             NA            0.00


            FADEL, ASHRAKAT
            6219 Reseda Blvd Apt#25
            Tarzana, CA 91335                                      229.15                 NA             NA            0.00


            FAVELA, CECILIA L
            26713 N Isabella Parkway
            Unit 204
            Santa clarita, CA 91351                              1,780.40                 NA             NA            0.00




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            FAVELA, MIGUEL J.
            13237 Klein Court
            Sylmar, CA 91342                                       231.56                 NA             NA            0.00


            FAVELA-BARRERAS,
            KARINA
            2121 N. EASTERN AVE
            LOS ANGELES, CA 90032                                5,632.82                 NA             NA            0.00


            FERNANDEZ,
            CHRISTOPHER
            12026 MAGNOLIA BLVD
            APT #6
            VALLEY VILLAGE, CA
            91607                                                2,667.93                 NA             NA            0.00


            FLETCHER, MICHAEL A
            2421 Foothill Blvd 25C
            La Verne, CA 91750                                     120.00                 NA             NA            0.00


            FLOOD, PAUL E
            2750 Guirado Street
            LOS ANGELES, CA 90023                                  427.48                 NA             NA            0.00


            FLORES Jr., ARMANDO A.
            369 S Columbia Ave Apt 135
            Los Angeles, CA 90017                                  274.50                 NA             NA            0.00


            FLORES, BRANDON
            2929 W. 14TH STREET
            LOS ANGELES, CA 90006                                  253.69                 NA             NA            0.00




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            FLORES, CIDERIO
            300 N TOWNSEND AVE
            LOS ANGELES, CA 90063                                  102.00                 NA             NA            0.00


            FLORES, DAVID M.
            6455 CLYBOURN AVE
            NORTH HOLLYWOOD, CA
            91606                                                   15.48                 NA             NA            0.00


            FLORES, DENISE
            14847 Chatsworth Drive
            Mission hills, CA 91344                                205.63                 NA             NA            0.00


            FLORES, EVA M.
            13190 BROMONT AVE APT
            102
            SYLMAR, CA 91342                                       231.56                 NA             NA            0.00


            FLORES, GUADALUPE
            169 NORTH ALLEN
            AVENUE UNIT 1
            PASADENA, CA 91106                                   1,709.28                 NA             NA            0.00


            FLORES, JAZMIN
            7357 Denny Ave.
            Sun Valley, CA 91352                                   319.86                 NA             NA            0.00


            FLORES, JUAN
            1035S BONNIE BRAE ST
            LOS ANGELES, CA 90006                                  216.51                 NA             NA            0.00




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            FLORES, MARIA
            156 W GAGE AVE APT #2
            LOS ANGELES, CA 90003                                  427.50                 NA             NA            0.00


            FLORES, TANIA
            8005 S. WADSWORTH AVE
            LOS ANGELES, CA 90001                                1,465.40                 NA             NA            0.00


            FLOREZ, LUISA F
            6651 BAKMAN AVE APT 3
            NORTH HOLLYWOOD, CA
            91606                                                1,083.52                 NA             NA            0.00


            FOSTER, TORRIANNA
            16211 PARKSIDE LANE
            APT 164
            HUNTINGTON BEACH, CA
            92647                                                  787.84                 NA             NA            0.00


            FREGOSO, JESSICA
            14017 BEAVER STREET
            SYLMAR, CA 91342                                     1,312.74                 NA             NA            0.00


            GAITAN, ANGELICA
            1920 N MARIANNA AVE
            APT 309
            Los Angeles, CA 90032                                  428.40                 NA             NA            0.00




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            GALDAMEZ YUEN,
            ANGELA C
            10201 MASON AVENUE
            UNIT 85
            CHATSWORTH, CA 91311                                 2,501.50                 NA             NA            0.00


            GALICIA, JONATHAN
            8227 De Garmo Ave
            Sun Valley, CA 91352                                   242.25                 NA             NA            0.00


            GALINDO, AMBER
            12171 MERCER STREET
            LAKE VIEW TERRACE, CA
            91342                                                  449.30                 NA             NA            0.00


            GALINDO, PATRICIA
            16750 SHERMAN WAY
            APT #205
            VAN NUYS, CA 91406                                   1,464.33                 NA             NA            0.00


            GALLAGA, JESSYMAR
            8987 South Gate Ave
            South Gate, CA 90280                                 1,135.80                 NA             NA            0.00


            GALLARDO JR, MANUEL
            1440 Veteran Ave Apt 504
            Los Angeles, CA 90024                                  100.00                 NA             NA            0.00


            GALLEGOS, ASHLEE
            664 E. ADAMS BLVD APT 1
            LOS ANGELES, CA 90011                                  159.17                 NA             NA            0.00




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            GALLEGOS, DESTINY S
            934 Euclid Ave apt 1
            Los Angeles, CA 90023                                  299.25                 NA             NA            0.00


            GALVEZ-RUIZ,
            JACQUELINE
            13320 Corcoran St
            San Fernando, CA 91340                                 202.34                 NA             NA            0.00


            GAMA, JOSEFINA
            1236 E 59TH ST
            Los Angeles, CA 90001                                  372.92                 NA             NA            0.00


            GARCIA, AARON
            5719 Camellia Ave
            North Hollywood, CA 91601                              400.00                 NA             NA            0.00


            GARCIA, APRIL
            340 S La Fayette Pk Pl Apt
            226
            Los Angeles, CA 90057                                1,135.80                 NA             NA            0.00


            GARCIA, BRENDA
            PO BOX 331311
            PACOIMA, CA 91333                                      356.25                 NA             NA            0.00


            GARCIA, CORINA
            2210 1/2 W Jefferson Blvd
            Apt 3
            Los Angeles, CA 90018                                  265.20                 NA             NA            0.00




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            GARCIA, DAVID
            9156 Telfair Ave. Apt. #1
            Sun Valley, CA 91352                                   203.06                 NA             NA            0.00


            GARCIA, EDITH
            2218 E. 107TH STREET
            LOS ANGELES, CA 90002                                  520.00                 NA             NA            0.00


            GARCIA, EDNA J.
            12368 OSBORNE ST APT #8
            PACOIMA, CA 91331                                    2,205.57                 NA             NA            0.00


            GARCIA, JESSE
            1917 GLENOAKS BLVD.
            Unit 201
            SAN FERNANDO, CA 91340                                 324.48                 NA             NA            0.00


            GARCIA, MARLAINA L
            1371 E Garfield Ave Apt A
            Glendale, CA 91205                                     308.51                 NA             NA            0.00


            GARCIA, NATHAN
            6245 King Avenue
            Bell, CA 90201                                         225.00                 NA             NA            0.00


            GARCIA, VIANEY
            4318 E. 60TH ST.
            HUNTINGTON PARK, CA
            90255                                                  106.88                 NA             NA            0.00




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            GARCIA, WENDY
            3725 CRAWFORD STREET
            LOS ANGELES, CA 90011                                1,874.16                 NA             NA            0.00


            GARCIA-HENRIQUEZ,
            GENESIS
            622 Imogen Ave Apt 2
            Los Angeles, CA 90026                                  273.17                 NA             NA            0.00


            GARCIA-MONTES, JANET
            418 N. Concord St.
            LOS ANGELES, CA 90063                                3,548.51                 NA             NA            0.00


            GARCIA-PAEZ, CARLOS
            1913 E.113TH STREET
            LOS ANGELES, CA 90059                                  321.66                 NA             NA            0.00


            GARCIA-RODRIGUEZ,
            SHELLY V
            9500 Zelzah Ave Apt# M314
            Northriddge, CA 91325                                  327.76                 NA             NA            0.00


            GARCIA-VARGAS,
            VERONICA
            437 N BRAND BLVD
            SAN FERNANDO, CA 91340                               5,825.93                 NA             NA            0.00


            GEHRINGER, JAY
            5928 CANTALOUPE AVE
            VAN NUYS, CA 91401                                     156.80                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            GERMAN, SERGIO D
            9832 SAN ANTONIO AVE
            South Gate, CA 90280                                   231.19                 NA             NA            0.00


            GHOURCHIAN, AZIN
            401 SOUTH DETROIT
            STREET APT #408
            LOS ANGELES, CA 90036                                1,618.27                 NA             NA            0.00


            GHUMAN Jr., JASBIR S
            2404 Wilshire 6C
            Los Angeles, CA 90057                                  220.16                 NA             NA            0.00


            GODOY-GARCIA,
            SHARROL
            4401 CIMARRON ST
            LOS ANGELES, CA 90062                                  224.00                 NA             NA            0.00


            GODOY-GARCIA, SKYLER
            B
            4401 Cimarron st.
            Los Angeles, CA 90062                                  330.20                 NA             NA            0.00


            GOMEZ, ANTHONY
            3866 La Salle Ave
            Los Angeles, CA 90062                                  239.97                 NA             NA            0.00


            GOMEZ, CHRISTIAN E
            14345 BEAVER ST
            SYLMAR, CA 91342                                       231.62                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            GOMEZ, ERICA
            10551 EL DORADO AVE
            PACOIMA, CA 91331                                    6,117.99                 NA             NA            0.00


            GOMEZ, MIREYA
            4127 WOODLAWN AVE
            LOS ANGELES, CA 90011                                2,538.75                 NA             NA            0.00


            GOMEZ, RUBEN D.
            948 N EASTMAN AVE.
            Los Angeles, CA 90063                                  389.50                 NA             NA            0.00


            GOMEZ, SCARLETT
            1207 E 66th St
            Los Angeles, CA 90001                                  295.69                 NA             NA            0.00


            GONZALEZ TOC,
            ANTONIO
            722 S. Alvarado St. Apt 308
            Los Angeles, CA 90057                                  380.73                 NA             NA            0.00


            GONZALEZ, BRENDA
            13272 1/2 Glenoaks Blvd
            Sylmar, CA 91342                                       199.50                 NA             NA            0.00


            GONZALEZ, ELIZABETH
            1137 E. 87TH PL
            LOS ANGELES, CA 90002                                2,824.87                 NA             NA            0.00




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            GONZALEZ, EMANUEL
            706 S HOEFNER AVE
            LOS ANGELES, CA 90022                                  392.75                 NA             NA            0.00


            GONZALEZ, ESTHER C
            8025 Reseda Blvd Apt 129
            Reseda, CA 91335                                       303.52                 NA             NA            0.00


            GONZALEZ, EVELYN
            7526 Denny Ave.
            Sun Valley, CA 91352                                   201.35                 NA             NA            0.00


            GONZALEZ, JASMIN
            733 East 53rd Street
            Los Angeles, CA 90011                                  303.49                 NA             NA            0.00


            GONZALEZ, MYRNA
            13431 ASTORIA STREET
            SYLMAR, CA 91342                                       317.65                 NA             NA            0.00


            GONZALEZ, STEPHANIE
            PAOLA
            6610 DENSMORE AVE
            VAN NUYS, CA 91406                                   3,239.28                 NA             NA            0.00


            GONZALEZ, SUSANA
            7304 Craner Ave
            Sun Valley, CA 91352                                   419.56                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            GONZALEZ, VANESSA
            11416 Newgate Ave
            Whittier, CA 90605                                   2,471.79                 NA             NA            0.00


            GONZALEZ, VANESSA
            13093 1/2 Carl St Apt #301
            Pacoima, CA 91331                                      861.76                 NA             NA            0.00


            GORDON, EVANNE A
            2017 Argyle Avenue #410
            LOS ANGELES, CA 90068                                2,004.85                 NA             NA            0.00


            GRAY, LUPREE
            11502 GORMAN AVE APT
            331
            LOS ANGELES, CA 90059                                   21.38                 NA             NA            0.00


            GREENE, LAUREL
            1724 NORTH HIGHLAND
            AVENUE APT #516
            LOS ANGELES, CA 90028                                2,166.15                 NA             NA            0.00


            GUARDADO, JOSE A.
            16815 KINGSBURY ST APT
            #102
            GRANADA HILLS, CA
            91344                                                3,611.37                 NA             NA            0.00




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                                                                6E)             Claim)

            GUERRERO, DEANNA
            13016 CANTARA ST
            NORTH HOLLYWOOD, CA
            91605                                                1,527.63                 NA             NA            0.00


            GUIDO, KIMBERLY
            9034 Rosehedge Dr
            Pico Rivera, CA 90660                                  152.29                 NA             NA            0.00


            GUILLEN, DIANA
            15220 TUBA ST
            MISSION HILLS, CA 91345                              2,521.13                 NA             NA            0.00


            GUTIERREZ, CARMEN
            11520 MAGEE AVE
            PACOIMA, CA 91331                                    5,086.40                 NA             NA            0.00


            GUTIERREZ, VANESSA
            1621 WEST LOS ANGELES
            AVENUE
            MONTEBELLO, CA 90640                                 5,384.41                 NA             NA            0.00


            GUTIERREZ-SOLORZANO
            YVONNE
            3551 E. 56TH ST.
            MAYWOOD, CA 90270                                       36.16                 NA             NA            0.00


            GUZMAN, STEPHANIE
            1817 W Washington Ave
            Santa Ana, CA 92706                                    209.19                 NA             NA            0.00




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                                                                6E)             Claim)

            Galvan, Kevin R
            116 Witmer Street Apt 207
            Los Angeles, CA 90026                                  341.00                 NA             NA            0.00


            Garcia, Cynthia
            162 E 36th Pl
            Los Angeles, CA 90011                                  374.06                 NA             NA            0.00


            Gonsalez, Emely
            13314 Glenoaks Blvd
            Sylmar, CA 91342-2109                                  425.00                 NA             NA            0.00


            Gonzalez, Elyla H
            11673 1/2 Magnolia Blvd
            Valley Village, CA 91601                                57.00                 NA             NA            0.00


            Gramajo, Rosmery
            13100 Bromont Avenue Apt
            49
            Sylmar, CA 91342                                       300.00                 NA             NA            0.00


            Guzman, Jazmin B
            1454 W 69th St.
            Los Angeles, CA 90007                                  297.40                 NA             NA            0.00


            HARO, JACKELINE
            1408 E 74th St
            Los Angeles, CA 90001-3045                             390.00                 NA             NA            0.00




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            HENRIQUEZ, ALEX
            8819 RANCHITO AVE
            PANORAMA CITY, CA
            91402                                                4,628.65                 NA             NA            0.00


            HERMOSILLO, CARMIN
            827 VINELAND AVENUE
            LA PUENTE, CA 91746                                  1,081.88                 NA             NA            0.00


            HERMOSILLO,
            ELIZABETH A
            5728 Corbett St
            Los Angeles, CA 90016                                  176.00                 NA             NA            0.00


            HERNANDEZ ANGUIANO,
            JASMINE
            7115 Benson St
            Huntington Park, CA 90255                              445.31                 NA             NA            0.00


            HERNANDEZ GONZALEZ,
            ANGELICA
            10467 El Dorado Ave
            Pacoima, CA 91331                                      265.19                 NA             NA            0.00


            HERNANDEZ, BRANDON
            14106 Gain St
            Arleta, CA 91331                                       300.25                 NA             NA            0.00


            HERNANDEZ, DENISE A
            9235 Woodman avenue unit:E
            Arleta, CA 91331                                       359.45                 NA             NA            0.00




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                                                                6E)             Claim)

            HERNANDEZ, ELIZABETH
            10901 Laurel Canyon
            San Fernando, CA 91340                                  72.45                 NA             NA            0.00


            HERNANDEZ, GABRIELA
            6719 Seville Ave Apt G
            Huntington Park, CA 90255                              309.90                 NA             NA            0.00


            HERNANDEZ, JADE O
            2038 E 77th St.
            Los Angeles, CA 90001                                  261.20                 NA             NA            0.00


            HERNANDEZ, JORGE M
            2941 VIA MARINA COURT
            OXNARD, CA 93035                                     5,267.09                 NA             NA            0.00


            HERNANDEZ, JOSE A
            233 W Mission Rd Apt. C
            San Gabriel, CA 91776                                  213.75                 NA             NA            0.00


            HERNANDEZ, JOSE I.
            1715 S. 5th Street Apt F
            Alhambra, CA 91803                                   1,907.02                 NA             NA            0.00


            HERNANDEZ, JUANY
            4171 W 4th St Apt 10
            Los Angeles, CA 90020                                  212.47                 NA             NA            0.00


            HERNANDEZ, KARLA J.
            1190 Rolland Curtis Pl
            Los Angeles, CA 90037                                  363.38                 NA             NA            0.00




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            HERNANDEZ, LIZA .
            410 W. WASHINGTON AVE
            APT #10
            SANTA ANA, CA 92706                                  2,319.82                 NA             NA            0.00


            HERNANDEZ, MARIBEL
            13320 Dyer st
            Sylmar, CA 91342                                       312.62                 NA             NA            0.00


            HERNANDEZ, OMAR
            124 N. Soto St. Apt 3
            Los Angeles, CA 90033                                  142.50                 NA             NA            0.00


            HERNANDEZ, TIFFANY
            13272 Judd St
            Pacoima, CA 91331                                      362.95                 NA             NA            0.00


            HERNANDEZ, VIVIANA
            13866 Mercer street
            Pacoima, CA 91331                                      256.36                 NA             NA            0.00


            HERNANDO, KENIA
            1610 N Broadway Apt 119
            Santa Ana, CA 92706                                    324.19                 NA             NA            0.00


            HERRERA, JULIO C
            10202 BRADLEY AVE.
            PACOIMA, CA 91331                                      183.54                 NA             NA            0.00




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            HERRERA, KARINA
            5137 Hillcrest Drive
            Los Angeles, CA 90043                                  172.20                 NA             NA            0.00


            HERRERA, RICHARD
            16914 KESWICK STREET
            VAN NUYS, CA 91406                                     300.00                 NA             NA            0.00


            HINDS, GREGORY L
            13129 Oxnard St. Apt 13
            Van Nuys, CA 91401                                      46.44                 NA             NA            0.00


            HOBKIRK, KATHLEEN J
            3023 Glenn Ave.
            LOS ANGELES, CA 90023                                  448.29                 NA             NA            0.00


            HOLMES, CRYSTAL M
            438 E 140th st
            Los Angeles, CA 90061                                  192.80                 NA             NA            0.00


            HOWARD, DESTINY
            18520 Vincennes Street APT
            #36
            NORTHRIDGE, CA 91324                                 1,254.67                 NA             NA            0.00


            HUENDO, RICARDO
            322 N Hagar st apt U
            San Fernando, CA 91340                                 228.00                 NA             NA            0.00




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            HUERTA, VICTOR M
            6724 AURA AVENUE
            LOS ANGELES, CA 91335                                1,792.16                 NA             NA            0.00


            HURTADO, CORAIMA
            37539 90th Street
            East Littlerock, CA 93543                              243.19                 NA             NA            0.00


            HUSMAN, ALEX
            1608 E. Tucker St
            Compton, CA 90221                                    1,167.06                 NA             NA            0.00


            Hernandez, Victor
            272 1/2 Witmer St
            Los Angeles, CA 90026                                  170.19                 NA             NA            0.00


            Huerta, Gilbert P
            18034 W. Annes Cir. #104
            Canyon Country, CA 91387                               463.12                 NA             NA            0.00


            IBARRA, DARIO
            6507 WHITE OAK AVENUE
            RESEDA, CA 91335                                       210.19                 NA             NA            0.00


            IGWE, STEPHEN E
            20109 THORNLAKE AVE
            CERRITOS, CA 90703                                      61.92                 NA             NA            0.00


            IHESIABA, LINDA
            6405 MADDEN AVE
            LOS ANGELES, CA 90043                                4,162.03                 NA             NA            0.00




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            JACOBO, MARIA I
            12573 Bradley Ave Unit 6
            Sylmar, CA 91342                                       593.80                 NA             NA            0.00


            JARAMILLO, LEONEL
            3049 MERION ST
            ONTARIO, CA 91761                                    2,445.84                 NA             NA            0.00


            JEREZ, ALINSON
            1106 WEST 53RD ST
            LOS ANGELES, CA 90037                                1,522.51                 NA             NA            0.00


            JIMENEZ, EVELYN
            15260 Carey Ranch Lane
            Sylmar, CA 91342                                       203.06                 NA             NA            0.00


            JIMENEZ, JOSE
            13412 TERRA BELLA ST
            PACOIMA, CA 91331                                      171.00                 NA             NA            0.00


            JIMENEZ, JOSUE
            1351 W. 71 ST
            LOS ANGELES, CA 90044                                  237.32                 NA             NA            0.00


            JIMENEZ, MARIA
            1106 HOLLISTER ST.
            SAN FERNANDO, CA 91340                               2,471.61                 NA             NA            0.00


            JIMENEZ, MONICA
            13457 BORDEN AVE
            SYLMAR, CA 91342                                     4,463.11                 NA             NA            0.00




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            JOHNSON, KAMYA
            535 W. EL SEGUNDO
            BLVD. APT 324
            LOS ANGELES, CA 90061                                   28.50                 NA             NA            0.00


            JUAREZ Jr., NUMA P
            1104 W 37TH PL APT 101
            LOS ANGELES, CA 90007                                  252.00                 NA             NA            0.00


            JUAREZ, DANIELA I
            10471 HADDON AVE
            PACOIMA, CA 91331                                       46.31                 NA             NA            0.00


            JUAREZ, KARINA J.
            6132 Vinevale Ave. Apt. B
            Maywood, CA 90270                                       57.00                 NA             NA            0.00


            KEELS, JORDAN
            9354 CRENSHAW BLVD
            INGLEWOOD, CA 90305                                    260.10                 NA             NA            0.00


            KHAN, SUMAYYA
            6528 Wilbur Avenue Apt 204
            Reseda, CA 91335                                       146.06                 NA             NA            0.00


            KOROLKOV,
            YEKATERINA
            10615 ROSE AVE APT 301
            LOS ANGELES, CA 90034                                1,532.00                 NA             NA            0.00




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            Kaiser, Saleha
            22330 S Ladeene Ave
            Torrance, CA 90505                                     389.31                 NA             NA            0.00


            LA, ASHLEY
            10028 BROCKWAY
            STREET
            EL MONTE, CA 91733                                      97.05                 NA             NA            0.00


            LANDAVERDE, TATIANA
            S
            13030 RAMONA BLVD APT
            32
            BALDWIN PARK, CA 91706                               1,193.60                 NA             NA            0.00


            LARA VAZQUEZ,
            CLAUDIA
            5369 HUNTINGTON DR. N.
            LOS ANGELES, CA 90032                                2,753.71                 NA             NA            0.00


            LARA, CORALY
            673 EAST 49TH STREET
            LOS ANGELES, CA 90011                                  172.50                 NA             NA            0.00


            LARA, JENNIFER
            6342 MORSE AVE APT
            #208
            NORTH HOLLYWOOD, CA
            91606                                                1,262.24                 NA             NA            0.00




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            LARA-PEREZ, CHRISTIAN
            19525 BASSET STREET
            RESEDA, CA 91335                                       192.38                 NA             NA            0.00


            LAZO, ANDY B
            241 1/2 N PARK VIEW
            STREET Apt 1
            LOS ANGELES, CA 90026                                  135.00                 NA             NA            0.00


            LE, JULIE
            27498 DAFFODIL COURT
            APT #308
            SANTA CLARITA, CA
            91350                                                1,903.88                 NA             NA            0.00


            LENORGANT, CARMEN
            37523 DENVER COURT
            PALMDALE, CA 93552                                   2,177.67                 NA             NA            0.00


            LEON GONZALEZ, RUBI
            1816 S Harvard Blvd
            Los Angeles, CA 90006                                  195.24                 NA             NA            0.00


            LEON, MIGUEL
            3620 GRIFFITH AVE
            LOS ANGELES, CA 90011                                  107.84                 NA             NA            0.00


            LEON, MONICA .
            10764 SUTTER AVENUE
            PACOIMA, CA 91331                                      306.60                 NA             NA            0.00




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            LEONIDO, MARIA J
            1562 WEST 4th STREET
            APT #208
            LOS ANGELES, CA 90017                                3,420.43                 NA             NA            0.00


            LETONA, OSCAR
            839 E 81ST STREET
            LOS ANGELES, CA 90001                                  202.50                 NA             NA            0.00


            LEWIS, TAMEARA
            10008 S Manhattan pl
            Los Angeles, CA 90047                                  197.55                 NA             NA            0.00


            LIMANI, ODETTE
            11411 Dronfield Ave Apt #51
            Pacoima, CA 91331                                      235.12                 NA             NA            0.00


            LIRA, KARINA
            10063 Mountair Ave. Apt 2
            Tujunga, CA 91042                                       92.62                 NA             NA            0.00


            LIRA, LEYLANI
            7751 3/4 SCOUT AVE
            BELL GARDENS, CA 90201                               2,520.39                 NA             NA            0.00


            LITCHFIELD, MATTHEW
            W
            1913 ROSEWOOD COURT
            THOUSAND OAKS, CA
            91362                                                  745.20                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            LIZARRAGA, MARIA T
            8434 TWEEDY LANE APT
            #106
            DOWNEY, CA 90240                                       272.00                 NA             NA            0.00


            LOERA, MARIBEL
            3534 E 56TH ST
            MAYWOOD, CA 90270                                    3,210.40                 NA             NA            0.00


            LOMAS, MARTA I.
            1503 Menlo Ave. apt 8
            Los Angeles, CA 90006                                  367.35                 NA             NA            0.00


            LOPEZ Jr., WALTER E
            19553 HEMMINGWAY
            STREET
            RESEDA, CA 91335                                     1,113.28                 NA             NA            0.00


            LOPEZ MONDRAGON,
            ALDO J.
            2003 W. 11TH STREET APT
            #4
            LOS ANGELES, CA 90006                                2,454.70                 NA             NA            0.00


            LOPEZ, CINDY
            13313 OXNARD STREET
            APT # 142
            VAN NUYS, CA 91401                                     228.93                 NA             NA            0.00




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            LOPEZ, IVAN
            426 S Occidental Blvd #1
            Los Angeles, CA 90057                                  222.02                 NA             NA            0.00


            LOPEZ, JOE S.
            12863 Filmore St
            Pacoima, CA 91331                                      185.25                 NA             NA            0.00


            LOPEZ, JONATHAN A
            12734 Rajah St.
            Sylmar, CA 91342                                       235.12                 NA             NA            0.00


            LOPEZ, JOSE A
            12734 Rajah Street
            SYLMAR, CA 91342                                       247.68                 NA             NA            0.00


            LOPEZ, VINCENT
            5932 South Flower street
            Los Angeles, CA 90003                                  505.87                 NA             NA            0.00


            LOPEZ, YULISSA Y
            2771 San Marino St. Apt.1
            Los Angeles, CA 90006                                  433.50                 NA             NA            0.00


            LOPEZ-ESPINOZA,
            KATHERINE
            356 1/2 N. DOUGLAS ST
            LOS ANGELES, CA 90026                                  367.50                 NA             NA            0.00




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            LOPEZ-VAZQUEZ,
            MIRIAM A
            4818 W. MARTIN LUTHER
            KING APT #2
            Los Angeles, CA 90016                                  413.25                 NA             NA            0.00


            LUIS, YESENIA
            1256 E. MARTIN LUTHER
            KING JR BLVD
            LOS ANGELES, CA 90011                                1,982.40                 NA             NA            0.00


            LUNA, ASHLEY M
            1635 1/2 North Alexandria
            Ave
            Los Angeles, CA 90027                                  428.06                 NA             NA            0.00


            LUNA, ESTEFANIA
            1615 e 42nd St Apt 2
            Los Angeles, CA 90011                                  245.96                 NA             NA            0.00


            LUNA, JOSE
            7422 BLEWETT AVE
            VAN NUYS, CA 91406                                   4,041.06                 NA             NA            0.00


            LUZ, ELVIRA M.
            14922 Polk Street
            Sylmar, CA 91342                                       146.06                 NA             NA            0.00


            Lara Morales, Anahi
            6342 Morse Ave. Apt. 208
            North Hollywood, CA 91606                              237.69                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            Leyva, Abigail
            424 1/2 E 27TH ST
            LOS ANGELES, CA 90011                                  408.00                 NA             NA            0.00


            Lizama, Ivette
            400 West 9th Street Apt 213
            Los Angeles, CA 90015                                  270.75                 NA             NA            0.00


            MACEDO, MELISSA E
            8191 San Vincente Ave.
            South Gate, CA 90280                                   496.47                 NA             NA            0.00


            MACIAS, GLORIA G
            905 HARDING AVENUE
            SAN FERNANDO, CA 91340                                 184.11                 NA             NA            0.00


            MADRID, ALEXIS
            850 1/2 E Adams Blvd
            Los Angeles, CA 90011                                  323.49                 NA             NA            0.00


            MAGANA, MARIA A.
            14140 CLARETTA ST
            ARLETA, CA 91331                                     1,498.12                 NA             NA            0.00


            MAGANA, OSCAR
            4642 E 52ND PLACE APT B
            MAYWOOD, CA 90270                                    5,854.08                 NA             NA            0.00


            MAHONEY, JASON R
            1348 Kellam Ave
            Los Angeles, CA 90026                                   36.76                 NA             NA            0.00




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                                                                6E)             Claim)

            MAIDANA, OSCAR M
            6002 Coke Avenue
            Long Beach, CA 90805                                    90.00                 NA             NA            0.00


            MALESPIN, VALERIE E
            12652 Mercer St.
            Pacoima, CA 91331                                      205.48                 NA             NA            0.00


            MALINAO, GERALD
            7925 VENTURA CANYON
            AVE APT #201
            PANORAMA CITY, CA
            91402                                                  207.56                 NA             NA            0.00


            MANCIA-LOPEZ, HAYCIE
            A
            1254 S Berendo St Apt 212
            Los Angeles, CA 90006                                  322.50                 NA             NA            0.00


            MARCIAL-SALIGAN,
            YAHTZIRI
            5115 Towne Ave
            Los Angeles, CA 90011                                  386.10                 NA             NA            0.00


            MARIN, CAROLINA
            13433 Corcoran St
            San Fernando, CA 91340                                 171.00                 NA             NA            0.00


            MARIN, MARTHA
            970 Menlo Ave apt 20
            Los Angeles, CA 90006                                  228.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MARROQUIN, BETHANY
            415 N. El Molino Ave. #1
            Pasadena, CA 91101                                      50.00                 NA             NA            0.00


            MARROQUIN, EDUARDO
            3908 E 56th
            Maywood, CA 90270                                      446.25                 NA             NA            0.00


            MARTELL, KAREN
            282 WHITNEY AVE APT #1
            POMONA, CA 91767                                     4,243.02                 NA             NA            0.00


            MARTIN, JOEL
            12963 CHIPPEWA ST.
            SYLMAR, CA 91342                                     4,444.91                 NA             NA            0.00


            MARTINEZ PEREZ, JOSE R
            233 N Kenmore Avenue Apt.
            303
            Los Angeles, CA 90004                                  251.80                 NA             NA            0.00


            MARTINEZ, AMBAR
            19931 INGOMAR ST
            WINNETKA, CA 91306                                   4,475.75                 NA             NA            0.00


            MARTINEZ, DONAJI
            1036 W. 49th Street
            Los Angeles, CA 90037                                  187.28                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MARTINEZ, DONNA C
            8958 MERCEDES AVENUE
            ARLETA, CA 91331                                     2,427.95                 NA             NA            0.00


            MARTINEZ, ERIKA
            1212 Gordon St #7
            Los Angeles, CA 90038                                  301.54                 NA             NA            0.00


            MARTINEZ, ESTHER R
            4628 Eagle Rock Blvd Apt #6
            Los Angeles, CA 90041                                  169.81                 NA             NA            0.00


            MARTINEZ, JASMINE F
            7553 Beck ave.
            North Hollywood, CA 91605                              405.78                 NA             NA            0.00


            MARTINEZ, MAYRA A
            6000 GOTHAM ST.
            BELL GARDENS, CA 90201                                 327.83                 NA             NA            0.00


            MARTINEZ, MILIAN
            1323 S WESTMORELAND
            AVE
            LOS ANGELES, CA 90006                                  444.01                 NA             NA            0.00


            MATAALII, LORENA S
            1616 N. SCHRADER BLVD
            APT 1
            LOS ANGELES, CA 90028                                4,550.13                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MAZAS, JAVIER
            2226 S HOBART BLVD APT
            #5
            LOS ANGELES, CA 90018                                  527.85                 NA             NA            0.00


            MAZAS, RAQUEL S
            297 N State College Blvd Apt
            4018
            Orange, CA 92868                                       320.62                 NA             NA            0.00


            MAZED, CHRISTEEN
            6434 BALBOA BLVD APT
            #202
            VAN NUYS, CA 91406                                     284.75                 NA             NA            0.00


            MCINTYRE, LADEJA
            4520 Cimarron St.
            Los Angeles, CA 90062                                  375.00                 NA             NA            0.00


            MCQUERRY, CASEY C
            25 GENOA STREET APT #
            B
            ARCADIA, CA 91006                                    1,685.76                 NA             NA            0.00


            MEDELLIN GUERRERO,
            ARANZAZU
            12330 OSBORNE ST. Apt. 14
            PACOIMA, CA 91331                                    1,811.39                 NA             NA            0.00




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            MEDINA, ALEXANDRA J
            4076 CALICO AVENUE
            PICO RIVERA, CA 90660                                1,715.80                 NA             NA            0.00


            MEDINA, BRIAN D
            13370 Kagel Canyon St.
            Pacoima, CA 91331                                      237.45                 NA             NA            0.00


            MEDRANO, MABELYN
            2467 ELKGROVE AVE.
            COMMERCE, CA 90040                                     501.15                 NA             NA            0.00


            MEJIA PINEDA, MIRIAM A
            839 W. 167th STREET APT 7
            GARDENA, CA 90247                                    1,100.59                 NA             NA            0.00


            MEJIA, DANIELA J
            1808 2nd St.
            San Fernando, CA 91340                                 228.03                 NA             NA            0.00


            MEJICANOS, HARSSEN
            2614 W. 7TH ST APT #416
            LOS ANGELES, CA 90057                                  669.37                 NA             NA            0.00


            MELANSON, LAURIE
            12142 Cantura St
            Studio City, CA 91604                                  171.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MENDEZ, MONICA
            641 1/2 WEST 48TH
            STREET
            LOS ANGELES, CA 90037                                1,198.24                 NA             NA            0.00


            MENDEZ, OMAR
            4427 S. Morgan Ave.
            Los Angeles, CA 90011                                  236.41                 NA             NA            0.00


            MENDOZA, CRISTIAN A
            110 W 92 St
            Los Angeles, CA 90003                                  319.70                 NA             NA            0.00


            MENDOZA, EDUARDO
            1309 W 36th PL
            Los Angeles, CA 90007                                  374.06                 NA             NA            0.00


            MENDOZA, MARLENE
            13163 CARL ST
            PACOIMA, CA 91331                                      252.94                 NA             NA            0.00


            MENENDEZ, ERIKA V
            13135 Vanowen St Apt. 3
            North Hollywood, CA 91605                              309.40                 NA             NA            0.00


            MENESES, VALINDA
            635 SOUTH SHELTON
            STREET APT #C
            BURBANK, CA 91506                                    1,711.53                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MERINO, CARLOTA
            4560 W. 120th St. Apt 44
            Los Angeles, CA 90250                                1,552.95                 NA             NA            0.00


            MERTELL, JASON
            10121 JORDAN AVENUE
            CHATSWORTH, CA 91311                                   102.00                 NA             NA            0.00


            MESA, NORMA
            5624 MERIDIAN ST APT
            #102
            LOS ANGELES, CA 90042                                6,517.85                 NA             NA            0.00


            MEZA, ANAHI
            13339 PIERCE ST.
            PACOIMA, CA 91331                                      385.59                 NA             NA            0.00


            MEZA, BELINDA
            13339 PIERCE ST
            PACOIMA, CA 91331                                      530.03                 NA             NA            0.00


            MEZA, ISABEL N
            1330 S Baker st
            Santa Ana, CA 92707                                    213.75                 NA             NA            0.00


            MILES, MICHAEL J
            27940 Solanint Road
            Canyon Country, CA 91387                               128.25                 NA             NA            0.00




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                                                                6E)             Claim)

            MILLAN, ROBERTO
            14939 FLORENTINE ST.
            SYLMAR, CA 91342                                       450.00                 NA             NA            0.00


            MILNER, ANTANIK L
            1958 Lohengrin St
            Los Angeles, CA 90047                                  741.60                 NA             NA            0.00


            MIRANDA I, JENNIFER P
            3200 W 5th st apt #710
            Santa Ana, CA 92703                                    228.00                 NA             NA            0.00


            MIRANDA, ALFRED
            12001 FOOTHILL BLVD
            APT #19
            LAKE VIEW TERRACE, CA
            91342                                                  323.19                 NA             NA            0.00


            MIRHOSSAINI, VIVIEN
            16349 CHATSWORTH ST
            GRANADA HILLS, CA
            91344                                                1,261.80                 NA             NA            0.00


            MOLINA RODRIGUEZ,
            OSVALDO
            6807 BELLAIRE AVE
            NORTH HOLLYWOOD, CA
            91605                                                  142.66                 NA             NA            0.00




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            MONTANO, VANESSA
            14849 LORNE ST
            PANORAMA CITY, CA
            91402                                                4,744.70                 NA             NA            0.00


            MONTERROSO
            MARROQUIN, SHEYLA
            16344 BRYANT STREET
            NORTH HILLS, CA 91343                                  285.59                 NA             NA            0.00


            MONTES, ASHLEY
            13590 Corcoran St.
            San Fernando, CA 91340                                 291.89                 NA             NA            0.00


            MONTIEL III, Reymundo G
            15215 Victory Blvd apt 119
            Van Nuys, CA 91411                                     168.58                 NA             NA            0.00


            MONUGIAN, DEREK
            844 CHESTNUT AVE APT
            #31
            LOS ANGELES, CA 90042                                  245.68                 NA             NA            0.00


            MOORE, KOQUIS
            1140 WEST BLVD
            LOS ANGELES, CA 90019                                1,325.10                 NA             NA            0.00


            MORA, JAMES
            221 N BERENDO ST APT #9
            LOS ANGELES, CA 90004                                  321.54                 NA             NA            0.00




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            MORALES VASQUEZ,
            FATIMA
            1431 W 36th Pl
            Los Angeles, CA 90018                                  319.08                 NA             NA            0.00


            MORALES, ANGELICA
            1515 S Mansfield Ave
            Los Angeles, CA 90019                                1,072.70                 NA             NA            0.00


            MORALES, ERNESTO
            11068 CHIVERS AVENUE
            PACOIMA, CA 91331                                    3,176.38                 NA             NA            0.00


            MORALES, NATHAN R
            620 Orange Grove Avenue
            San Fernando, CA 91340                                 222.42                 NA             NA            0.00


            MORALES, ROGELIO
            1740 1/4 N. GARFIELD PL.
            LOS ANGELES, CA 90028                                  260.49                 NA             NA            0.00


            MORALES, SARAHI
            15237 Lemarsh St
            Mission Hills, CA 91345                                237.55                 NA             NA            0.00


            MORAN, DIANA
            10966 LEHIGH AVENUE #
            52
            PACOIMA, CA 91331                                      294.50                 NA             NA            0.00




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                                                                6E)             Claim)

            MORENO, ADRIAN
            8938 TOBIAS AVENUE APT
            304
            PANORAMA CITY, CA
            91402                                                  832.32                 NA             NA            0.00


            MORENO, DAMION A
            6013 Maywood Ave. #22
            Huntington Park, CA 90255                              120.00                 NA             NA            0.00


            MORENO, MAYRA
            13313 BEAVER STREET
            SYLMAR, CA 91342                                       188.98                 NA             NA            0.00


            MORENO, ROXANNA
            12873 Cometa Ave
            San Fernando, CA 91340                                 300.00                 NA             NA            0.00


            MORRISON, ANDREW A
            28502 COLHARY COURT
            CANYON COUNTRY, CA
            91387                                                  290.62                 NA             NA            0.00


            MOSQUEDA, JULIE
            2100 San Anseline Ave Apt B
            Long Beach, CA 90815                                   128.25                 NA             NA            0.00


            MOZQUEDA, STEPHANIE
            12050 VAN NUYS BLVD.
            LAKE VIEW TERRACE, CA
            91342                                                2,340.09                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            MUNOZ, ESMERALDA
            11352 ACALA AVE.
            SAN FERNANDO, CA 91340                                 287.39                 NA             NA            0.00


            MUNOZ, JOSE L
            6651 BAKMAN AVE APT
            #3
            NORTH HOLLYWOOD, CA
            91606                                                4,234.40                 NA             NA            0.00


            MUNOZ, JUAN A
            13563 SAYRE ST
            SYLMAR, CA 91342                                       299.44                 NA             NA            0.00


            Macias, Cristian
            11070 Chivers Ave
            Pacoima, CA 91331                                      305.00                 NA             NA            0.00


            Marcelo, Adalberto
            1390 E. 33 St.
            Los Angeles, CA 90011                                  356.25                 NA             NA            0.00


            Monrrigo, Erick G
            5732 CLEON AVE
            NORTH HOLLYWOOD, CA
            91601                                                  705.50                 NA             NA            0.00


            Murillo, Gia
            602 Hillcrest Drive
            Bakersfield, CA 93305                                  102.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            NAJAR, EDUARDO
            14720 Roscoe blvd. #34
            Panorama City, CA 91402                                235.12                 NA             NA            0.00


            NARANG, SHIVANI P
            7 Redcrown
            Mission Viejo, CA 92692                                138.94                 NA             NA            0.00


            NAVA JIMENEZ, PAOLA
            23412 MAGIC MOUNTAIN
            PKWY APT 1112
            VALENCIA, CA 91355                                   2,574.28                 NA             NA            0.00


            NAVA, CYNTHIA
            4668 S. HUNTINGTON
            DRIVE APT #107
            LOS ANGELES, CA 90032                                1,079.71                 NA             NA            0.00


            NAVA, LESLIE
            13223 Aztec St.
            Sylmar, CA 91342                                       232.88                 NA             NA            0.00


            NAVARRETE, EDUARDO
            11047 Strathern St. Apt.7
            Sun Valley, CA 91352                                   271.20                 NA             NA            0.00


            NAVARRO, LEYDI
            828 North Brand Blvd
            San Fernando, CA 91340                                 305.00                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6E)             Claim)

            NAVARRO, MARYSOL
            4191 BRIGHTON AVE
            LOS ANGELES, CA 90062                                  161.44                 NA             NA            0.00


            NAVAS, PATRICK
            26849 SHOREBREAK LN.
            APT # 41
            VALENCIA, CA 91355                                     208.00                 NA             NA            0.00


            NAZARIO, PAULA S
            2858 LEEWARD AVENUE
            APT 304
            LOS ANGELES, CA 90005                                1,388.26                 NA             NA            0.00


            NEGRETE, VANESSA
            1745 S Harvard Blvd
            Los Angeles, CA 90006                                  377.28                 NA             NA            0.00


            NERI, ELIZABETH
            736 E. 41 PL
            LOS ANGELES, CA 90011                                  210.45                 NA             NA            0.00


            NGUYEN, JOLIE
            8433 Darby Ave
            Northridge, CA 91325                                   211.88                 NA             NA            0.00


            NGUYEN, KHA
            1543 W. ELGENIA ST
            WEST COVINA, CA 91790                                   75.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            NUNEZ, JACQUELINE
            1508 2ND ST
            SAN FERNANDO, CA 91340                                 292.50                 NA             NA            0.00


            NUNEZ, PATRICIA
            13113 Kagel Cyn
            Pacoima, CA 91331                                      253.47                 NA             NA            0.00


            NUNO, DESIREE
            15455 GLENOAKS BLVD.
            APT # 195
            SYLMAR, CA 91342                                       176.91                 NA             NA            0.00


            OCAMPO, JANETH
            8241 WHITSETT AVE APT
            #4
            NORTH HOLLYWOOD, CA
            91605                                                3,421.24                 NA             NA            0.00


            OCANA, JACOB S
            12619 victory blvd
            North hollywood, CA 91606                              199.36                 NA             NA            0.00


            OCASLA, ARNULFO A
            2850 Riverside Drive Apt.313
            Los Angeles, CA 90039                                  213.75                 NA             NA            0.00


            OCHOA, JASMIN M
            4107 Walnut St
            Cudahy, CA 90201                                        60.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            OCHOA, JONATHAN
            13172 FENTON AVE
            SYLMAR, CA 91342                                     5,533.82                 NA             NA            0.00


            OCHOA, JOSHUA J.
            13172 Fenton Ave.
            Sylmar, CA 91342                                       231.56                 NA             NA            0.00


            OCHOA, OSWALDO A
            2170 1/2 W 31st St.
            Los Angeles, CA 90018                                  180.25                 NA             NA            0.00


            OJEDA, FABIAN
            5829 SULTANA AVE.
            TEMPLE CITY, CA 91780                                4,641.28                 NA             NA            0.00


            OLIVEROS JORDAN,
            ALEJANDRO
            11432 ERWIN STREET
            NORTH HOLLYWOOD, CA
            91606                                                  262.15                 NA             NA            0.00


            OQUELI, MICHAEL
            2221 BELLEVUE AVE
            LOS ANGELES, CA 90026                                  317.96                 NA             NA            0.00


            ORELLANA, GABRIELA
            8760 De Soto Ave Apt 103
            Canoga Park, CA 91304                                  260.06                 NA             NA            0.00




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            OROZCO ESQUIVAS,
            JENNIFER
            17806 LASSEN STREET
            APT #212
            NORTHRIDGE, CA 91324                                 2,981.60                 NA             NA            0.00


            OROZCO Jr., JESUS V
            16220 Cornuta Ave. Apt. 10
            Bellflower, CA 90706                                   298.53                 NA             NA            0.00


            OROZCO, GUADALUPE J
            16220 CORNUTA AVE APT
            10
            BELLFLOWER, CA 90706                                 1,567.43                 NA             NA            0.00


            ORTEGA, MANUEL
            1704 MORISAN AVE
            PALMDALE, CA 93550                                   6,014.84                 NA             NA            0.00


            ORTIZ JR., DAVID
            543 N. ARDMORE APT #3
            LOS ANGELES, CA 90004                                  448.78                 NA             NA            0.00


            ORTIZ Jr., JOE L
            12764 Herrick Ave
            Sylmar, CA 91342                                       195.80                 NA             NA            0.00


            ORTIZ, CLARICZA D
            215 S ARMONA
            LOS ANGELES, CA 90731                                1,460.70                 NA             NA            0.00




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            ORTIZ, MIA Q
            1114 W Ralston St Apt A
            Ontario, CA 91762                                      270.00                 NA             NA            0.00


            OSHIRO, DAVID
            1120 CAMPANILE
            NEWPORT BEACH, CA
            92660                                               11,331.92                 NA             NA            0.00


            OSORIO, JAHAIRA
            10965 GLENOAKS BLVD.
            APT #60
            PACOIMA, CA 91331                                      427.64                 NA             NA            0.00


            OSORNIA, ALEXANDRIA
            8983 GREENBUSH
            AVENUE
            ARLETA, CA 91331                                     1,385.30                 NA             NA            0.00


            OUTTEN, NUEJAH
            11451 BROOKHURST ST
            GARDEN GROVE, CA
            92840                                                  270.75                 NA             NA            0.00


            Olandes, Mariajose J.
            13063 Gladstone Ave
            Sylmar, CA 91342                                       209.05                 NA             NA            0.00


            Olea, Daniel
            12592 Bromwhich Street
            Pacoima, CA 91331                                      425.00                 NA             NA            0.00




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            Oliva, SONIA E
            13255 Reliance St
            Arleta, CA 91331                                       238.69                 NA             NA            0.00


            Orozco, Katherine A
            12707 Bradley Avenue Unit 9
            Sylmar, CA 91342                                       305.70                 NA             NA            0.00


            PACHECO, FABIAN
            126 NORTH ELECTRIC
            AVENUE APT K
            ALHAMBRA, CA 91801                                   1,676.72                 NA             NA            0.00


            PACHECO, GRISELDA
            17054 HARTLAND ST
            VAN NUYS, CA 91406                                     143.64                 NA             NA            0.00


            PADILLA, JENNIFER
            156 NORTH ALMA
            AVENUE
            LOS ANGELES, CA 90063                                6,762.74                 NA             NA            0.00


            PALACIOS, BRIAN
            20811 Lassen St. Apt. 12
            Chatsworth, CA 91311                                   195.94                 NA             NA            0.00


            PALACIOS, EMILY
            7521 LAS PLUMAS LANE
            TUJUNGA, CA 91042                                      120.00                 NA             NA            0.00




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            PALAFOX, EDLYN
            435 S HOOVER ST APT 11
            LOS ANGELES, CA 90020                                3,703.27                 NA             NA            0.00


            PANAMENO, SARA
            7945 Peachtree Ave
            Panorama City, CA 91402                                336.19                 NA             NA            0.00


            PANIAGUA, DANIEL
            13045 1/2 Carl Street Apt 366
            Pacoima, CA 91331                                      223.30                 NA             NA            0.00


            PANIAGUA, MAYRA
            13045 1/2 CARL ST APT
            #366
            PACOIMA, CA 91331                                    1,672.00                 NA             NA            0.00


            PANTOJA, HERIBERTO
            463 N. Meyer St.
            San Fernando, CA 91340                                 165.30                 NA             NA            0.00


            PANUCO-HERNANDEZ,
            RAQUEL
            5239. Monte Vista St APT
            #308
            Los Angeles, CA 90042                                  994.16                 NA             NA            0.00


            PARAMO, GRICELLI
            12655 Filmore St
            Pacoima, CA 91331                                      938.74                 NA             NA            0.00




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            PARLAK, YASIN
            3338 REDONDO BEACH
            BLVD APT 214
            TORRANCE, CA 90504                                   5,581.40                 NA             NA            0.00


            PATTERSON, BRITTANY
            22814 14TH STREET
            NEWHALL, CA 91321                                    2,453.60                 NA             NA            0.00


            PATTISON, ALEXANDRIA
            D
            11777 Foothill Boulevard Apt
            B 14
            Lake View Terrace, CA 91342                            319.30                 NA             NA            0.00


            PENSADO, NOELL
            3900 W 5th St Apt D8
            Santa Ana, CA 92703                                    299.25                 NA             NA            0.00


            PENUELAS, DIANA
            10907 LENIGH AVENUE
            APT #412
            PACOIMA, CA 91331                                      468.00                 NA             NA            0.00


            PERALTA, KIMBERLY G
            11411 Dronfield Ave 47
            Pacoima, CA 91331                                      178.55                 NA             NA            0.00


            PEREZ GOMEZ, MAYRA
            1172 Graham St
            Simi Valley, CA 93065                                  236.38                 NA             NA            0.00




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            PEREZ LARIOS,
            ALEXANDRA E
            10140 SEPULVEDA BLVD
            APT 6
            MISSION HILLS, CA 91345                                224.44                 NA             NA            0.00


            PEREZ RAMOS, EVODIO
            12067 PIERCE ST
            LAKE VIEW TERRACE, CA
            91342                                                  141.52                 NA             NA            0.00


            PEREZ, DIEGO A
            329 North Ditman Ave
            Los Angeles, CA 90063                                  228.62                 NA             NA            0.00


            PEREZ, ESTRELLA
            160 E 119th st
            Los Angeles, CA 90061                                  267.03                 NA             NA            0.00


            PEREZ, PERLA I
            12247 Klingerman St.
            El Monte, CA 91732                                     319.20                 NA             NA            0.00


            PETERS, JOUR 'DAN
            718 E. 81ST ST
            LOS ANGELES, CA 90001                                1,370.53                 NA             NA            0.00


            PETROSYAN, NELI
            524 PORTER ST
            GLENDALE, CA 91205                                   3,881.74                 NA             NA            0.00




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            PHAM, NICHOLAS
            5925 Middleton St Apt 48
            Huntington Park, CA 90255                            6,741.06                 NA             NA            0.00


            PINEIRO, DANIEL M.
            8184 Glencrest Dr.
            Sun Valley, CA 91352                                   228.00                 NA             NA            0.00


            PINO, KATHERINE N
            12600 Carl St. #30
            Pacoima, CA 91331                                      282.58                 NA             NA            0.00


            POLANCO, JOSE M
            1223 E Imperial Hwy
            Los Angeles, CA 90059                                  106.88                 NA             NA            0.00


            POLAT, FRANK O
            18553 Saticoy St. Unit.119
            Reseda, CA 91335                                       100.00                 NA             NA            0.00


            PONCE, JULIO
            13000 Studebaker Rd Apt.48
            Norwalk, CA 90650                                      263.62                 NA             NA            0.00


            PONCE, MARIA B
            225 NORTH AVENUE 53
            APT #6
            LOS ANGELES, CA 90042                                  227.31                 NA             NA            0.00




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            PRECIADO, ERNESTO
            4415 E. 6th
            LOS ANGELES, CA 90022                                4,365.15                 NA             NA            0.00


            PRIETO CRUZ, JOCELYN
            2256 PARKSIDE AVE APT
            #202
            LOS ANGELES, CA 90031                                1,151.24                 NA             NA            0.00


            Pablo, Leonardo J
            441 Hartford Ave Apt 208
            Los Angeles, CA 90017                                  213.75                 NA             NA            0.00


            Palma, Jan
            9743 Cedros Ave.
            Panorama City, CA 91402                                310.00                 NA             NA            0.00


            QUEVEDO, MATTHEW J
            18204 Nordhoff St
            Northridge, CA 91325-2734                              202.67                 NA             NA            0.00


            QUEZADA, BRENDA
            27240 LUTHER DRIVE
            UNIT 511
            CANYON COUNTY, CA
            91351                                                2,144.28                 NA             NA            0.00


            QUINTANILLA RAMIREZ,
            NORMA
            18553 Saticoy St. Unit 151
            Reseda, CA 91335                                        92.31                 NA             NA            0.00




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            QUINTANILLA, WALTER
            12873 Cometa Ave
            San Fernando, CA 91340                               2,661.79                 NA             NA            0.00


            QUIRARTE, NOE
            1913 E. 124TH ST
            COMPTON, CA 90222                                    2,569.39                 NA             NA            0.00


            QUIROZ PEREZ, NANCY
            3715 W. 1ST STREET #104
            LOS ANGELES, CA 90004                                2,587.42                 NA             NA            0.00


            RAMCLAM, COURTNEY L
            2619 So La Salle Ave #5
            Los Angeles, CA 90018                                  338.81                 NA             NA            0.00


            RAMIREZ Cordova, TANIA
            C
            14959 Vanowen Street #24
            Van Nuys, CA 91405                                     184.96                 NA             NA            0.00


            RAMIREZ, CLAUDIA
            10400 Swinton Ave
            Granada Hills, CA 91344                                337.30                 NA             NA            0.00


            RAMIREZ, DIANNA
            13890 Sayre St. Apt. 204
            Sylmar, CA 91342                                       254.61                 NA             NA            0.00




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            RAMIREZ, JEAN
            15440 SHERMAN WAY
            APT #124
            VAN NUYS, CA 91406                                      90.00                 NA             NA            0.00


            RAMIREZ, MARIA C
            1809 Kearney street
            Los Angeles, CA 90033                                  133.22                 NA             NA            0.00


            RAMIREZ, MARIA D
            14717 COBALT ST
            SYLMAR, CA 91342                                     4,875.13                 NA             NA            0.00


            RAMIREZ, MARITZA
            742 E GRANADA COURT
            ONTARIO, CA 91764                                    3,133.44                 NA             NA            0.00


            RAMIREZ, MICHELE G
            634 WEST 113th STREET
            LOS ANGELES, CA 90044                                1,519.12                 NA             NA            0.00


            RAMIREZ, RAMON
            4063 1/2 WOODLAWN AVE
            LOS ANGELES, CA 90011                                   60.00                 NA             NA            0.00


            RAMIREZ, ROBINETTE
            13700 COMMUNITY ST
            PACOIMA, CA 91402                                      406.18                 NA             NA            0.00




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            RAMOS, LESLEY
            13217 Kismet Ave
            Sylmar, CA 91342                                       166.72                 NA             NA            0.00


            REBATET, JACOB
            10518 SPRY ST
            NORWALK, CA 90650                                    4,841.00                 NA             NA            0.00


            REFFELLS, QUINTIN M
            725 Manchester Dr
            Inglewood, CA 90301                                    149.62                 NA             NA            0.00


            REGALADO, JADE E
            13161 Foothill Blvd #114
            Sylmar, CA 91342                                       305.00                 NA             NA            0.00


            RESTREPO, SAMUEL D
            344 W. Duarte Rd #A
            Monrovia, CA 91016                                     150.00                 NA             NA            0.00


            REVOLORIO,
            CHRISTOPHER
            1136 Arapahoe St Apt. 101
            Los Angeles, CA 90006                                  450.00                 NA             NA            0.00


            REYES, JESSICA
            616 CLINTWOOD AVE
            LA PUENTE, CA 91744                                    122.01                 NA             NA            0.00




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            REYES, MICHAEL
            501 S MANHATTAN
            PLACE APT #106
            LOS ANGELES, CA 90020                                  647.71                 NA             NA            0.00


            RICHMOND, CHANTAL J
            3365 SANTA FE AVENUE
            APT # 18
            LONG BEACH, CA 90810                                    93.75                 NA             NA            0.00


            RIOS, BLANCA E
            4936 WHITSETT AVENUE
            APT #7
            VALLEY VILLAGE, CA
            91607                                                3,178.31                 NA             NA            0.00


            RIOS, JOCELYNE G
            11538 WELK AVE
            PACOIMA, CA 91331                                      165.49                 NA             NA            0.00


            RIVAS, KIMBERLY C
            611 N Pearl Ave
            Compton, CA 90221                                    3,576.97                 NA             NA            0.00


            RIVAS, XIOMARA E
            2158 N MANANNA AVE
            APT 1
            LOS ANGELES, CA 90032                                  156.75                 NA             NA            0.00




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            RIVERA, JENNIFER
            208 N Burris Ave
            COMPTON, CA 90221                                      285.00                 NA             NA            0.00


            RIVERA-MURILLO, EMILY
            E
            9415 SYLMAR AVE UNIT 7
            PANORAMA CITY, CA
            91402                                                  125.81                 NA             NA            0.00


            RIVERA-MURILLO, ROCIO
            9415 SYLMAR AVENUE
            UNIT 7
            PANORAMA CITY, CA
            91402                                                1,131.06                 NA             NA            0.00


            ROBINSON, DAJA S
            630 S ALVARADO ST APT
            # 206
            LOS ANGELES, CA 90057                                  271.72                 NA             NA            0.00


            ROBLES, ADRIANA
            14833 Parthenia St. Apt #25
            Panorama City, CA 91402                                128.25                 NA             NA            0.00


            ROBLES, ARLENE A
            9025 BRADHURST STREET
            PICO RIVERA, CA 90660                                  195.94                 NA             NA            0.00




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            ROBLES, OSBALDO
            1317 LUCAS ST.
            SAN FERNANDO, CA 91340                               1,415.48                 NA             NA            0.00


            RODRIGUEZ CISNEROS,
            OSWALDO M.
            1087 W 39th St Apt 16
            Los Angeles, CA 90037                                  161.28                 NA             NA            0.00


            RODRIGUEZ, ALINA
            15445 COBALT ST #201
            SYLMAR, CA 91342                                       308.80                 NA             NA            0.00


            RODRIGUEZ, ANDREA S
            430 Coronado Terrace Apt #3
            Los Angles, CA 90026                                 1,083.52                 NA             NA            0.00


            RODRIGUEZ, ANDRES A
            16709 chatsworth street
            Granada hills, CA 91344                                286.46                 NA             NA            0.00


            RODRIGUEZ, ASHLEY A
            7934 Laurel Canyon Blvd Apt
            1
            North Hollywood, CA 91605                              310.50                 NA             NA            0.00


            RODRIGUEZ, BALTAZAR
            8983 VICTORIA AVE
            SOUTH GATE, CA 90280                                   211.40                 NA             NA            0.00




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            RODRIGUEZ, BIANKA
            8734 WAKEFIELD AVE
            PANORAMA CITY, CA
            91402                                                  185.25                 NA             NA            0.00


            RODRIGUEZ, CATALINA
            9600 SYLMAR AVE APT
            #43
            PANORAMA CITY, CA
            91402                                                2,667.63                 NA             NA            0.00


            RODRIGUEZ, JAZZIEL
            3532 VINTON AVE APT #3
            LOS ANGELES, CA 90034                                  183.42                 NA             NA            0.00


            RODRIGUEZ, JOHANNA
            118 N MARGUERITA AVE
            APT #A
            ALHAMBRA, CA 91801                                   1,982.65                 NA             NA            0.00


            RODRIGUEZ, KARENT
            5711 RUTHELEN ST
            LOS ANGELES, CA 90062                                  560.32                 NA             NA            0.00


            RODRIGUEZ, MARIA H
            232 S Harvard Blvd #5
            Los Angeles, CA 90004                                  367.50                 NA             NA            0.00


            RODRIGUEZ, MIGUEL
            1089 HARRIS AVE
            LOS ANGELES, CA 90063                                1,488.34                 NA             NA            0.00




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            RODRIGUEZ, MISHELLE
            4213 Yosemite Way
            Los Angeles, CA 90065                                  142.50                 NA             NA            0.00


            RODRIGUEZ, NATALIE
            10958 S Figueroa St
            Los Angeles, CA 90061                                  256.50                 NA             NA            0.00


            RODRIGUEZ, ROCIO R
            3412 CUDAHY ST
            HUNTINGTON PARK, CA
            90255                                                1,972.00                 NA             NA            0.00


            RODRIGUEZ, RUBY A
            5103 WOODLAWN AVE
            LOS ANGELES, CA 90011                                  375.00                 NA             NA            0.00


            RODRIGUEZ, STACEY
            6561 FULTON AVE APT 7
            VAN NUYS, CA 91401                                   1,724.99                 NA             NA            0.00


            RODRIGUEZ-CABRERA,
            VERONICA
            385 E. LINCOLN AVE
            MONTEBELLO, CA 90640                                 2,928.07                 NA             NA            0.00


            ROJAS, MARK
            795 RAYMOND ST
            UPLAND, CA 91786                                        72.00                 NA             NA            0.00




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            ROMAN ALVAREZ Jr.,
            SALOMON
            5853 Virginia Ave. APT #6
            Los Angeles, CA 90038                                2,544.86                 NA             NA            0.00


            ROMAN VALDEZ, KARLA
            13009 CARL ST APT 394
            PACOIMA, CA 91331                                      360.00                 NA             NA            0.00


            ROMERO, ANGELICA
            18409 COMPANARIO DR
            ROWLAND HEIGHTS, CA
            91748                                                6,471.88                 NA             NA            0.00


            ROMERO, STEPHANIE
            8710 Rialton St
            Pico Rivera, CA 90660                                1,704.80                 NA             NA            0.00


            ROSADO-SANTOS, KEILA
            13439 TREGO ST.
            SYLMAR, CA 91342                                       496.61                 NA             NA            0.00


            RUBINSTEIN, AMY
            411 N. 3RD STREET APT G
            ALHAMBRA, CA 91801                                     180.00                 NA             NA            0.00


            RUEDA, MIRIAM
            15147 ROXFORD STREET
            SYLMAR, CA 91342                                       369.00                 NA             NA            0.00




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                                                  CODE
                                                                6E)             Claim)

            RUIZ, ALEJANDRA
            1620 E 82nd PL
            Los Angeles, CA 90001                                  341.00                 NA             NA            0.00


            RUIZ, ALEX
            1333 1/2 E 27th St
            Los Angeles, CA 90011                                  213.75                 NA             NA            0.00


            RUIZ, GILBERTO
            1132 S Huron Dr
            Santa Ana, CA 92704                                    231.56                 NA             NA            0.00


            RUIZ, KELLY
            13600 Cantlay St Apt 8
            Van Nuys, CA 91405                                     236.25                 NA             NA            0.00


            RUSSELL, TRAVIS
            19716 Azure Field Drive
            Newhall, CA 91321                                      270.00                 NA             NA            0.00


            RUVALCABA, YEDID
            132 3/4 E. 47TH PL.
            LOS ANGELES, CA 90011                                  358.51                 NA             NA            0.00


            Robles-Cruz, Lissette
            3066 W 15th St Apt 201
            Los Angeles, CA 90019                                  305.00                 NA             NA            0.00




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                                                   CODE
                                                                 6E)             Claim)

            Rodriguez, Aaron M
            974 S New Hampshire Ave
            Apt 5
            Los Angeles, CA 90006                                   358.12                 NA             NA            0.00


            Rodriguez, Andres
            14243 HOYT ST
            ARLETA, CA 91331                                        323.19                 NA             NA            0.00


            Ruiz, Enrique
            14757 Sherman Way Apt 318
            Van Nuys, CA 91405                                      340.00                 NA             NA            0.00


            SALAM Esq., FATMA
            16636 Gilmore St.
            Van Nuys, CA 91406                                      228.00                 NA             NA            0.00


            SALAM, ASMAA
            16636 Gilmore St
            Van Nuys, CA 91406                                      195.80                 NA             NA            0.00


            SALAS, KRISTEENA
            4618 TOPAZ STREET
            LOS ANGELES, CA 90032                                   321.30                 NA             NA            0.00


            SALCEDO, LEILANI
            13712 MERCER STREET
            PACOIMA, CA 91331                                       436.90                 NA             NA            0.00




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                                                                 6E)             Claim)

            SALGADO, GLORIA C
            236 S. Avenue 55 APT J
            Los Angeles, CA 90042                                 4,166.00                 NA             NA            0.00


            SALINAS, JACQUELINE
            1147 Van Pelt Ave
            Los Angeles, CA 90063                                   212.85                 NA             NA            0.00


            SALINAS, KIMBERLY
            1120 W. 57TH ST.
            LOS ANGELES, CA 90037                                 2,220.20                 NA             NA            0.00


            SALOMON, SALVADOR
            15056 Vose St.
            Van Nuys, CA 91405                                      235.12                 NA             NA            0.00


            SALVADOR, ANNER
            123 N Hagar st
            San Fernando, CA 91340                                   99.75                 NA             NA            0.00


            SANCHEZ ARROYO,
            KHERGTIN
            4326 W MLK JR BLVD APT
            #5
            LOS ANGELES, CA 90008                                 1,577.60                 NA             NA            0.00


            SANCHEZ, ALEJANDRO
            13112 El Dorado Ave.
            Sylmar, CA 91342                                         97.47                 NA             NA            0.00




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            SANCHEZ, ALEXANDRA
            M
            9367 Urbana Ave.
            Arleta, CA 91331                                        293.85                 NA             NA            0.00


            SANCHEZ, BRYAN A
            12967 Paxton St
            Pacoima, CA 91331                                       255.46                 NA             NA            0.00


            SANCHEZ, ISABELLE
            16948 Labrador St.
            Northridge, CA 91343                                    188.81                 NA             NA            0.00


            SANCHEZ, JARINTZI
            123 N. HAGAR STREET
            APT # B
            SAN FERNANDO, CA 91340                                  311.03                 NA             NA            0.00


            SANCHEZ, JOSE L
            11183 HERRICK AVE
            PACOIMA, CA 91331                                       299.06                 NA             NA            0.00


            SANCHEZ, MARCO A
            820 W 80th st
            Los Angeles, CA 90044                                   302.81                 NA             NA            0.00


            SANCHEZ, MIGUEL A
            6442 LINDLEY AVE
            RESEDA, CA 91335                                        228.00                 NA             NA            0.00




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            SANDOVAL, PATRICIA
            926 S Duncan Ave
            Los Angeles, CA 90022                                   154.65                 NA             NA            0.00


            SANTANA, ALICIA
            9937 STANWIN AVE
            ARLETA, CA 91331                                      5,542.66                 NA             NA            0.00


            SANTIAGO, MONICA N
            7901 broadleaf ave.
            Panorama City, CA 91402                                 348.50                 NA             NA            0.00


            SANTOS, DIANA
            10251 KEWEN AVE.
            PACOIMA, CA 91331                                       941.20                 NA             NA            0.00


            SANTOS, SANDY
            5711 1/2 Ruthelen st.
            Los Angeles, CA 90062                                   312.36                 NA             NA            0.00


            SARENANA, EZEKIEL
            512 Chatsworth Dr
            San Fernando, CA 91340                                  193.51                 NA             NA            0.00


            SARENANA, LAWRENCE
            10631 LINDLEY AVE. APT
            #247
            NORTHRIDGE, CA 91326                                    183.71                 NA             NA            0.00




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            SAROHA, DEEPTI
            6643 WOODEY AVENUE
            APT 12A
            VAN NUYS, CA 91406                                    1,325.10                 NA             NA            0.00


            SAUCEDO, VANESSA A
            14547 Fox St Rear
            Mission Hills, CA 91345                                 117.56                 NA             NA            0.00


            SCHULTZ, MARTA
            1019 6TH ST APT #4
            SANTA MONICA, CA 90403                                   55.40                 NA             NA            0.00


            SEGURA, YOLANDA
            ESTELA P
            1656 W 11th PL APT 2
            Los Angeles, CA 90015                                   293.25                 NA             NA            0.00


            SEPULVEDA, JOSE
            11339 MONTGOMERY AVE
            GRANADA HILLS, CA
            91434                                                    54.25                 NA             NA            0.00


            SERRANO VALLADARES,
            SAUL
            10472 Laurel Canyon Blvd.
            Pacoima, CA 91331                                        96.84                 NA             NA            0.00


            SERRANO, SARA
            8137 California Ave
            South Gate, CA 90280                                    356.11                 NA             NA            0.00




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            SHARP, ROBIN
            6710 VARNA AVE
            VALLEY GLEN, CA 91401                                    50.00                 NA             NA            0.00


            SILVA, JASMINE
            439 NEWTON ST
            SAN FERNANDO, CA 91340                                2,647.11                 NA             NA            0.00


            SILVA, JESSICA
            660 LORANNE AVE
            POMONA, CA 91767                                      1,630.36                 NA             NA            0.00


            SILVA, KATHY
            8421 VENTURA CANYON
            AVENUE APT 1
            PANORAMA CITY, CA
            91402                                                 1,836.24                 NA             NA            0.00


            SILVA, MICHAEL A
            14906 Polk Street
            Sylmar, CA 91342                                      1,272.84                 NA             NA            0.00


            SILVA, NICHOLAS
            3116 BLANCHARD ST.
            LOS ANGELES, CA 90063                                 3,261.40                 NA             NA            0.00


            SIMPSON, LINDSAY
            1435 N. Placentia Avenue
            APT 64
            Fullerton, CA 92831                                   1,696.43                 NA             NA            0.00




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            SMITH, CHEYANNE
            15519 Deblynn Ave
            Gardena, CA 90248                                       185.25                 NA             NA            0.00


            SMITH, CHRISTIAN A
            10607 Crenshaw Blvd Apt 3
            Inglewood, CA 90303                                     148.24                 NA             NA            0.00


            SMITH, ERICK J
            247 N Berendo St
            Los Angeles, CA 90004                                   214.20                 NA             NA            0.00


            SOLANO, LENIN
            330 N BIXEL ST APT #203
            LOS ANGELES, CA 90026                                 2,648.11                 NA             NA            0.00


            SOLIS, CECILIA S
            19545 Sherman Way Unit 109
            Reseda, CA 91335                                        264.91                 NA             NA            0.00


            SOLIS, DAVID S
            214 W 62ND ST
            LOS ANGELES, CA 90003                                 1,404.48                 NA             NA            0.00


            SOLORIO, DELANIE
            1431 HOLLISTER STREET
            SAN FERNANDO, CA 91340                                1,817.98                 NA             NA            0.00


            SORTO CARPIO, KENIA J.
            1138 S Fedora St Apt 5
            Los Angeles, CA 90006                                   362.25                 NA             NA            0.00




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            SOWERS, REBECCA G
            1456 SOUTH WOOSTER
            STREET APT #1
            LOS ANGELES, CA 90035                                 2,788.18                 NA             NA            0.00


            SPARKS, RICARDO A
            6055 Bonfair Ave
            Lakewood, CA 90712                                      100.00                 NA             NA            0.00


            SU, DARREN
            2579 LOMBARDY BLVD.
            LOS ANGELES, CA 90032                                   340.00                 NA             NA            0.00


            SULLIVAN, BRIANNE T
            1735 WINONA BLVD APT
            #8
            LOS ANGELES, CA 90027                                 2,275.54                 NA             NA            0.00


            TAPIA, STACEY M
            8505 COLUMBUS AVENUE
            UNIT 302
            NORTH HILLS, CA 91343                                   181.69                 NA             NA            0.00


            TARANGO, SANDRA
            13550 FOOTHILL BLVD
            UNIT #6
            SYLMAR, CA 91342                                      1,121.38                 NA             NA            0.00


            TARAX, VANESSA
            15038 Paddock St.
            Sylmar, CA 91342                                        213.75                 NA             NA            0.00




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                                                   CODE
                                                                 6E)             Claim)

            TEDLA, HAMEN
            12829 Wintrop ave.
            Granada Hills, CA 91344                               4,086.69                 NA             NA            0.00


            TEJADA, ERICK B
            4519 Clinton st
            Los Angeles, CA 90004                                   287.42                 NA             NA            0.00


            TELLES, JENNIFER
            816 S Park View St Apt 304
            Los Angeles, CA 90057                                   167.75                 NA             NA            0.00


            TEMMERMAN, JULIE M
            10023 Halbrent Ave
            Mission Hills, CA 91345                                 298.20                 NA             NA            0.00


            TEPOX, WENDY
            4228 WALL STREET
            LOS ANGELES, CA 90011                                   262.50                 NA             NA            0.00


            THOMAS, TAYLOR M
            P.O. BOX 7023
            Long Beach, CA 90807                                    275.74                 NA             NA            0.00


            TLATOA, JONATHAN
            1136 E. 48TH ST.
            LOS ANGELES, CA 90011                                   240.00                 NA             NA            0.00


            TOBAR Jr., CARLOS R
            846 west 83rd st. Apt. 4
            Los Angeles, CA 90044                                   209.70                 NA             NA            0.00




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                                                   CODE
                                                                 6E)             Claim)

            TOLEDO, JOHN G
            149 N Kenmore Ave
            Los Angeles, CA 90004                                   142.50                 NA             NA            0.00


            TORRES, AMANDA B
            2021 ARLINGTON AVE, apt
            8
            LOS ANGELES, CA 90018                                   534.23                 NA             NA            0.00


            TORRES, SAMANTHA
            25399 The Old Road APT 2-
            208
            Stevenson Ranch, CA 91381                               232.70                 NA             NA            0.00


            TORRES, TANIA
            6720 HAYVENHURST
            AVENUE APT #55
            VAN NUYS, CA 91406                                      317.06                 NA             NA            0.00


            TORRES, YAIRA
            10914 El Dorado Ave
            Los Angeles, CA 91331                                   247.50                 NA             NA            0.00


            TOSCANO PEREZ,
            BLANCA
            1533 N. Highland St Apt A
            Orange, CA 92867                                        233.98                 NA             NA            0.00




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            TOWNSEND, WHITNEY A
            528 N. BENTON WAY APT
            # 214
            LOS ANGELES, CA 90026                                    49.88                 NA             NA            0.00


            TRANSITO-VALDEZ,
            IRMA
            4037 Morgan Ave
            Los Angeles, CA 90011                                   193.91                 NA             NA            0.00


            TRUJILLO, BRENDA
            1327 SHERIDAN AVE
            POMONA, CA 91767                                        216.72                 NA             NA            0.00


            TUAZON, ERIC
            28342 CAMINO DEL ARTE
            DR.
            VALENCIA, CA 91354                                      100.00                 NA             NA            0.00


            TUREK, CIARA
            1329 N. COLUMBUS AVE
            APT #D
            GLENDALE, CA 91202                                    1,149.51                 NA             NA            0.00


            TZINTZUN, SAMANTHA D
            10420 Marklein Ave.
            Mission Hills, CA 91345                                  86.02                 NA             NA            0.00


            Torres, Claudia F
            1973 Knox St.
            San Fernando, CA 91340                                  310.00                 NA             NA            0.00




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                                                                 6E)             Claim)

            Torres, Vanessa
            1973 Knox St.
            San Fernando, CA 91340                                  294.68                 NA             NA            0.00


            ULLOA, CRISLY
            1029 S Westmoreland Ave
            Apt #104
            Los Angeles, CA 90006                                   142.50                 NA             NA            0.00


            URIOSTEGUI, LINDA C
            10052 Antigua St.
            Anaheim, CA 92804                                       324.19                 NA             NA            0.00


            Utkina, Linoy
            7107 Kester Ave Apt 114
            Van Nuys, CA 91405                                       77.50                 NA             NA            0.00


            VALDEZ, SILVIA
            13030 garber st
            Pacoima, CA 91331                                       110.56                 NA             NA            0.00


            VALENZUELA, KEVIN M
            1730 W. 64st
            Los angeles, CA 90047                                    61.86                 NA             NA            0.00


            VALLEJO, LESLE J.
            3419 Los Angeles Street
            Baldwin Park, CA 91706                                  166.47                 NA             NA            0.00




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                                                   CODE
                                                                 6E)             Claim)

            VARELA, JOSHUA
            225 S San Dimas Cyn Rd apt
            #8
            San Dimas, CA 91773                                      85.50                 NA             NA            0.00


            VARGAS, ANAHI
            9701 CANTERBURY AVE
            ARLETA, CA 91331                                      5,373.39                 NA             NA            0.00


            VARGAS, ERIC G
            19436 Vanowen St
            Reseda, CA 91335                                        292.50                 NA             NA            0.00


            VARGAS, HUMBERTO
            9701 CANTERBURY AVE
            ARLETA, CA 91331                                      2,250.94                 NA             NA            0.00


            VASQUEZ, AMY L
            2636 Hillcrest Dr Apt 6
            Los Angeles, CA 90016                                   247.81                 NA             NA            0.00


            VASQUEZ, CLAUDIA
            238 S. LAFAYETTE PARK
            PL APT #306
            LOS ANGELES, CA 90057                                   372.00                 NA             NA            0.00


            VASQUEZ, FATIMA
            5732 FOUNTAIN AVE
            LOS ANGELES, CA 90028                                   255.00                 NA             NA            0.00




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                                                             (from Form      (from Proofs of    ALLOWED
                                                   CODE
                                                                 6E)             Claim)

            VAZQUEZ, JENNIFER
            405 EUCLID AVE
            LOS ANGELES, CA 90063                                 2,415.52                 NA             NA            0.00


            VAZQUEZ, JORGE A
            4011 Randolph St
            Huntngton Park, CA 90255                                 57.00                 NA             NA            0.00


            VEGA, ENRIQUE
            13666 Filmore St
            Pacoima, CA 91331                                       361.65                 NA             NA            0.00


            VELA, THANIA
            5409 MILDRED ST
            SIMI VALLEY, CA 93063                                 2,717.92                 NA             NA            0.00


            VELEZ, VICTOR M
            1190 Rolland Curtis Pl
            Los Angeles, CA 90037                                   213.75                 NA             NA            0.00


            VENEGAS, ANNA L
            12659 CATHY ST
            SYLMAR, CA 91342                                        235.95                 NA             NA            0.00


            VENEGAS, JEANNE
            13310 GLENOAKS
            SYLMAR, CA 91342                                      1,376.10                 NA             NA            0.00




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                                                             (from Form      (from Proofs of    ALLOWED
                                                   CODE
                                                                 6E)             Claim)

            VERGARA-DIAZ,
            JONATHAN I
            828 NORTH BRAND BLVD
            SAN FERNANDO, CA 91340                                2,155.30                 NA             NA            0.00


            VIDACA, JASMINE
            22761 Vanowen St. Apt 216
            West Hills, CA 91307                                  1,559.97                 NA             NA            0.00


            VIDANA, BERENICE
            18440 Hatteras St. Apt. #24
            Tarzana, CA 91356                                       391.00                 NA             NA            0.00


            VILLANUEVA, BELEN
            13510 VAUGHN STREET
            SAN FERNANDO, CA 91340                                  380.98                 NA             NA            0.00


            VILORIA, GENE
            14914 ROSCOE BLVD. APT
            #17
            PANORAMA CITY, CA
            91402                                                   200.70                 NA             NA            0.00


            Valverde, Stephanie
            221 Lucas Ave
            Los Angeles, CA 90026                                   288.75                 NA             NA            0.00


            Vega, Jennifer
            372 Loma Dr
            Los Angeles, CA 90017                                   192.38                 NA             NA            0.00




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CLAIM NO.             CLAIMANT                     TRAN.                                                       CLAIMS PAID
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                                                   CODE
                                                                 6E)             Claim)

            Vizcarra, Arvin C.
            12620 Judd St.
            Pacoima, CA 91331                                       203.89                 NA             NA            0.00


            WELMOND, CHLOE
            117 Bimini Place, Apt 216
            Los Angeles, CA 90004                                   224.44                 NA             NA            0.00


            WILLIAMS Jr., CLARENCE
            26812 Isabella Pkwy Apt 202
            Santa Clarita, CA 91351                                 232.50                 NA             NA            0.00


            WILLIAMS Jr., TROY
            11844 S Normandie Ave
            Los Angeles, CA 90044                                   234.43                 NA             NA            0.00


            WILLIAMS, CRAIG
            17821 LASSEN STREET
            APT 340
            NORTHRIDGE, CA 91325                                  1,908.80                 NA             NA            0.00


            WOMACK, MARGUERITE
            5108 BUCHANAN STREET
            LOS ANGELES, CA 90042                                 5,311.71                 NA             NA            0.00


            WOODS, CASSIE
            2354 FLETCHER DRIVE
            APT #233
            LOS ANGELES, CA 90039                                 2,709.00                 NA             NA            0.00




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                                                   CODE
                                                                 6E)             Claim)

            WOODS-MCGUIRE,
            JAHLYN 4455 East
            Goldfield Ave
            Long Beach, CA 90807                                    368.12                 NA             NA            0.00


            WOODSON, ADRIAN
            1200 N. CULVER AVENUE
            APT A
            COMPTON, CA 90222                                       213.75                 NA             NA            0.00


            YACAPIN, ANDRE J
            17416 Stare Street
            Northridge, CA 91325                                    242.25                 NA             NA            0.00


            YESCAS, LUCRECIA
            2858 Leeward Ave Apt 309
            Los Angeles, CA 90005                                   194.36                 NA             NA            0.00


            Yahutentzi, Joel A
            13214 Terra Bella st
            Pacoima, CA 91331                                       270.00                 NA             NA            0.00


            ZAMBRANO, JASMINE G
            5963 Agra St Bell
            Gardens, CA 90201                                       210.33                 NA             NA            0.00


            ZAMORA, DENISE
            1600 TREMONT ST
            LOS ANGELES, CA 90033                                    86.60                 NA             NA            0.00




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            ZAMUDIO MARTINEZ,
            LUIS
            6125 S. MAIN STREET APT
            #1
            LOS ANGELES, CA 90003                                   213.75                 NA             NA            0.00


            ZAMUDIO, DAVID
            2710 ILLINOIS AVE
            SOUTH GATE, CA 90280-
            4004                                                     68.78                 NA             NA            0.00


            ZAPATA, LESLIE L
            11231 Norris ave
            Pacoima, CA 91331                                       104.31                 NA             NA            0.00


            ZARAZUA, BRIGETTE
            11916 STRATHERN
            STREET
            NORTH HOLLYWOOD, CA
            91605                                                   450.00                 NA             NA            0.00


            ZAVALA, ABRIL
            7120 Forbes Ave.
            Van Nuys, CA 91406                                      143.64                 NA             NA            0.00


            ZELAYA, JONATHAN
            7301 Lennox Ave #E14
            Van Nuys, CA 91405                                      264.62                 NA             NA            0.00




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            ZIMMERMAN,
            CHARMANE
            3330 HOLLYPARK DRIVE
            APT 4
            INGLEWOOD, CA 90305                                    4,812.06                 NA              NA                0.00


            ZUNIGA, FREDDY J
            3958 1/2 2ND AVE
            LOS ANGELES, CA 90008                                    166.62                 NA              NA                0.00


            ZUNIGA, IRIS
            3205 LINDA VISTA
            GLENDALE, CA 91206                                     9,200.56                 NA              NA                0.00


            ZUNIGA, JUDITH I.
            1539 W Gage Ave
            Los Angeles, CA 90047                                     57.00                 NA              NA                0.00


            ZUNIGA, SAMANTHA G
            1539 W. Gage Ave
            Los Angeles, CA 90047                                     57.90                 NA              NA                0.00


000123      ALEX GONZALEZ                         5300-000           171.00                0.00             0.00              0.00


000084      ALMA R ESTEVEZ                        5300-000         4,567.93            4,756.74       4,756.74            3,874.37


000002      AMBER SKRUMBIS                        5300-000         3,404.72            3,405.00       3,405.00            2,773.37


000054      ANA OSTORGA                           5300-000           186.30              186.24        186.24              151.69


000004      ANGELICA ARNOLD                       5300-000         3,390.96            3,390.96       3,390.96            2,761.93




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                                                                  6E)             Claim)

000118      ARIELLA RAMIREZ                       5300-000           128.25                0.00             0.00              0.00


000121      AUDREY LOPEZ                          5300-000           163.88              163.87        163.87              133.47


000082A     AURELIA ORTIZ                         5300-000         1,725.56            1,779.83       1,779.83            1,449.67


000076A     BELINDA KWAN                          5300-000         2,724.89            2,781.93       2,781.93            2,265.88


000107      BRIAN J MARTINEZ                      5300-000           863.94              863.94        863.94              703.68


000045A     BRYAN COREAS                          5300-000         3,290.68            3,289.61       3,289.61            2,679.38


000011      CAMILLE BULACLAC                      5300-000         2,020.19            2,152.40       2,152.40            1,753.13


            CARLOS SAUL SICAL
000009      SANHEZ                                5300-000         2,570.74            2,570.74       2,570.74            2,093.86


000085      CATALINA RODRIGUEZ                    5300-000              NA                 0.00             0.00              0.00


000096      CICELY MAJEED                         5300-000         1,077.20            2,037.00       2,037.00            1,659.14


000113      DANIEL GRUNFELD                       5300-000        10,433.65          10,433.65       10,433.65            8,498.20


            DANIELA J FLORES
000077      BUSSO                                 5300-000         2,416.72            2,416.72       2,416.72            1,968.42


000120      DANIELLE K MARTINEZ                   5300-000           289.80              289.98        289.98              236.19


000035      DAVID ORTIZ JR                        5300-000              NA                 0.00             0.00              0.00


000087      DELVY I GARCIA                        5300-000           434.77            1,003.62       1,003.62             817.46


000042      DIANA MEJIA                           5300-000         1,185.21            1,438.53       1,438.53            1,171.68




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                                                     CODE
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000060        DIANE ESTRADA                         5300-000         1,825.89            1,884.20       1,884.20             1,534.68


000146A       DIXON SLINGERLAND                     5300-000             NA            13,650.00              0.00               0.00


000038        DREW WARMSLEY                         5300-000         3,024.32                0.00             0.00               0.00


000055        DYLAN J CAMPBELL                      5300-000           170.90              154.60        154.60               125.92


000052        EDWARD L KLEIN                        5300-000           213.75              242.25        242.25               197.31


000026        EMILSA GUTIERREZ                      5300-000         2,983.29            3,536.30       3,536.30             2,880.31


000135        GUSTAVO GUTIERREZ                     5300-000         2,260.80            2,311.03       2,311.03             1,882.34


000053        HAZIEL I ANGELES                      5300-000            72.45                0.00             0.00               0.00


000001        HEATHER FUKUNAGA                      5300-000         4,995.98            4,995.98       4,995.98             4,069.23


000034        HECTOR SERRATO                        5300-000         3,903.91            3,903.91       3,903.91             3,179.73


              HUGO CRISOSTOMO-
000125        ROMO                                  5300-000           213.75              213.75        213.75               174.10


              INTERNAL REVENUE
AUTO          SERVICE                               5300-000             NA                   NA       27,062.08            27,062.08


              IRMA LETICIA
000090        SEPULVEDA                             5300-000         1,734.86            2,584.68       2,584.68             2,105.22


000041        JASMINE TOVER                         5300-000         5,521.17            5,521.00       5,521.00             4,496.86


000091A       JESSICA HENDRICKS                     5300-000         2,891.54            3,282.57       3,282.57             2,673.65




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000128A     JOCELYN FLORES                        5300-000           425.00              425.00         425.00             346.16


000030      JOHN TERRE                            5300-000           186.27                0.00             0.00              0.00


000008      JOSE ESTRADA                          5300-000           310.00              310.00         310.00             252.49


000014      JULIE LE                              5300-000             NA              2,031.48       2,031.48            1,654.64


000072      KARINA MOSQUEDA                       5300-000         1,885.26            1,885.26       1,885.26            1,535.53


000075      KARLA ROBLES                          5300-000         1,868.00                0.00             0.00              0.00


000095      KARLA ROBLES                          5300-000             NA                  0.00             0.00              0.00


000031      KIMBERLY A MELGAR                     5300-000           216.09              201.60         201.60             164.21


            LABOR COMMISSIONER
000137A     OF THE STATE OF                       5300-000             NA           620,536.37      620,536.37         620,536.37


000100      LENA GEORGAS                          5300-000             NA              4,927.60       4,927.60            4,013.53


000111      LILIANA BARBA                         5300-000           288.40                0.00             0.00              0.00


000039      LUIS CARBAJO                          5300-000         8,325.00            8,581.11       8,581.11            6,989.31


000047      LUIS GOMEZ                            5300-000         3,162.76            3,240.16       3,240.16            2,639.11


000102      MARIA URQUILLA                        5300-000           210.51                0.00             0.00              0.00


            MARIA VALLEJO
000109      VAZQUEZ                               5300-000         1,151.24            1,151.24       1,151.24             937.69


000116      MARILU RAMOS                          5300-000           137.52              180.87         180.87             147.32




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000051A     MARIN HARPER                          5300-000         2,425.92                0.00             0.00              0.00


000046      MARISSA C JOHNSON                     5300-000         2,135.20              206.25        206.25              167.98


000036      MARVIN A RAMIREZ                      5300-000           284.78              303.68        303.68              247.35


000145      MARYAM MALEKI MS RD 5300-000                                NA             6,435.00       6,435.00            5,241.30


000029      MAYRA GUTIERREZ                       5300-000         3,361.52            3,361.08       3,361.08            2,737.59


000108      MELISSA MARTINEZ E                    5300-000         1,806.42            1,806.42       1,806.42            1,471.33


000037      MICHELLE B EMELLE                     5300-000         2,072.40                0.00             0.00              0.00


000124      MIGUEL A GARCIA                       5300-000           172.70              187.07        187.07              152.37


000110      NANCY CARDENAS                        5300-000           245.14              245.14        245.14              199.67


000020      NICHOLAS WU                           5300-000        10,106.25          10,106.27       10,106.27            8,231.55


000112      NOEMI RODRIGUEZ                       5300-000         4,238.21            4,238.55       4,238.55            3,452.29


000122      PAOLA HUERTA                          5300-000           192.38              220.87        220.87              179.90


000083A     PAOLA MEJIA                           5300-000           283.51              283.51        283.51              230.92


000092      PEDRO T. CHAVIRA                      5300-000         3,262.29            3,443.37       3,443.37            2,804.62


000150      RANDY QUEZADA                         5300-000           235.01              275.50        275.50              224.40


000119      RENEE OCHOA                           5300-000           129.72              129.69        129.69              105.63


000126      ROBERT BARBA                          5300-000           216.51              216.45        216.45              176.29




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                                                                    6E)             Claim)

000117        ROSA RAMIREZ                          5300-000         2,708.63            2,708.63       2,708.63            2,206.17


000064        ROXANA MAYORGA                        5300-000         1,266.51            1,266.51       1,266.51            1,031.58


000089        RUTH MONZON                           5300-000         1,870.00                0.00             0.00              0.00


000005        SOFIA GOODE                           5300-000         3,251.85            3,251.86       3,251.86            2,648.63


000033        SONIA MORENO                          5300-000         2,001.20            2,012.00       2,012.00            1,638.78


000149        STACY TAPIA                           5300-000           408.00            1,255.52       1,255.52            1,022.62


000003        STANLEY SAUNDERS                      5300-000        11,569.71                0.00             0.00              0.00


AUTO          STATE DISABILITY                      5300-000              NA                  NA        1,379.97            1,379.97


000097        VANESSA NUNEZ CRUZ                    5300-000         1,516.63            2,196.40       2,196.40            1,788.96


000164        VERONICA HERNANDEZ                    5300-000         2,551.45            2,551.14       2,551.14            2,077.91


000007        VERONICA Z. ANAYA                     5300-000         2,143.77            2,143.77       2,143.77            1,746.11


000032        WANDA WADE                            5300-000           248.40                0.00             0.00              0.00


              WENDY FABIOLA
000074        QUINONEZ                              5300-000              NA             2,000.00       2,000.00            1,629.00


000151        YADIRA QUEZADA                        5300-000           996.33              759.20        759.20              618.37


000056        YESENIA IBARRA                        5300-000         4,260.89            5,656.76       5,656.76            4,607.43


000071        ZULY REYES                            5300-000         1,538.40            1,540.00       1,540.00            1,254.33




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                                                                    6E)              Claim)

000161        KAISER PERMANENTE                     5400-000               NA          294,107.90       294,107.90        294,107.90


000067B       THINK TOGETHER                        5400-000               NA           13,650.00              0.00               0.00


              CALIFORNIA DEPT. OF
000159A       TAX & FEE ADMIN                       5800-000               NA           16,177.00         16,177.00          16,177.00


              EMPLOYMENT
              DEVELOPMENT
AUTO          DEPARTMENT                            5800-000               NA                  NA            859.22            859.22


              FEDERAL
              UNEMPLOYMENT
AUTO          INSURANCE                             5800-000               NA                  NA          1,306.88           1,306.88


000167A       FRANCHISE TAX BOARD                   5800-000               NA             2,516.23         2,516.23           2,516.23


              INTERNAL REVENUE
000158A       SERVICE                               5800-000               NA                 0.00             0.00               0.00


              INTERNAL REVENUE
AUTO          SERVICE                               5800-000               NA                  NA         11,729.45          11,729.45


AUTO          STATE DISABILITY                      5800-000               NA                  NA          4,222.97           4,222.97


000088A       YEHUDELLIE LLC                        5800-000               NA           59,146.02              0.00               0.00

TOTAL PRIORITY UNSECURED                                          $ 896,740.72     $ 1,219,670.08    $ 1,133,224.06    $ 1,104,782.01
CLAIMS



             EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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            911 Plumbing Services
            1621 N. WILCOX AVE.
            UNIT #243
            LOS ANGELES, CA 90028                                   380.00                 NA             NA            0.00


            A Purpose Transportation
            PO BOX 39A64
            LOS ANGELES, CA 90039                                36,327.10                 NA             NA            0.00


            ABCO Technology
            6733 S. SEPULVEDA BLVD
            STE. #106
            LOS ANGELES, CA 90045                                 2,893.00                 NA             NA            0.00


            ABM
            ONE LIBERTY PLAZA 7TH
            FL
            NEW YORK, NY 01006                                      269.00                 NA             NA            0.00


            Alas Media
            451 S. Brand Blvd Suite 201
            San Fernando, CA 91340                               17,060.00                 NA             NA            0.00


            Alfred Mena
            13015 WHEELER AVE
            SYLMAR, CA 91342                                        576.00                 NA             NA            0.00


            All Electrical Solutions Inc.
            8009 NORTON AVE
            WEST HOLLYWOOD, CA
            90046                                                   344.72                 NA             NA            0.00




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            Alliance For Children And
            Families
            11700 W Lake Park Drive
            Milwaukee, WI 53224                                     750.00                 NA             NA            0.00


            American GTS
            WORLD FINANCIAL
            CENTER
            NEW YORK, NY 10285                                   20,670.00                 NA             NA            0.00


            Apex Innovations Courses
            PO Box 8171
            Calabasas, CA 91302                                     325.00                 NA             NA            0.00


            Armanino LLP
            PO BOX 398285
            SAN FRANCISCO, CA
            94139-8285                                           22,797.77                 NA             NA            0.00


            Asucla Ucla Restaurants
            308 Westwood Plaza Kh234
            Los Angeles, CA 90095                                 5,895.00                 NA             NA            0.00


            Azteca Soccer
            11853 E Valley Blvd
            El Monte, CA 91732                                   13,221.36                 NA             NA            0.00


            BH Photo
            370A W 35th St
            New York, NY 10001                                      177.73                 NA             NA            0.00




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                                                   CODE
                                                                 6F)             Claim)

            Baudville Inc.
            5380 52ND ST SE
            GRAND RAPIDS, MI                                        246.58                 NA             NA            0.00


            Bay Alarm
            5130 Commercial Circle
            Concord, CA 94520                                       616.00                 NA             NA            0.00


            Benuck & Rainey Inc.
            25 CONCORD ROAD
            LEE, NH 03861                                        24,722.00                 NA             NA            0.00


            Bert Corona Charter School
            9400 Remick Avenue
            Pacoima, CA 91331                                     3,070.52                 NA             NA            0.00


            Best Buy
            7601 Penn Ave S
            RICHFIELD, MN 55423                                   3,818.52                 NA             NA            0.00


            Beverly Locksmith
            4023-1 W 3RD STREET
            LOS ANGELES, CA 90028                                 4,440.33                 NA             NA            0.00


            Buck Institute for Education
            3 HAMILTON LANDING
            SUITE 220
            NOVATO, CA 94949                                        155.34                 NA             NA            0.00




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            Cal State University
            Northridge University
            Cash Services
            8214 Nordhoff St
            Northridge, CA 91330                                  1,293.00                 NA             NA            0.00


            California Science Center
            700 Exposition Park Drive
            Los Angeles, CA 90037                                 2,558.40                 NA             NA            0.00


            California State University
            Long Beach
            1250 Bellflower Blvd
            LONG BEACH, CA                                        1,325.00                 NA             NA            0.00


            California State University
            Los Angeles
            5151 STATE UNIVERSITY
            DRIVE
            LOS ANGELES, CA 90032                                   750.00                 NA             NA            0.00


            Capstan Ventures, LLC
            4744 Telephone Rd STE 3-
            295
            Ventura, CA 93003                                     1,147.72                 NA             NA            0.00


            Center4FE
            12701 SCHABARUM
            AVENUE
            IRWINDALE, CA 91706                                  20,000.00                 NA             NA            0.00




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            CitiBank Mastercard
            388-390 GREENWICH ST
            NEW YORK, NY 10013                                    8,213.12                 NA             NA            0.00


            Clear Impact
            11300 ROCKVILLE PIKE
            SUITE 1001
            ROCKVILLE, MD 20852                                   5,250.00                 NA             NA            0.00


            Coe's Glass
            15532 CRENSHAW BLVD.
            GARDENA, CA 90249                                       278.64                 NA             NA            0.00


            Collegespring
            1333 BROADWAY SUITE
            250
            OAKLAND, CA 94612                                     3,000.00                 NA             NA            0.00


            Commline, Inc
            5563 Sepulveda Blvd Ste. D
            Culver City, CA 90230                                44,370.54                 NA             NA            0.00


            Computer Institute Of
            Technology
            6444 Bellingham Ave Suite
            202
            North Hollywood, CA 91606                             3,800.00                 NA             NA            0.00


            CopyFree
            601 S San Gabriel Blvd
            San Gabriel, CA 91776                                 6,598.23                 NA             NA            0.00




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            Cosco Fire Protection
            1075 W. LAMBERT RD.
            BLDG D
            BREA, CA 92821                                        2,480.00                 NA             NA            0.00


            Council of Development
            Finance Agencies
            100 E BROAD ST SUITE
            1200
            COMLUMBUS, OH 43215                                     195.00                 NA             NA            0.00


            Crown Awards
            9 SKYLINE DR
            HAWTHORNE, NY 10532                                   1,248.43                 NA             NA            0.00


            Department of Education Los
            Angeles
            400 Maryland Avenue, SW
            Washington, DC 20202                                724,072.00                 NA             NA            0.00


            DirectED Educational
            Services
            21820 BURBANK BLVD
            SUITE 310
            WOODLAND HILLS, CA
            91367                                                14,664.59                 NA             NA            0.00


            Discount School Supply
            P.O. Box 6013
            Carol Stream, IL 60197                                3,377.15                 NA             NA            0.00




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            Downey Adult School
            12340 WOODRUFF AVE
            DOWNEY, CA 90241                                      1,749.50                 NA             NA            0.00


            EL Community School CA                                1,772.32                 NA             NA            0.00


            Emma, Inc.
            123 MISSION ST 26TH
            SAN FRANCISCO, CA
            94105                                                 2,864.91                 NA             NA            0.00


            Employed Security Service
            Center Inc
            959 E Walnut St Suite 112
            Pasadena, CA 91106                                   76,840.00                 NA             NA            0.00


            Employment Development
            Department
            PO BOX 826880, MIC 92T
            SACRAMENTO, CA 94280-
            0001                                                 38,488.05                 NA             NA            0.00


            Eventbrite
            651 Brannan St Suite 110
            San Francisco, CA 94107                               5,295.85                 NA             NA            0.00


            Families in Schools
            1545 WILSHIRE BLVD.
            SUITE 700
            LOS ANGELES, CA 90017                                 3,190.00                 NA             NA            0.00




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            Fresh Start Meals Inc
            1530 1St St
            San Fernando, CA 91340                               92,137.86                 NA             NA            0.00


            GSF Truck & Bus Training
            16211 Filbert St
            Sylmar, CA 91342                                     17,070.50                 NA             NA            0.00


            Game Learning
            8306 WILSHIRE BLVD
            SUITE 545
            BEV HILLS, CA 90211                                     999.99                 NA             NA            0.00


            Genesis,
            The Schlesinger Academy for
            Inn
            9595 WILSHIRE BLVD.
            SUITE 700
            BEVERLY HILLS, CA 90212                               6,250.00                 NA             NA            0.00


            Girls On The Run Of Los
            Angeles
            556 S Fair Oaks Ave, 101307
            Pasadena, CA 91105                                    1,065.00                 NA             NA            0.00


            Goodwill of Southern
            California
            342 N. San Fernando Rd
            Los Angeles, CA 90031                                 1,105.97                 NA             NA            0.00




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            HireRight, LLC
            PO BOX 847891
            DALLAS, TX 75284-7891                                 1,869.20                 NA             NA            0.00


            Home Depot
            2455 Paces Ferry Rd. NW
            ATLANTA, GA 30339                                    16,099.08                 NA             NA            0.00


            Houghton Mifflin Hartcourt
            222 Berkeley Street
            Boston, MA 02116                                      1,056.00                 NA             NA            0.00


            House of Trophies & Awards
            Inc.
            1820 EAST 1ST ST
            Los Angeles, CA 90033                                   186.70                 NA             NA            0.00


            Impact Philanthropy
            821 3RD STREET
            Santa Monica, CA 90403                                  500.00                 NA             NA            0.00


            JFK Transportation Company
            Inc.
            980 W. 17TH STREET,
            SUITE B
            Santa Ana, CA 92706                                 360,281.85                 NA             NA            0.00


            Jaime Lee-Ramirez
            16901 GERMAIN ST
            GRANADA HILLS, CA
            91344                                                 1,764.00                 NA             NA            0.00




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            Knollwood                                                75.00                 NA             NA            0.00


            LAANE
            464 LUCAS AVE 202
            LOS ANGELES, CA 90017                                 2,660.00                 NA             NA            0.00


            La Plaza De Cultura Y Artes
            501 N Main St
            Los Angeles, CA 90012                                   621.73                 NA             NA            0.00


            Lakeshore
            2695 E. Dominguez St.
            Carson, CA 90895                                        194.98                 NA             NA            0.00


            LewisColor Lithographers
            30 JOSEPH E KENNEDY
            BLVD
            STATESBORO, GA 30458                                  1,590.18                 NA             NA            0.00


            Los Angeles Cleantech
            Incubator
            525 S. Hewitt Street
            Los Angeles, CA 90013                                   654.00                 NA             NA            0.00


            Los Angeles Education
            Partnership
            202 West 1St Street Ste
            060410
            Los Angeles, CA 90012                                 1,384.00                 NA             NA            0.00




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            Luna Impact, Inc.
            12449 LOUISE AVE UNIT 5
            Los Angeles, CA 90066                                 8,387.50                 NA             NA            0.00


            Marsh & McLennan
            Lockbox 740663
            Los Angeles, CA 90074                                   402.00                 NA             NA            0.00


            Miguel Contreras Learning
            Complex
            322 S. LUCAS AVE.
            LOS ANGELES, CA. 90017-
            0000                                                  1,820.00                 NA             NA            0.00


            Monvrovia Community Adult
            School
            920 SOUTH MOUNTAIN
            AVE
            Monrovia, CA 91016                                    9,744.00                 NA             NA            0.00


            Multi Business Systems
            P.O. Box 3039
            Bakersfield, CA 93385                                82,479.27                 NA             NA            0.00


            NIU College
            5959 TOPANGA CANYON
            BLVD SUITE #110
            WOODLAND HILLS, CA
            91367                                                53,450.00                 NA             NA            0.00


            NRFF                                                    175.00                 NA             NA            0.00




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            NTEN
            621 SW ALDER SUITE 310
            PORTLAND, OR 97205                                    1,498.00                 NA             NA            0.00


            National Council Of La Raza
            1126 16Th St, N.W. Suite 600
            Washington, DC 20036                                  3,631.81                 NA             NA            0.00


            National Dropout Prevention
            Center
            ANDERSON, SC 29621                                      495.00                 NA             NA            0.00


            National Fitness Productions
            217 S. KENWOOD ST.
            GLENDALE, CA 91205                                    2,950.00                 NA             NA            0.00


            National Retail Foundation
            12TH FLOOR 1101 NEW
            YORK AVE
            NW, DC 20005                                            450.00                 NA             NA            0.00


            Organizational Services, Inc
            3380 Travis Pointe
            Ann Arbor, MI 48108                                     275.00                 NA             NA            0.00


            PR-Tech Services, LLC
            PO Box 861241
            Los Angeles, CA 90086                                 5,000.00                 NA             NA            0.00




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            Pacoima Beautiful
            13520 Van Nuys Blvd, Suite
            209
            Pacoima, CA 91331                                     1,500.00                 NA             NA            0.00


            Parsa Tech Inc
            23454 BLYTHE ST
            West Hills, CA 91304                                    135.00                 NA             NA            0.00


            Pasadena Center Operating
            Company
            300 E. Green Street
            Pasadena, CA 91101                                      607.50                 NA             NA            0.00


            Pearson Vue
            62160 Collections Center Dr
            Chicago, IL 60693                                       325.00                 NA             NA            0.00


            Peerspace
            743 CLEMENTINA ST
            SAN FRANCISCO, CA
            94103                                                    47.25                 NA             NA            0.00


            Permaguard Security Systems,
            Inc
            P.O. Box 55065
            Valencia, CA 91385                                    1,023.00                 NA             NA            0.00


            PrePaid USA
            www.prepaid-usa.com                                   7,500.00                 NA             NA            0.00




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            Princeton Review
            62996 COLLECTION
            CENTER DRIVE
            CHICAGO, IL 60693-0629                                9,500.00                 NA             NA            0.00


            Rebublic Services
            PO Box 78829
            Phoenix, AZ 85062                                       526.17                 NA             NA            0.00


            Rose Marie Jiles
            423 EAST 118TH PLACE
            LOS ANGELES, CA 90061                                 4,500.00                 NA             NA            0.00


            Roth Staffing Companies, L.P
            PO Box 60003
            Anaheim, CA 92812                                    67,509.35                 NA             NA            0.00


            SAP Concur
            601 108TH AVENUE NE,
            SUITE 1000
            BELLEVUE, WA 98004                                    2,497.50                 NA             NA            0.00


            SLB Printing Inc
            2818 S ROBERTSON BLVD
            Los Angeles, CA 90034                                 2,054.77                 NA             NA            0.00


            STS Education
            130-A W. COCHRAN ST
            SIMI VALLEY, CA 93065                                16,207.68                 NA             NA            0.00




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            Sabio Enterprises, Inc
            400 Corporate Pointe, Suite
            300
            Culver City, CA 90230                               209,383.00                 NA             NA            0.00


            Salesforce
            50 FREMONT ST. STE. #300
            SAN FRANCISCO, CA
            94105                                                   534.72                 NA             NA            0.00


            Schultz, Steven                                      11,947.60                 NA             NA            0.00


            Spectrum
            9260 Topanga Cyn
            Chatsworth, CA 91311                                 50,218.33                 NA             NA            0.00


            St. John's Well Child &
            Family Center In
            808 W. 58TH ST
            Los Angeles, CA 90037                                 5,250.00                 NA             NA            0.00


            Staples Technology
            P.O. BOX 95230
            Chicago, IL 60694                                    78,962.48                 NA             NA            0.00


            Sylmar Lock & Key
            3754 FOOTHILL BLVD
            UNIT 2
            SYLMAR, CA 91342                                        697.95                 NA             NA            0.00




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            TGA Truck Driving School -
            Reich Ind
            1115 S TAYLOR AVE
            MONTEBELLO, CA 90640                                  4,900.00                 NA             NA            0.00


            Taqueria Vista Hermosa
            3655 S. Grand Ave. C5
            Los Angeles, CA 90007                                14,000.00                 NA             NA            0.00


            Ted Gibson Picture Frames
            Inc
            4271 W 3RD ST
            LOS ANGELES, CA 90020                                   342.31                 NA             NA            0.00


            Terminix Terminix Processing
            Center
            PO Box 742592
            Cincinnati, OH 45274                                     80.00                 NA             NA            0.00


            The Gatemaster JP, Inc
            8508 KEWEN AVE
            SUN VALLEY, CA 91352                                  1,695.00                 NA             NA            0.00


            Tree House
            3514 N VANCOUVER AVE.
            SUITE 500
            PORTLAND, OR 97227                                   26,250.00                 NA             NA            0.00




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            UCLA DEPARTMENT K -
            UCLA EXTENSION
            P.O. BOX 24901
            LOS ANGELES, CA 90024-
            0901                                                     227.66                 NA              NA                 0.00


            Ultimate Software (Payroll
            Services)
            PO Box 930953
            Atlanta, GA 91193                                    255,992.00                 NA              NA                 0.00


            Urban House LLC
            1001 STARBUCK ST #L102
            FULLERTON, CA 92833                                    1,000.00                 NA              NA                 0.00


            YMCA ATTN: AUDRIE
            ECHNOZ
            1553 N. SCHRADER BLVD
            LOS ANGELES, CA 90028                                    800.00                 NA              NA                 0.00


000078      826LA                                 7100-000              NA           41,281.00       41,281.00             4,543.27


000140      A.M., A MINOR                         7100-000              NA                 0.00             0.00               0.00


000094      AAA INSTITUTE                         7100-000              NA             1,900.00       1,900.00              209.11


            AMERICAN EXPRESS
000069      NATIONAL BANK                         7100-000       358,108.08         403,862.76      403,862.76            44,447.95


000082B     AURELIA ORTIZ                         7100-000              NA             3,465.38       3,465.38              381.39


000076B     BELINDA KWAN                          7100-000              NA             3,371.44       3,371.44              371.05




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000098      BLANCA RIOS                           7100-000               NA                 0.00             0.00               0.00


000155      BRIGHT STAR SCHOOLS                   7100-000       482,150.00          482,189.00      482,189.00            53,068.31


000104      C3 BUSINESS SOLUTIONS                 7100-000       158,509.92           46,161.25        46,161.25            5,080.37


            CALIFORNIA
            COMMUNITY
000163      FOUNDATION                            7100-000          4,900.00         400,000.00      400,000.00            44,022.83


            CALIFORNIA
            DEPARTMENT OF
000156      EDUCATION                             7100-000      2,285,486.00       8,840,512.00     8,840,512.00        972,960.87


            CALIFORNIA DEPT. OF
000159B     TAX & FEE                             7100-000               NA               808.86          808.86               89.02


            CALIFORNIA EMERGING
000079      TECHNOLOGY FUND                       7100-000               NA           50,000.00        50,000.00            5,502.85


            CALIFORNIA INSTITUTE
000147      OF TECHNOLOGY,                        7100-000               NA          299,968.00      299,968.00            33,013.60


            CAREER DEVELOPMENT
000086      SOLUTIONS LLC                         7100-000         19,091.17          46,859.00        46,859.00            5,157.16


000061      CHILDCARE CAREERS                     7100-000         37,778.95          39,028.52        39,028.52            4,295.36


            CINTAS CORPORATION
000131      DBA CINTAS LOCAT                      7100-000               NA             4,170.38        4,170.38             458.98




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            CITY OF PHILADELPHIA
000099      LAW TAX & REVE                        7100-000              NA           53,898.44       53,898.44             5,931.90


000017      CITY YEAR                             7100-000              NA          230,000.00      230,000.00            25,313.13


000022      CITY YEAR                             7100-000           370.00                0.00             0.00               0.00


000050      CLOUD FOR GOOD LLC                    7100-000         2,650.00            2,730.00       2,730.00              300.46


000058      DELL MARKETING, L.P.                  7100-000        15,229.00          15,229.03       15,229.03             1,676.06


            DEPARTMENT OF LABOR,
000162      EMPLOYEE                              7100-000        25,650.00          49,050.00       49,050.00             5,398.30


000015      DIRECT ED                             7100-000              NA          122,857.14      122,857.14            13,521.30


            DISCOVERY SCIENCE
000065      CENTER OF ORANGE                      7100-000           573.00          16,750.00       16,750.00             1,843.46


            DOLPHIN TRUCKING
000138      SCHOOL                                7100-000           800.40              800.40         800.40                88.09


000024      DSH                                   7100-000        24,833.00          58,759.11       58,759.11             6,466.86


            EDNET CAREER
000133      INSTITUTE, INC.                       7100-000        41,950.00          75,200.00       75,200.00             8,276.29


            EVALUATION
000081      SPECIALISTS                           7100-000        48,968.00          48,968.00       48,968.00             5,389.27


000049      FIFTH ROAD INC                        7100-000         1,357.50            1,357.50       1,357.50              149.40




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                                                                  6F)             Claim)

000167B     FRANCHISE TAX BOARD                   7100-000              NA               411.84         411.84                45.33


000027      GOPHER SPORT                          7100-000        10,166.31          10,166.31       10,166.31             1,118.87


            GRANADA HILLS HIGH
000063      SCHOOL                                7100-000        83,488.52         169,198.61      169,198.61            18,621.50


            HACIENDA LA PUENTE
000148      ADULT EDUCATION/                      7100-000              NA             8,925.00       8,925.00              982.26


000141      I.A., A MINOR                         7100-000              NA                 0.00             0.00               0.00


            IMPAQ INTERNATIONAL,
000021      LLC                                   7100-000        36,022.74          36,022.74       36,022.74             3,964.56


            INTERNATIONAL
000044      INSTITUTE OF LOS ANGE                 7100-000        10,301.82          54,675.58       54,675.58             6,017.43


            JENNIFER OROZCO
000139      ESQUIVAS                              7100-000              NA                 0.00             0.00               0.00


            JENNIFER OROZCO
000006      ESQUIVIAS                             7100-000              NA                 0.00             0.00               0.00


000091B     JESSICA HENDRICKS                     7100-000              NA             3,259.20       3,259.20              358.70


000128B     JOCELYN FLORES                        7100-000              NA             7,914.00       7,914.00              870.99


            KOUNKUEY DESIGN
000144      INITIATIVE, INC.                      7100-000              NA             3,253.83       3,253.83              358.11


000057      KRAVITZ INC                           7100-000              NA             3,873.75       3,873.75              426.33




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                                                                  6F)             Claim)

            LABOR COMMISSIONER
000137B     OF THE STATE OF                       7100-000              NA        1,076,852.40     1,076,852.40        118,515.22


000115      LEAP                                  7100-000              NA           23,841.54        23,841.54            2,623.93


            LOS ANGELES UNIFIED
000142A     SCHOOL DISTRICT                       7100-000         8,975.00         294,100.47      294,100.47            32,367.84


            LOS ANGELES VALLEY
000152      COLLEGE -                             7100-000              NA             1,615.00        1,615.00             177.74


000165      MARISSA C JOHNSON                     7100-000              NA                 0.00             0.00               0.00


            MDB INTERNATIONAL
000101A     BRANDING LLC                          7100-000              NA          731,764.09      662,662.36            72,930.68


            MEDG INTERNATIONAL,
000025      INC                                   7100-000              NA           18,000.00        18,000.00            1,981.03


000073      MIMI DIEP                             7100-000              NA           21,840.00        21,840.00            2,403.65


            MISSION ECONOMIC
000066      DEVELOPMENT AGENCY                    7100-000              NA             7,017.00        7,017.00             772.27


            MITCHELL SILBERBERG
000023      & KNUPP                               7100-000              NA             3,590.50        3,590.50             395.16


            MULTICULTURAL
000093      LEARNING CENTER                       7100-000       106,044.00         167,704.00      167,704.00            18,457.01


            NATIONAL CAREER
000018      COLLEGE, INC.                         7100-000              NA           29,595.00        29,595.00            3,257.13




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                           CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)             Claim)

            NATIONAL CAREER
000153      COLLEGE, INC.                         7100-000              NA           29,595.00        29,595.00           3,257.14


            NEWPORT
            INTERNATIONAL UNITED
000016      COLLEG                                7100-000              NA           86,333.00        86,333.00           9,501.56


            NONPROFIT FINANCE
000130B     FUND                                  7100-000              NA        3,523,066.63     3,523,066.63        387,738.40


000019      OLIVAREND INC.                        7100-000              NA           27,583.70        27,583.70           3,035.78


000134      ORACLE AMERICA, INC                   7100-000        78,050.61          73,321.60        73,321.60           8,069.56


            ORENDA EDUCATION
000136      (PRINCIPALS EXCHAN                    7100-000        53,100.00          88,100.00        88,100.00           9,696.03


000083B     PAOLA MEJIA                           7100-000              NA             1,313.25        1,313.25            144.54


            PIONEER FIRE
000132      PROFESSIONALS, INC.                   7100-000              NA               180.86          180.86             19.90


000080      PUBLIC COUNSEL                        7100-000        27,000.00          42,400.25        42,400.25           4,666.45


000103      ROCIO R RODRIGUEZ                     7100-000              NA                 0.00             0.00              0.00


000105      ROCIO R RODRIGUEZ                     7100-000              NA                 0.00             0.00              0.00


000043      S&S WORLDWIDE                         7100-000           547.40            2,510.03        2,510.03            276.25


000114      SARA ISRAEL                           7100-000         6,146.10            6,146.10        6,146.10            676.42




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                                                               CLAIMS            CLAIMS
                                                  UNIFORM
                                                             SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                         CLAIMS PAID
                                                              (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)             Claim)

            STAPLES BUSINESS
000010      ADVANTAGE                             7100-000       156,438.76         176,352.10      176,352.10          19,408.80


000040      STEM & MORE LLC                       7100-000        94,919.00          39,800.00       39,800.00           4,380.27


            TEACHERS ON RESERVE
000143      LLC                                   7100-000        23,523.20          25,002.37       25,002.37           2,751.69


            THE REGENTS OF THE
000157      UNIVERSITY OF CA                      7100-000            10.00         167,980.88      167,980.88          18,487.48


000067A     THINK TOGETHER                        7100-000              NA          402,575.34      402,575.34          44,306.26


            TOTAL CORPORATE
000048      SOLUTIONS                             7100-000              NA               188.15         188.15              20.71


            UNIFORMS AND SAFETY
000059      SUPPLIES                              7100-000         1,576.80            1,163.01       1,163.01            128.00


            UNIVERSITY OF LA
000013      VERNE                                 7100-000              NA           10,796.00       10,796.00           1,188.17


            UNIVERSITY OF
000068      SOUTHERN CALIFORNIA                   7100-000              NA           41,000.00       41,000.00           4,512.34


            WELLS FARGO BANK,
000070      N.A.                                  7100-000              NA             2,052.68       2,052.68            225.91


            WELLS FARGO VENDOR
000106      FINANCIAL SERVIC                      7100-000              NA          113,779.24      113,779.24          12,522.21


000088B     YEHUDELLIE LLC                        7100-000              NA           15,000.00       15,000.00           1,650.86




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                                                               CLAIMS             CLAIMS
                                                  UNIFORM
                                                             SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                     TRAN.                                                             CLAIMS PAID
                                                              (from Form       (from Proofs of     ALLOWED
                                                   CODE
                                                                  6F)              Claim)

000129      FRESH START MEALS INC 7100-001                               NA           33,423.18          33,423.18          3,678.46


            MAXIMUS PROTECTIVE
000062      SERVICES                              7100-001         36,377.63          41,677.38          41,677.38          4,586.89


000012      OFFICE DEPOT                          7100-001               NA             1,638.94          1,638.94           180.38


            TRANSPERFECT
            DOCUMENT
000127      MANAGEMENT, I                         7100-001               NA             3,265.00          3,265.00           359.34


            TRANSPERFECT LEGAL
000154      SOLUTIONS                             7200-000               NA             3,265.00          3,265.00              0.00


            CALIFORNIA DEPT. OF
000159C     TAX & FEE                             7300-000               NA             3,235.40          3,235.40              0.00


            INTERNAL REVENUE
000158B     SERVICE                               7300-000               NA           62,569.23          62,569.23              0.00

TOTAL GENERAL UNSECURED                                       $ 6,829,209.22   $ 19,038,112.39     $ 18,969,010.66    $ 2,080,072.18
CLAIMS




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                                                                                         ASSET CASES                                                                                             Exhibit 8
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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                          Date Filed (f) or Converted (c):   11/05/19 (f)
                                                                                                                          341(a) Meeting Date:               12/11/19
For Period Ending: 03/31/25                                                                                               Claims Bar Date:                   03/17/20



                                     1                                    2                          3                         4                         5                                 6
                                                                                            Estimated Net Value
                                                                      Petition/        (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled          Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values                and Other Costs)          OA=554(a) Abandon             the Estate

 1. FINANCIAL ACCOUNT - WELLS FARGO (SAVINGS)                                   0.78                           0.78                                                0.78                 FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 4008.


 2. FINANCIAL ACCOUNT - WELLS FARGO (CHECKING)                                 47.43                         47.43                                                47.43                 FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 4905.


 3. FINANCIAL ACCOUNT - WELLS FARGO (PAYROLL CHECKING)                    2,466.17                        4,545.49                                           4,545.49                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 7145.


 4. FINANCIAL ACCOUNT - CITIBANK (CPWM CHECKING)                          1,265.00                        6,704.53                                           6,704.53                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. IDENTIFIED AS CPWM (CITI PERSONAL WEALTH
     MANAGEMENT) INCLUDES ACCOUNT NUMBERS 1997 AND
     3322


 5. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                               2,943.22                        1,251.29                                           1,251.29                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING IN 5858.


 6. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                   401.10                        401.10                                             401.10                   FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 5922.


 7. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                                     9.82                           9.82                                                9.82                 FA



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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 7439.


 8. FINANCIAL ACCOUNT - CITIBANK (CHECKING)                              38,070.82                     23,725.00                                           23,725.00                  FA
     TRUSTEE REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING 6410.


 9. FINANCIAL ACCOUNT - PAYPAL (CHECKING)                                25,470.60                     25,528.68                                           25,528.68                  FA
     TRUSTEE REQUESTED TURNOVER OF ACCOUNT FUNDS.
     ACCOUNT NUMBER ENDING FJ72.


 10. PARAMOUNT - HQ OFFICE DEPOSIT (6464 SUNSET)                        348,205.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER
     EXECUTIVE/ADMINISTRATIVE OFFICES LOCATED ON SUNSET
     BOULEVARD. DEBTOR VACATED PREMISES BEFORE END OF
     LEASE AND LANDLORD ENTITLED TO ASSERT SECURITY
     DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 11. MBD INT. (2707-11 BEVERLY BLVD.)                                   258,744.53                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED ON
     BEVERLY BOULEVARD. DEBTOR VACATED PREMISES
     BEFORE END OF LEASE AND LANDLORD ENTITLED TO
     ASSERT SECURITY DEPOSIT AGAINST UNPAID LEASE
     OBLIGATIONS.


 12. GENESIS LA CDE LLC DEPOSIT (13460 VAN NUYS)                         22,600.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED ON VAN




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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     NUYS BOULEVARD. DEBTOR VACATED PREMISES BEFORE
     END OF LEASE AND LANDLORD ENTITLED TO ASSERT
     SECURITY DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 13. SECURITY DEPOSIT - SAN FERNANDO FIRST STREET LLC                     2,800.00                           0.00                                               0.00                  FA
     SECURITY DEPOIST ON FORMER FACILITY LOCATED IN SAN
     FERNANDO. DEBTOR VACATED PREMISES BEFORE END OF
     LEASE AND LANDLORD ENTITLED TO ASSERT SECURITY
     DEPOSIT AGAINST UNPAID LEASE OBLIGATIONS.


 14. PREPAYMENT - KRAVITZ, INC 401K ADMINISTRATION COST                  18,275.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS TO THIRD PARTY ADMINISTRATOR
     FOR SERVICES IN CONNECTION WITH TERMINATION OF
     401(K) PLAN FOR 2020 AND 2021. TRUSTEE CONFIRMED
     SERVICES ARE BEING PROVIDED AND HAS BEEN IN TOUCH
     WITH COMPANY. ORDER APPROVING STIPULATION
     BETWEEN CHAPTER 7 TRUSTEE AND KRAVITZ, INC
     REGARDING WIND-DOWN AND DISSOLUTION OF DEBTOR'S
     401(K) PLAN ENTERED DECEMBER 23, 2019. NO MONETARY
     VALUE TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.


 15. PREPAYMENT - PENSION ASSURANCE, LLP 401K AUDIT FEE                  17,100.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS FOR ANNUAL AUDIT OF 401(K).
     SERVICES ARE BEING PROVIDED AND COORDINATED BY
     KRAVITZ, INC. [ASSET NUMBER 13]. NO MONETARY VALUE
     TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.



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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


 16. PREPAYMENT - T. ROWE PRICE 401K ADMIN. COSTS                        10,263.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS FOR 401(K) ADMINISTRATION FEES.
     SERVICES ARE BEING PROVIDED AND COORDINATED BY
     KRAVITZ, INC. [ASSET NUMBER 13]. NO MONETARY VALUE
     TO ESTATE BEYOND SERVICES PROVIDED OR TO BE
     PROVIDED.


 17. PREPAYMENT - BARBARA SCHWARTZ 401K ADMIN. COSTS                      1,000.00                           0.00                                               0.00                  FA
     DEBTOR PREPAID FUNDS TO RETIREMENT PLAN
     CONSULTANTS. SERVICES ARE BEING PROVIDED AND
     COORDINATED BY KRAVITZ, INC. [ASSET NUMBER 13]. NO
     MONETARY VALUE TO ESTATE BEYOND SERVICES
     PROVIDED OR TO BE PROVIDED.


 18. PREPAYMENT - VISION SERVICES (1 MONTH PLAN)                          6,147.78                           0.00                                               0.00                  FA
     THE DEBTOR HAS APPROXIMATELY OVER 1,1100 EMPLOYEES
     JUST PRIOR TO THE BANKRUPTCY FILING. PAYROLL WAS
     ONE WEEK IN ARREARS. LAST PAYROLL WAS 969
     EMPLOYESS AND 466 ACCEPTED EMPLOYMENT WITH THINK
     TOGETHER LEAVING APPROXIMATELY 500 EMPLOYEES
     UNPAID. THIS PAYMENT REPRESENTS A FINAL PAYMENT
     FOR VISION SERVICES. NO MONETARY VALUE TO THE
     BANKRUPTCY ESTATE BEYOND BENEFIT TO FORMER
     EMPLOYEES.


 19. PREPAYMENT - KAISER PERMANENTE (1 MONTH INSURANCE)                 134,496.40                           0.00                                               0.00                  FA




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                                                                                           Estimated Net Value
                                                                      Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate

     THE DEBTOR HAS APPROXIMATELY OVER 1,1100 EMPLOYEES
     JUST PRIOR TO THE BANKRUPTCY FILING. PAYROLL WAS
     ONE WEEK IN ARREARS. LAST PAYROLL WAS 969
     EMPLOYESS AND 466 ACCEPTED EMPLOYMENT WITH THINK
     TOGETHER LEAVING APPROXIMATELY 500 EMPLOYEES
     UNPAID. THIS PAYMENT REPRESENTS A FINAL PAYMENT
     FOR HEALTH INSURANCE. NO MONETARY VALUE TO THE
     BANKRUPTCY ESTATE BEYOND BENEFIT TO FORMER
     EMPLOYEES.


 20. ACCOUNTS RECEIVABLE - 90 DAYS OR LESS                             1,552,584.25                     500,000.00                                          513,361.21                  FA
     THESE ARE NOT TRADITIONAL TRADE ACCOUNTS
     RECEIVABLE BUT RATHER AMOUNTS DEBTOR CLAIMS ARE
     DUE IN CONNECTION WITH UNPAID GRANTS RECEIVED
     PRIMARILIY FROM GOVERNMENTAL AGENCIES. THE
     GRANTS ARE SUBJECT TO AUDIT REQUIREMENTS AND
     VERIFICATION THE FUNDS WERE USED FOR THE PERMITTED
     PROGRAMS. MOST OF THE GRANTS ARE A HYBRID OF
     REIMBURSEMENT FOR PAST PROGRAMS PROVIDED AND FOR
     FUTURE PROGRAMS. TRUSTEE HAS A SPREADSHEET
     SETTING FORTH ALL OF THE FUNDS AND IS COOPERATING
     WITH THE AGENCIES TO PROVIDE THE REQUIRED
     INFORMATION. IT APPEARS THAT A MAJOIRTY OF THE
     FUNDS DUE ARE SUBJECT TO SET OFF. FOR EXAMPLE, THE
     LOS ANGELES UNIFIED SCHOOL DISTRICT HAS ALREADY
     INFORMED THE TRUSTEE THAT SET OFFS EXCEED THE
     AMOUNT OWED.

     TO FACILITATE COLLECTION, TRUSTEE ENTERED INTO AN



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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                      Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                        Estimated Net Value
                                                                      Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values            and Other Costs)          OA=554(a) Abandon             the Estate

     INDEPDENT CONTRACTOR AGREEMENT WITH DAVID
     OSHIRO, DEBTOR'S FORMER CONTROLLER, TO SERVE AS A
     PARAPROFESIONAL TO ASSIST WITH COLLECTING. THE
     ORDER APPOVING EMPLOYMENT WAS ENTERED JANUARY
     16, 2020.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE'S ESTIMATED VALUE IS BASED ON PRESENLY
     KNOWN INFORMATION FOLLOWING INITIAL INTERACTION
     WITH THE AGENCIES PROVIDING GRANTS.

     COLLECTED RECEIVABLES:

     ALTA PUBLIC SCHOOLS. PER ACCOUNTS RECEIVABLE AGING
     BALANCE IS $17,892. RECEIVED $20,000.




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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                      Date Filed (f) or Converted (c):   11/05/19 (f)
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                                     1                                    2                      3                         4                         5                                 6
                                                                                        Estimated Net Value
                                                                      Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     HOUSING COMMUNITY INVESTMENT DEPARTMENT (HCID)
     PRE-PETITION RECEIVABLE PER DEBTOR IS $695,516.14.
     AFTER INVESTIGATION AND EXCHANGE OF INFORMATION
     REGARDING PRE-PETITION PAYMENTS, TOTAL AMOUNT
     OUTSTANDING IS $471,825.58 LESS $11,746.98 OF DISALLOWED
     COSTS FOR BALANCE OF $470,078.60. ORDER APPROVING
     COMPROMISE ENTERED FEBRUARY 12, 2021.

     THE OTHER SIGNIFICANT PORTION OF THE OUTSTANDING
     GRANT PAYMENTS IS THE CITY OF LOS ANGELES ECONOMIC
     AND WORKFORCE DEVELOPMENT (EWDD) PROJECT WITH A
     BALANCE OF APPROXIMATELY $650,000. THE EWDD WAS
     AUDITING THE DEBTOR'S RECORDS PRIOR TO BANKRUPTCY
     AND HAS ASSERTED THE DEBTOR OWES APPROXIMATELY
     $1M IN CONNECTION WITH IMPROPER EXPENDITURES OF
     GRANTS. THE TRUSTEE WITH THE ASSISTANCE OF COUNSEL
     HAS PROVIDED SUPPLEMENTAL INFORMATION TO THE
     EWDD AND WHILE THEIR AUDIT HAS NOT BEEN COMPLETED
     AS OF FEBRUARY THEY WERE STILL ASSERTING A
     SUBSTANTIAL OFFSET.

     THE CITY OF LOS ANGELES MAYOR'S OFFICE OF ECONOMIC
     OPPRTUNITY HAS A BALANCE OF $29,000 WHICH THE
     TRUSTEE HAS BEEN TRYING TO COLLECT AND BELIEVES
     THE AMOUNT WILL BE COLLECTED.

     THE TRUSTEE DOES NOT BELIEVE ANY FURTHER AMOUNTS
     WILL BE COLLECTED.




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 21. ACCOUNTS RECEIVABLE - OVER 90 DAYS OLD                            1,074,425.96                     75,000.00                                           77,221.90                  FA
     THESE ARE NOT TRADITIONAL TRADE ACCOUNTS
     RECEIVABLE BUT RATHER AMOUNTS DEBTOR CLAIMS ARE
     DUE IN CONNECTION WITH UNPAID GRANTS RECEIVED
     PRIMARILIY FROM GOVERNMENTAL AGENCIES. THE
     GRANTS ARE SUBJECT TO AUDIT REQUIREMENTS AND
     VERIFICATION THE FUNDS WERE USED FOR THE PERMITTED
     PROGRAMS. MOST OF THE GRANTS ARE A HYBRID OF
     REIMBURSEMENT FOR PAST PROGRAMS PROVIDED AND FOR
     FUTURE PROGRAMS. TRUSTEE HAS A SPREADSHEET
     SETTING FORTH ALL OF THE FUNDS AND IS COOPERATING
     WITH THE AGENCIES TO PROVIDE THE REQUIRED
     INFORMATION. IT APPEARS THAT A MAJOIRTY OF THE
     FUNDS DUE ARE SUBJECT TO SET OFF. FOR EXAMPLE, THE
     LOS ANGELES UNIFIED SCHOOL DISTRICT HAS ALREADY
     INFORMED THE TRUSTEE THAT SET OFFS EXCEED THE
     AMOUNT OWED.

     TO FACILITATE COLLECTION, TRUSTEE ENTERED INTO AN
     INDEPDENT CONTRACTOR AGREEMENT WITH DAVID
     OSHIRO, DEBTOR'S FORMER CONTROLLER, TO SERVE AS A
     PARAPROFESIONAL TO ASSIST WITH COLLECTING. THE
     ORDER APPOVING EMPLOYMENT WAS ENTERED JANUARY
     16, 2020.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE



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     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE'S ESTIMATED VALUE IS BASED ON PRESENTLY
     KNOWN INFORMATION FOLLOWING INITIAL INTERACTION
     WITH THE AGENCIES PROVIDING GRANTS.

     THE LARGEST PORTION IS APPROXIMATELY $761,000 OWED
     BY DEPARTMENT OF EDUCATION/PROMISE NEIGHBORHOOD
     WHICH THE TRUSTEE BELIVES WAS PAID PRE-PETITION.
     TRUSTEE'S COUNSEL IS SEEKING TO OBTAIN FINAL
     VERIFICATION.

     ANOTHER SIGNIFICANT PORTION CONCERNS THE LOS
     ANGELES UNIFIED SCHOOL DISTRICT PROGRAMS AND THE
     ACCOUNTING PROVIDED DOES NOT SHOW A CURRENT
     AMOUNT DUE.

     THE ONLY PORTION THAT APPEARS COLLECTALBE IS
     APPROXIMATELY $29,000 FROM THE MAYOR'S OFFICE OF




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     ECONOMIC OPPORTRUINTY. COLLECTED APRIL, MAY AND
     AUGUST 2019 AMOUNTS DUE IN THE AMOUNT OF $26,986.81
     IN CONNECTION WITH THE PROPOSITION 47 PROGRAMS.
     COLLECTED $29,819.70 FROM THE CITY OF LOS ANGELES
     FOR THE GANG REDUCTION YOUTH DEVELOPMENT (GRYD)
     PROGRAMS FOR FEBRUARY 2019 AND MARCH 2019 IN THE
     AMOUNT OF $29,819.70.


 22. VARIOUS OFFICE FURNITURE                                             2,000.00                           0.00           OA                                  0.00                  FA
     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A



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                                                                                          Estimated Net Value
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     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 23. OFFICE FIXTURES - SITE IMPROVEMENTS                                      0.00                           0.00           OA                                  0.00                  FA
     NET BOOK VALUE LISTED AS $485,505.22.

     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL



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     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 24. OFFICE EQUIPMENT                                                    15,000.00                           0.00           OA                                  0.00                  FA
     EQUPMENT INCLUDES COMPUTERS, PHONES, PRINTERS AND
     NETWORKING HARDWARE.

     TRUSTEE INSPECTED THE PERSONAL PROPERTY AND HAD
     SCOTT VAN HORN OF OF VAN HORN AUCTIONS APPRAISAL
     GROUP, LLC PROVIDE AN OPINION OF VALUE. THE TOTAL
     VALUE WAS $40,000 - $45,000 INCLUDING THE 2014 FORD 350
     VAN [ASSET NUMBER 25] VALUED AT $6.000. ESTIMATED
     SALE COSTS ARE $9,500.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
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     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE



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     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE.

     THE TRUSTEE DETERMINED THE PERSONAL PROPERTY IS OF
     INCONSEQUENTIAL VALUE TO THE BANKRUPTCY ESTATE.
     ORDER APPROVING TRUSTEE'S MOTION TO ABANDON
     PERSONAL PROPERTY ENTERED MARCH 13, 2020.


 25. VEHICLE - FORD TRANSIT VAN (2016)                                   15,000.00                           0.00           OA                                  0.00                  FA
     TRUSTEE INSPECTED THE VAN AND HAD SCOTT VAN HORN
     OF OF VAN HORN AUCTIONS APPRAISAL GROUP, LLC
     PROVIDE AN OPINION OF VALUE. THE TOTAL VALUE WAS
     $9,000 - $10,000. THE VAN IS SUBJECT TO A LIEN IN THE
     AMOUNT OF $13,622. THEREFORE, THERE IS NO EQUITY
     WHICH CAN BE REALIZED FOR THE BENEFIT OF CREDITORS.
     TRUSTEE INTENDS TO FILE A NOTICE OF ABANDONMENT
     AND WILL UPDATE THE STATUS.

     TRUSTEE OBTAINED INSURANCE THROUGH GREAT
     AMERICAN INSURANCE GROUP, POLICY NUNBER 1134134,
     VALID UNTIL CANCELLED.

     NOTICE OF ABANDONMENT FILED APRIL 6, 2020. THERE WAS
     NO RESPONSE OR OBJECTION.


 26. BUILDING IMPROVMENTS FOR LEASED SPACE                                    0.00                           0.00                                               0.00                  FA




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     NET BOOK VALUE LISTED AS $30,628.

     THIS CONSISTS OF IMPROVEMENTS TO LEASED SPACE
     WHICH IS PART OF THE REAL PROPERTY AND CANNOT BE
     LIQUIDATED FOR CREDITORS.


 27. INTERNET DOMAIN NAMES AND WEBSITES                                       0.00                           0.00                                                0.00                  FA
     DEBTOR DISCLOSED TWO INTERNET DOMAIN NAMES:
     YPI.ORG AND YPIUSA.ORG. TRUSTEE EVALUATED THE
     DOMAINS THRU THE GODADDY WEBSITE AND THE VALUES
     WERE $4,886 AND $338 RESPECTIVELY. THE TRUSTEE'S
     EXPERIENCE IS DOMAINS WHICH ARE NOT ASSOCIATED
     WITH OPTIMZED WEBSITES SELL FOR SIGNIFICANTLY LESS.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE.


 28. FUTA OVERPAYMENT - 2017                                            226,695.00                     241,000.00                                          211,426.97                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE




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     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
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     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF $226,295.
     AN AMENDED RETURN WAS FILED REDUCING THE DEBTOR'S
     TAXES FOR THIS PERIOD TO $0.00. ACCORDING TO THE TAX
     TRANSCRIPT, THIS AMENDED RETURN WAS POSTED ON
     AUGUST 27, 2020. A REFUND WAS RECEIVED IN THE




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                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     AMOUNT OF $130,820.76 [$121,980.27 TAX PLUS $15,840.49
     INTEREST]. THE ADDITIONAL CREDIT WAS REDUCED AS
     CREDITS TO OTHER 940 PERIODS (2016 AND 2019). BECAUSE
     THERE ARE NO TAXES DUE FOR THOSE YEARS THE
     TRANSFER CREDIT SHOULD NOT HAVE OCCURRED.
     BECAUSE THE BANKRUPTCY ESTATE RECEIVED A TAX
     REFUND IN THE AMOUNT OF $121,980.27, IT IS ANTICIPATED
     THE BALANCE OF $104,714.73 PLUS INTEREST SHOULD BE
     RECEIVED. THE REMAINING BALANCE DOES NOT APPEAR
     RECOVERABLE.


 29. FUTA OVERPAYMENT - 2018                                             53,768.02                     53,768.02                                           58,123.87                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE



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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                       Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                         Estimated Net Value
                                                                      Petition/     (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled       Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values             and Other Costs)          OA=554(a) Abandon             the Estate

     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF $53,768.02.
     AN AMENDED RETURN WAS FILED REDUCING THE DEBTOR'S
     TAXES FOR THIS PERIOD TO $0.00. ACCORDING TO THE TAX
     TRANSCRIPT, THIS AMENDED RETURN WAS POSTED ON
     AUGUST 27, 2020. A REFUND WAS RECEIVED IN THE
     AMOUNT OF $58,128.37 [$53,768.43 TAX PLUS $4,355.14
     INTEREST]. THE REFUND FOR 2018 HAS BEEN FULLY PAID
     AND NO FURTHER REFUND IS ANTICIPATED.


 30. CAUSE OF ACTION - DIXON SLINGERLAND DEMAND                           Unknown                     700,000.00                                      4,886,796.00                   FA
     DEMAND FOR REIMBURSEMENT OF EXPENSES. AMOUNT
     REQUESTED $1,770,341.61.

     DIXON SLINGERLAND WAS THE FORMER CHIEF EXECUTIVE
     OF THE DEBTOR. DEBTOR ASSERTS SLINGERLAND
     EMBEZZLED $1,770,341.61 IN FUNDS FROM THE DEBTOR
     THROUGH IMPROPER EXPENSE REIMBURSEMENTS AND
     OTHER PERSONAL EXPENSES HE FRAUDULENTLY CAUSED
     DEBTOR TO PAY.

     THE AMOUNT REQUESTED BY THE DEBTOR IS BASED ON



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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                      Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                        Estimated Net Value
                                                                      Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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     THE FINDINGS OF AN INDEPENDENT AUDIT CONDUCTED BY
     ARMANINO, LLP FOR THE FISCAL YEAR ENDED JUNE 30, 2018.
     RECOVERY WILL LIKELY BE DEPENDENT ON THE
     AVAILABILITY OF INSURACE COVERAGE WHICH IS BEING
     INVESTIGATED.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 90% OF THE RECOVERY ON COMMERCIAL TORT CLAIMS.
     THEREFORE, THE TRUSTEE HAS EXTIMATED THE NET VALUE
     ACCORDINGLY AND DISCOUNTED FOR THE RISK OF NO
     RECOVERY.

     TRUSTEE HAS PRESENTED A CLAIM TO HANOVER
     INSURANCE, DEBTOR'S CRIME INSURANCE POLICY CARRIER.
     NUMEROUS CORRESPONDENCE HAVE BEEN EXCHANGED
     AND DOCUMENTS PRODUCED. THE INSURANCE COMPANY




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                                                                                           Estimated Net Value
                                                                      Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate

     INVESTIGATION IS ONGOING. IF THE INSURANCE CLAIM IS
     NOT ACCEPTED THEN TRUSTEE WILL EVALUATE WHETHER
     LITIGATION IS IN THE BEST INTERESTS OF THE BANKRUPTCY
     ESTATE.

     TRUSTEE COMMENCED AN ADVERSARY PROCEEDING ON
     NOVEMBER 3, 2021 [2:21-AP-01221-BB] AGAINST DIXON
     SLINGERLAND, HIS SPOUSE, SUZANNE STEINKE. STEVEN
     SCHULTZ, THE FORMER CHIEF FINANCIAL OFFICER OF THE
     DEBTOR, AND THE DEBTOR'S FORMER AUDITOR, HILL
     MORGAN & ASSOCIATES, LLP. THE CAUSES OF ACTION ARE
     FOR NEGLIGENCE, UNJUST ENRICHMENT, BREACH OF
     FIDUCIARY DUTY, BREACH OF CHARITABLE TRUST, FRAUD,
     CONVERSION, RECEIVING EMBEZZLED FUNDS, UNFAIR
     BUSINESS PRACTICES AND PROFESSIONAL NEGLIGENCE.

     CURENT DATES:

     MEDIATION: MAY 2, 2022

     STATUS CONFERENCE: MAY 3, 2022

     ORDER APPROVING COMPROMISE ENTERED FEBRUARY 8,
     2023


 31. UNBILLED GRANT - DOE - PROMISE NEIGHBORHOOD                       1,218,675.90                     50,000.00                                                0.00                  FA
     GRANT ( JULY TO OCTOBER 2019). REPORT HAS NOT BEEN
     PREPARED. AMOUNT MAY BE SUBJECT TO OFFSET.




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                                                                                        Estimated Net Value
                                                                      Petition/    (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values            and Other Costs)          OA=554(a) Abandon             the Estate

     THE TRUSTEE HAS SERIOUS CONCERNS THAT ANY AMOUNT
     CAN BE RECOVERED FROM THE FEDERAL GOVERNMENT ON
     THE UNBILLED GRANTS. THESE ARE REIMBURSEMENT
     GRANTS AND THE RECIPIENT MUST SHOW THAT THE FUNDS
     RECCEIVED WERE USED FOR SPECIFIC PROGRAMS. GIVEN
     THE DEBTOR'S FINANCIAL DIFFICULTIES AND LACK OF
     INTERNAL CONTROLS IT CANNOT SHOW AND LIKELY DID
     NOT USE FUNDS DESIGNATED FOR SPECIFIC PROGRAMS.
     DEBTOR USED FUNDS FOR OTHER PROGRAMS IT WAS
     OPERATING AND FOR ADMINISTRATIVE/OVERHEAD
     EXPENSES NOT PERMITTED UNDER THE GRANT. FEDERAL
     AGENCIES HAVE ONGOING INVESTIGATIONS AND HAVE
     ISSUED SUBPOENAS.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 30% OF AMOUNTS RECOVERED. THEREFORE, THE




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                                                                                           Estimated Net Value
                                                                      Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate

     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY
     AND ASSIGNED A MINIMAL VALUE.

     BASED ON FURTHER INVESTIGATION BY THE TRUSTEE OF
     DEBTOR'S RECORDS, THE AMOUNT OWED WAS $793,674.03
     FOR SERVICES PERFORMED UNDER THE GRANT FROM
     JANUARY 2019 THROUGH AUGUST 2019. HOWEVER,
     BECAUSE DEBTOR DID NOT PROPERLY ACCOUNT FOR
     GRANT PROCEEDS AND USED THE GRANT FOR
     ADMINISTRATIVE EXPENSES, THE CITY OF LOS ANGELES
     WHICH ADMINISTERS THE GRANT THUS FAR HAS NOT
     AGREED ANY AMOUNT IS OUTSTANDING. TRUSTEE IS
     CONTINUING TO ENGAGE IN DISCUSSIONS TO DETERMINE IF
     ANY VALUE AND BE REALIZED.

     FOLLOWING ADDITONAL INVESTIGATION AND REVIEW OF
     ACCOUNTING TRUSTEE DETERMINED THIS AMOUNT
     CANNOT BE RECOVERED.


 32. UNBILLED GRANT - CDE - 21ST CENTURY GRANT                         4,176,181.68                           0.00                                               0.00                  FA
     EXPECTED EARLY DECEMBER 2019. PAYMENT OF COVER
     2ND QUARTER OF GRANT. AS OF FILING DATE $680,581.49 OF
     PAYROLL COSTS INCURRED. AMOUNT MAY BE SUBJECT TO
     OFFSET.

     THE TRUSTEE HAS SERIOUS CONCERNS THAT ANY AMOUNT
     CAN BE RECOVERED FROM THE FEDERAL GOVERNMENT ON
     THE UNBILLED GRANTS. THESE ARE REIMBURSEMENT
     GRANTS AND THE RECIPIENT MUST SHOW THAT THE FUNDS



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                                                                      Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate

     RECCEIVED WERE USED FOR SPECIFIC PROGRAMS. GIVEN
     THE DEBTOR'S FINANCIAL DIFFICULTIES AND LACK OF
     INTERNAL CONTROLS IT CANNOT SHOW AND LIKELY DID
     NOT USE FUNDS DESIGNATED FOR SPECIFIC PROGRAMS.
     DEBTOR USED FUNDS FOR OTHER PROGRAMS IT WAS
     OPERATING AND FOR ADMINISTRATIVE/OVERHEAD
     EXPENSES NOT PERMITTED UNDER THE GRANT. FEDERAL
     AGENCIES HAVE ONGOING INVESTIGATIONS AND HAVE
     ISSUED SUBPOENAS.

     DEBTOR RECEIVED APPROXIMATELY $4.1M THE END OF
     SEPTEMBER 2019 FOR THE SECOND QUARTER OF 2019. IN
     ORDER TO RECEIVE THE SECOND ROUND OF FUNDING OF
     APPROXIMATELY $4.1 IN DECEMBER 2019 DEBTOR WOULD
     HAVED NEED TO SHOW PERMISSABLE GRANT EXPENSES
     BETWEEN JULY AND SEPTEMBER OF THIS AMOUNT.
     HOWEVER, DEBTOR'S PROPER EXPENSES WERE
     APPROXIMATELY $2.0M WHICH WAS NOT SUFFICIENT TO
     TRIGGER THE DECEMBER FUNIDNG.


 33. TRANSFER - KAISER PERMANENTE                                      1,282,345.45                     290,000.00                                          294,107.90                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. HEALTH INSURNACE PREMIUMS PAID IN FUNDS
     TRACEABLE TO EMPLOYEE WAGE WITHHOLDING.

     INITIALLY IT DID NOT APPEAR PAYMENTS COULD BE
     RECOVERED. UPON FURTHER REVIEW OF ACCOUNT DETAIL,
     TRUSTEE SENT A DEMAND LETTER AND DETERMINED IT
     WAS IN THE BEST INTERESTS OF THE ESTATE TO RESOLVE



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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     THE MATTER FOR $294,197.90 AFTER EXTENSIVE
     NEGOTIATIONS WHICH CONSIDERED POTENTIAL DEFENSES.



     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 34. TRANSFER - MDB INTERNATIONAL BRANDING LLC                          207,305.13                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RENT PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 35. TRANSFER - PARAMOUNT CONTRACTORS & DEVELOPERS                      179,842.13                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RENT PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 36. TRANSFER - EXCEL INVESTMENTS, LLC                                   83,511.69                     40,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.



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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


     TOTAL PAID DURING PREFERENCE PERIOD IS $27,837.23.
     PAYMENTS RELATE TO RENT AT ONE OF DEBTOR'S
     LOCATIONS AND TRUSTEE DETERMINED THAT CLAIM
     SHOULD NOT BE PURSUED AFTER CONSIDERING
     COST/BENEFIT AND RISK BENEFIT IN LIGHT OF AVAILABLE
     DEFENSES.


 37. TRANSFER - PLIC - SBD GRAND ISLAND                                  63,271.41                     30,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     BASED ON FURTHER INVESTIGATION, TOTAL PREFERENCE IS
     $41,137.31 AND IS FOR EMPLOYEE BENEFITS. RELATED TO
     ASSET NUMBER 77.


 38. TRANSFER - ARMANINO LLP                                             58,356.90                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. PAYMENT MADE TO AUDITOR IN THE ORDINARY
     COURSE OF BUSINESS, SERVICES PERFORMED AND DEBTOR
     RECEIVED NEW VALUE. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.




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                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


 39. TRANSFER - THOMASKELLY SOFTWARE ASSOCIATES                          47,500.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     THOMAS KELLY PROVIDES SOFTWARE AS A SERVICE.
     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS.


 40. TRANSFER - AFLAC                                                    38,643.65                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. EMPLOYEE BENEFITS PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.


 41. TRANSFER - FRESH START MEALS, INC.                                  38,000.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT. REGULAR COURSE PAYMENTS FOR
     MEALS PROVIDED TO PROGRAM PARTICIPANTS.


 42. TRANSFER - PRINCIPAL'S EXCHANGE                                     34,420.00                     15,000.00                                           25,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.




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                                                                                       ASSET CASES                                                                                             Exhibit 8
Case No:            2:19-23085     BB    Judge: SHERI BLUEBOND                                                           Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRUSTEE IDENTIFIED PAYMENT MADE DURING THE
     PREFERENCE PERIOD IN THE AMOUNT OF $34,420.

     UPON FURTHER REVIEW OF ACCOUNT DETAIL, TRUSTEE
     SENT A DEMAND LETTER AND DETERMINED IT WAS IN THE
     BEST INTERESTS OF THE ESTATE TO RESOLVE THE MATTER
     FOR $25,000.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 43. TRANSFER - MAXIMUS PROTECTIVE SERVICES                              32,011.50                     15,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     COMPANY CEASED OPERATING IN 2020 IN LARGE PART DUE



LFORM1                                                                                                                                                                                               Ver: 22.07l
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                                                                                       ASSET CASES                                                                                             Exhibit 8
Case No:            2:19-23085     BB    Judge: SHERI BLUEBOND                                                           Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     TO THE UNPAID RECEIVABLE FROM THE DEBTOR. THE NET
     PREFERENCE AFTER NEW VALUE IS APPROXIMATELY $14,000
     AND TRUSTEE DETERMINED IN HIS BUSINESS JUDGMENT
     NOT TO PURSUE THE COMPANY OR THE OWNER.


 44. TRANSFER - SALEF                                                    31,010.00                     10,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRANSFEREE IS THE SALVADORAN AMERICAN LEADERSHIP
     AND EDUCATION FUND THAT RECEIVED PAYMENTS TO
     PROVIDE PROGRAMS FOR PARTICIPANTS WHO RECEIVED
     SERVICES FROM DEBTOR. LIKELY STRONG NEW VALUE AND
     ORDINARY COURSE DEFENSES AVAILABLE. TRUSTEE
     DETERMINED IN HIS BUSINESS JUDGMENT NOT TO PURSUE
     RECOVERY.


 45. TRANSFER - VISION SERVICE PLAN                                      29,520.00                      7,500.00                                           7,500.00                   FA
     RANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     SERVICES PROVIDED. PAYMENTS DO NOT APPEAR TO BE ON




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                                                                                       ASSET CASES                                                                                             Exhibit 8
Case No:            2:19-23085     BB    Judge: SHERI BLUEBOND                                                           Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     ACCOUNT OF ANTECEDENT DEBT AND MADE IN THE
     ORDINARY COURSE OF BUSINESS. UPON FURTHER REVIEW
     OF ACCOUNT DETAIL, TRUSTEE SENT A DEMAND LETTER
     AND DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $7,500.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 46. TRANSFER - C3 BUSINESS SOLUTIONS                                    27,825.00                     12,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     TRUSTEE RECEIVED INFORMATION ESTABLISHING A
     COMPLETE NEW VALUE DEFENSE FOR ALL PAYMENTS.


 47. TRANSFER - THE PRINCETON REVIEW                                     26,000.00                     20,000.00                                           20,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     SERVICES PROVIDED. PAYMENTS DO NOT APPEAR TO BE ON
     ACCOUNT OF ANTECEDENT DEBT AND MADE IN THE




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                                                                                       ASSET CASES                                                                                             Exhibit 8
Case No:            2:19-23085     BB    Judge: SHERI BLUEBOND                                                           Trustee Name:                     JASON M. RUND, TRUSTEE
Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     ORDINARY COURSE OF BUSINESS. UPON FURTHER REVIEW
     OF ACCOUNT DETAIL, TRUSTEE SENT A DEMAND LETTER
     AND DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $20,000.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 48. TRANSFER - CALIFORNIA DENTAL NETWORKS, INC                          25,421.93                      7,000.00                                           7,467.00                   FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. EMPLOYEE BENEFITS PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE. SERVICES PROVIDED.
     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS. UPON FURTHER REVIEW OF ACCOUNT DETAIL,
     TRUSTEE SENT A DEMAND LETTER AND DETERMINED IT
     WAS IN THE BEST INTERESTS OF THE ESTATE TO RESOLVE
     THE MATTER FOR $7,467.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 29,
     2021.


 49. TRANSFER - CURTIN SECURITY COMPANY, INC.                            22,020.00                     10,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT




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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     SECURITY SERVICES PROVIDED AT DEBTOR'S SYLMAR
     LOCATION. STRONG ORDINARY COURSE AND NEW VALUE
     DEFENSES AVAILABLE AS ONGOING SERVIES PROVIDED.
     TRUSTEE DETERMINED IN HIS REASONABLE BUSINESS
     JUDGMENT NOT TO PURSUE RECOVERY.


 50. TRANSFER - PENSION ASSURANCE LLP                                    18,000.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. PAYMENT MADE IN CONNECTION WITH AUDIT OF
     RETIREMENT PLAN IN THE ORDINARY COURSE OF BUSINESS.
     THEREFORE, CANNOT BE RECOVERED AS A PREFERENCE.
     CROSS REFERENCES WITH ASSET NUMBER 15.


 51. TRANSFER - T. ROWE PRICE                                            15,394.50                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE. CROSS
     REFERENCES WITH ASSET NUMBER 16.


 52. TRANSFER - VEDC                                                     12,000.00                      6,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.



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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     DEBTOR USED SPACE AT VALLEY ECONOMIC DEVELOPMENT
     CENTER, INC (VEDC). VEDC FILED A CHAPTER 11
     BANKRUPTCY ON JULY 2, 2019 [1:19-11629-DS].


 53. TRANSFER - BENUCK & RAINEY, INC.                                    10,000.00                      5,000.00                                           8,500.00                   FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING. COLLECTION AGENT
     FOR PROSIGHT SPECIALTY INSURANCE.

     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     COMPROMISE REACHED FOR $8,500. ORDER APPROVING
     COMPROMISE ENTERED NOVEMBER 29, 2021.


 54. TRANSFER - AMERICAN EXPRESS                                        130,114.46                     70,000.00                                                0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.




LFORM1                                                                                                                                                                                               Ver: 22.07l
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                                                                                        ASSET CASES                                                                                              Exhibit 8
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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                         Date Filed (f) or Converted (c):    11/05/19 (f)
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                                                                                           Estimated Net Value
                                                                      Petition/       (Value Determined by Trustee,    Property Formally           Sale/Funds                Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled         Less Liens, Exemptions,          Abandoned                Received by              Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values               and Other Costs)          OA=554(a) Abandon             the Estate


     INVESTIGATION IS ONGOING. TRUSTEE HAS NOT
     COMMENCED ANY AVOIDANCE ACTIONS. IN ORDER TO
     EFFICIENTLY ADMINSITER POTENTIAL LITIGATION THE
     AVOIDANCE ACTIONS WILL BE COMMENCED AT THE SAME
     TIME.

     NEW VALUE RECEIVED AFTER PAYMENTS MADE FOR A
     SIGNIFICANT AMOUNT AND UNAUTHORIZED AMERICAN
     EXPRESS PAYMENTS ARE PART OF THE RECOVERY SOUGHT
     IN CONNECTION WITH ASSET NUMBER 30.


 55. TRANSFER - CALIFORNIA COMMUNITY FOUNDATION                        2,005,000.00                     400,000.00                                          400,000.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INFORMED THAT PAYMENT WAS MADE
     IN SATISFACTION OF A SECURED CLAIM. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.

     TRUSTEE FURTHER ANALYZED MATTER AND DETERMINED
     PAYMENT WAS NOT IN CONNECTION WITH A SECURED
     CREDIT FACILITY. TRUSTEE SENT A DEMAND LETTER AND
     DETERMINED IT WAS IN THE BEST INTERESTS OF THE
     ESTATE TO RESOLVE THE MATTER FOR $400,000 AFTER
     EXTENSIVE NEGOTIATIONS AS REPAYMENT WAS MADE
     ACCORDING TO THE TERMS OF THE LOAN.

     ORDER APPROVING COMPROMISE MARCH 8, 2022.




LFORM1                                                                                                                                                                                                 Ver: 22.07l
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                                                                                       ASSET CASES                                                                                             Exhibit 8
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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

 56. TRANSFER - FIRST INSURANCE                                          38,528.88                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     PAYMENTS DO NOT APPEAR TO BE ON ACCOUNT OF
     ANTECEDENT DEBT AND MADE IN THE ORDINARY COURSE
     OF BUSINESS FOR INSURANCE.


 57. TRANSFER - PROSIGHT INSURANCE                                       57,643.20                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. TRUSTEE IS INVESTIGATING.

     EMPLOYEE BENEFITS PAID IN THE ORDINARY COURSE OF
     BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 58. TRANSFER - ROBINS KAPLAN                                            50,269.67                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. ATTORNEYS FEES PAID IN THE ORDINARY COURSE
     OF BUSINESS. THEREFORE, CANNOT BE RECOVERED AS A
     PREFERENCE.


 59. TRANSFER - GROBSTEIN TEEPLE                                         50,000.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. ACCOUNTANT FEES PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.




LFORM1                                                                                                                                                                                               Ver: 22.07l
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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                        Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate


 60. TRANSFER - WITHDRAWL MOVERS                                          8,220.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. MOVING EXPENSES PAID IN THE ORDINARY
     COURSE OF BUSINESS. THEREFORE, CANNOT BE
     RECOVERED AS A PREFERENCE.


 61. TRANSFER - TROWE PRICE                                              10,263.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE. CROSS
     REFERENCES WITH ASSET NUMBER 16.


 62. TRANSFER - PENSION ASSURANCE LLP                                    17,100.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.


 63. TRANSFER - KRAVITZ                                                  18,275.00                           0.00                                               0.00                  FA
     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFAIRS. RETIREMENT PLAN ADMINISTRATION SERVICES
     PAID IN THE ORDINARY COURSE OF BUSINESS. THEREFORE,
     CANNOT BE RECOVERED AS A PREFERENCE.


 64. TRANSFER - DIXON SLINGERLAND                                        60,347.66                           0.00                                               0.00                  FA




LFORM1                                                                                                                                                                                               Ver: 22.07l
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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                                       Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                         Estimated Net Value
                                                                      Petition/     (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled       Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values             and Other Costs)          OA=554(a) Abandon             the Estate

     TRANSFER IDENTIFIED ON STATEMENT OF FINANCIAL
     AFFIARS. TRUSTEE IS INVESTIGATING. CROSS REFERENCES
     WITH ASSET NUMBER 30 AND INCLUDED THEREIN.


 65. VEHICLE - FORD PASSENGER VAN                                         Unknown                      5,000.00                                                0.00                  FA
     DEBTOR IDENTIFIED THE FORD PASSENGER VAN ON THE
     STATEMENT OF FINANCIAL AFFAIR OWNED BY THE
     DEPARTMENT OF LABOR. TRUSTEE'S INVESTIGATION
     REVEALS THE DEBTOR OWNS A 2014 FORD PASSENGER VAN
     FREE AND CLEAR. SCOTT VAN HORN OF VAN HORN
     AUCTION AND APPRAISAL GROUP INFORMED THE TRUSTEE
     THE VALUE IS APPROXIMATELY $6,000. AFTER COSTS OF
     SALE AND ADMINISTRATIVE EXPENSES THE VAN MAY NOT
     HAVE MEANINGFUL VALUE. TRUSTEE IS INVESTIGATING
     WHETHER THERE IS A MEANS TO EFFICIENTLY ADMINISTER
     THE ASSET AS THERE APPEARS TO BE A LIMITED MARKET
     FOR THIS TYPE OF VEHICLE. TRUSTEE IS INVESTIGATING
     WHETHER VEHICLE CAN BE LIQUIDATED. TRUSTEE
     DETERMINED THE UNCERTAINTY OF A FINAL SALES PRICES
     AT AUCTION TOGETHER WITH THE ANTCIIPATED
     ADMINISTRATIVE EXPENSES TO REALIZE VALUE IS
     OUTWEIGHED BY THE BENEFIT TO THE BANKRUPTCY
     ESTATE.

     TRUSTEE OBTAINED INSURANCE THROUGH GREAT
     AMERICAN INSURANCE GROUP, POLICY NUNBER 1134134,
     VALID UNTIL CANCELLED.

     NOTICE OF ABANDONMNET FILED MAY 27, 2020. THERE WAS



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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     NO RESPONSE OR REQUEST FOR A HEARING.


 66. CONTRIBUTION TO DEBTOR - BANK OF AMERICA (u)                             0.00                     50,000.00                                           50,000.00                  FA
     DURING INITIAL MEETING WITH CHIEF EXECUTIVE OFFICER,
     COUNSEL AND FINANCIAL ADVISOR, A CHECK WAS
     DELIVERED TO THE TRUSTEE REPRESENTING A
     CONTRIBTION/DONATION TO DEBTOR.


 67. GRANTS - NOT REFLECTED IN SCHEDULES (u)                                  0.00                           0.00                                          13,787.50                  FA
     DURING INITIAL MEETING WITH CHIEF EXECUTIVE OFFICER,
     COUNSEL AND FINANCIAL ADVISOR, CHECKS WERE
     DELIVERED TO THE TRUSTEE REPRESENTING GRANT AND
     GRANT REIMBURSEMENTS WHICH DO NOT APPEAR TO
     RELATE TO THE SCHEDULED GRANTS. TRUSTEE ALSO
     RECOVERED ON CHECK DURING A SITE VISIT.


 68. REFUND - KEY DEPOSIT (u)                                                 0.00                         50.00                                                50.00                 FA
     TRUSTEE RECOVERED FROM DEBTOR A CHECK FROM THE
     FORMER LANDLORD OF THE SUNSET BOULEVARD
     EXECUTIVE OFFICE REPRESENTING THE RETURN OF A KEY
     DEPOSIT.


 69. REFUND - INSURANCE (u)                                                   0.00                      2,228.94                                            2,228.94                  FA
     TRUSTEE RECOVERED FROM DEBTOR A CHECK FROM THE
     BERKLEY LIFE AND HEALTH REPRESENTING AN INSURANCE
     REFUND.




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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
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 70. FINANCIAL ACCOUNT - CITIBANK (u)                                         0.00                      1,968.62                                           1,968.62                   FA
     ACCOUNT NUMBER ENDING 0190. TRUSTEE REQUESTED
     TURNOVER OF ALL CITIBANK ACCOUNTS. IN ADDITION TO
     THE SCHEDULED ACCOUTS [ASSETS 4 THROUGH 8] THE
     BANK PROVIDED FUNDS FROM TWO ADDITIONAL
     ACCOUNTS.


 71. FINANCIAL ACCOUNT - CITIBANK (u)                                         0.00                         85.00                                                85.00                 FA
     ACCOUNT NUMBER ENDING 0216. TRUSTEE REQUESTED
     TURNOVER OF ALL CITIBANK ACCOUNTS. IN ADDITION TO
     THE SCHEDULED ACCOUTS [ASSETS 4 THROUGH 8] THE
     BANK PROVIDED FUNDS FROM TWO ADDITIONAL
     ACCOUNTS.


 72. CITY OF LOS ANGELES (u)                                                  0.00                           0.00                                          1,579.23                   FA
     MISCELLANEOUS REFUNDS FROM THE CITY OF LOS
     ANGELES DEPARTMENT OF BUILDING AND SAFETY
     REGARDING DEBTOR'S FORMER LOCATION AT 2702 WEST
     BEVERLY BOULEVARD, LOS ANGELES.


 73. FINANCIAL ACCOUNT - UNIVERSAL BANK (u)                                   0.00                      1,336.38                                           1,336.38                   FA
     TRUSTEE DISCOVERED THIS ACCOUNT DURING A REVIEW OF
     DEBTOR RECORDS AND REQUESTED TURNOVER.


 74. FUTA OVERPAYMENT - 2016 (u)                                              0.00                     86,000.00                                           4,820.96                   FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES




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                                                                                        Estimated Net Value
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                              Asset Description                      Unscheduled      Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values            and Other Costs)          OA=554(a) Abandon             the Estate

     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED. THE DEBTOR SCHEDULED THE 2017 AND 2018
     FUTA OVERPAYMENTS AS SEPARATE ASSETS BUT DID NOT
     SCHEDULE 2016.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL
     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     INCORRECTLY PAYING TAXES IN THE AMOUNT OF
     $167,673.93. AN AMENDED RETURN WAS FILED REDUCING
     THE DEBTOR'S TAXES FOR THIS PERIOD TO $0.00. IT DOES
     NOT APPEAR THIS RETURN WAS PROPERLY POSTED TO THE




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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     DEBTOR'S 2016 ACCOUNT PER THE TAX TRANSCRIPT. A
     REFUND WAS RECEIVED IN THE AMOUNT OF $4,820.96. IT IS
     ANTICIPATED THAT AN ADDITIONAL REFUNDS IN THE
     AMMOUNT OF $162,852.04 PLUS INTEREST SHOULD BE
     RECEIVED. AFTER NUMEROUS ATTEMPTS, THE REMAINING
     BALANCE DOES NOT APPEAR RECOVERABLE.


 75. FUTA OVERPAYMENT - 2019 (u)                                              0.00                     30,490.83                                                0.00                  FA
     DEBTOR WAS A NOT PROFIT CORPORATION AND THEREFORE
     NOT REQUIRED TO FEDERAL UNEMPLOYMENT TAXES
     (FUTA). TRUSTEE, WITH THE ASSITANCE OF HIS
     ACCOUNTANT, HAS CONTACTED THE INTERNAL REVENUE
     AND IS ATTEMPT TO HAVE THE AMOUNT INCORRECTLY PAID
     REFUNDED. THE DEBTOR SCHEDULED THE 2017 AND 2018
     FUTA OVERPAYMENTS AS SEPARATE ASSETS BUT DID NOT
     SCHEDULE 2016.

     THE TRUSTEE HAS INVESTIGATED THE DISCLOSED CLAIM OF
     NONPROFIT FINANANCE FUND ("NFF"), AND UNDERSTANDS
     THAT NFF ASSERTS THAT, AS OF THE PETITION DATE, THE
     DEBTOR WAS INDEBTED TO NFF ON A SECURED LOAN
     OBLIGATION IN THE APPROXIMATE AGGREGATE PRINCIPAL
     AMOUNT OF $4,350,000 (THE "NFF SECURED CLAIM")
     PURSUANT TO, INTER ALIA, A SECURITY AGREEMENT
     PURSUANT TO WHICH THE THE DEBTOR PLEDGED
     SUBSTANTIALLY ALL OF ITS ASSETS UNDER THE NFF LOAN
     AND PERFECTED PURSUANT TO UCC-1 FILINGS WITH THE
     WASHINGTON D.C. SECRETARY OF STATE. THE TRUSTEE IS
     CURRENTLY NEGOTIATING A STIPULATION TO RESOLVE ALL



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                                                                                          Estimated Net Value
                                                                      Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                      Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)             Values              and Other Costs)          OA=554(a) Abandon             the Estate

     ISSUES WITH RESPECT TO THE NFF CLAIM AND PROVIDE A
     CARVE OUT FOR THE BANKRUPTCY ESTATE IN THE AMOUNT
     OF 50% OF THE TAX OVERPAYMENT. THEREFORE, THE
     TRUSTEE HAS EXTIMATED THE NET VALUE ACCORDINGLY.

     CURRENT STATUS: AN ORIGINAL RETURN WAS FILED
     SHOWING AN OVERPAYMENT OF $30,490.83. THIS CREDIT
     WAS APPLIED AGAINST THE IRS CALCULATED
     UNDERPAYMENT TOWARD THE 2016 FORM 940 TAXES
     [ASSET NUMBER 74]. IT IS ANTICIPATED THAT AN
     ADDITIONAL REFUNDS IN THE AMMOUNT OF $162,852.04
     PLUS INTEREST SHOULD BE RECEIVED. AFTER NUMEROUS
     ATTEMPTS, THE REMAINING BALANCE DOES NOT APPEAR
     RECOVERABLE.


 76. FINANCIAL ACCOUNT - WELLS FARGO BANK (u)                                 0.00                         10.54                                                10.54                 FA
     TRUSTEE RECEIVED A MISCELLANEOUS PAYMENT FROM
     WELLS FARGO BANK. TRUSTEE WAS SUBSEQUENTLY
     ADVISED BY WELLS FARGO THAT THE PAYMENT
     REPRESENTS A CALIFORNIA STATE DISABILITY EMPLOYEE
     (CASDIEE) REFUND FOR DECEMBER 28, 2017.


 77. PREFERENCE - PRINCIPAL LIFE INSURANCE (u)                                0.00                     10,000.00                                           10,000.00                  FA
     TRUSTEE IDENTIFIED PAYMENT MADE DURING THE
     PREFERENCE PERIOD IN THE AMOUNT OF $59,372.26.

     UPON FURTHER REVIEW OF ACCOUNT DETAIL, TRUSTEE
     SENT A DEMAND LETTER AND DETERMINED IT WAS IN THE




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                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                 Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by               Gross Value of Remaining Assets
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     BEST INTERESTS OF THE ESTATE TO RESOLVE THE MATTER
     FOR $10,000 AS SOME AS SOME OF THE PAYMENTS WERE TO
     AN ORDINARY COURSE DEFENSE.

     ORDER APPROVING COMPROMISE ENTERED NOVEMBER 30,
     2021.


 78. VOID (u)                                                                               Unknown                                 0.00                                               0.00                     FA


 79. FINANCIAL ACCOUNT - CITIBANK (SAVINGS) (u)                                                  0.00                          3,717.81                                            3,717.81                     FA
     TRUSTEE RECENTLY LEARNED OF AN ABANDONED
     ACCOUNT AND REQUESTED TURNOVER OF BANK ACCOUNT
     FUNDS. ACCOUNT NUMBER ENDING IN 7454.


 INT. Post-Petition Interest Deposits (u)                                                   Unknown                                 N/A                                           21,318.97                 Unknown

                                                                                                                                                                                                 Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                   $13,952,798.62                      $2,810,370.26                                       $6,682,622.92                             $0.00
                                                                                                                                                                                                 (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   PROCEDURAL SUMMARY THROUGH SEPTEMBER 30, 2023.


   The Trustee's Final Report was filed on October 12, 2023 and the hearing is scheduled on November 15, 2023.




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   CLOSING SUMMARY:


   Case Background:


   The debtor was a non-profit corporation which operated after-school and extracurricular programs at nearly 100 sites in
   the Los Angeles area and focused on the highest need communities. In operating these programs, the debtor was funded
   primarily through sizeable federal and state government grants. In fact, the debtor's most recent publicly available
   tax return shows grants totaling more than $40 million for both fiscal years 2016/2017 and 2015/2016. In early 2019, an
   audit revealed irregularities in expense reimbursements made to the former CEO, Dixon Singerland ("Singerland"), and
   inaccurate disclosures and reports made in connection with the various grants the debtor received. The debtor's Board
   of Directors therefore formed a special committee and investigated these irregularities and, through its investigations
   concluded that Singerland used the debtor's funds for unauthorized and personal expenditures, and further directed
   inaccurate reporting to certain government agencies.


   Grand Jury Subpoena:


   The events relating to alleged falsified and/or incorrect reporting to government agencies, prompted numerous government
   agencies to launch investigations into the affairs of the debtor and Slingerland. One such investigation was initiated
   by the U.S. Department of Labor (the "DOL"), as to which the United States Department of Justice (the "DOJ") issued and
   served a grand jury subpoena on the Trustee on around November 26, 2019 which was shortly after the petition date. The
   Grand Jury Subpoena required immediate and ongoing attention of the trustee and his counsel with respect to the
   trustee's obligations thereunder. Slingerland was ultimately charged in an Information and entered in a plea in Central
   District of California case number 2:23-cr-00017-DMG. Sentencing is pending.


   Estate Administration Overview:


   The debtor's financial affairs are wide-ranging and complex and through this summary the trustee will provide an
   overview of assets administered and the results obtained for the benefit of creditors. Greater detail is also provided
   in the various fee applications filed by the trustee's professionals.


   The debtor's headquarters, known as the Beverly Facility, played a central role in the bankruptcy proceedings. Located
   at 2707-11 Beverly Boulevard, Los Angeles, this commercial space consisted of approximately 29,024 square feet,




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   incorporating office space, a warehouse, loading dock, and rooftop parking. As of the Petition Date, there were 35
   months left on this lease, which on December 1, 2017, and was set to expire on November 30, 2022. The lease mandated a
   base rent of around $67,000.00 per month, along with additional charges.


   The trustee visited the Beverly Facility multiple times either alone or sometimes with his counsel or field agent. The
   facility contained a substantial amount of the debtor's personal property. There were approximately 67 steel file
   cabinets and over two-hundred file boxes which needed to be addressed in connection with the Grand Jury Subpoena. In
   addition, the investigation revealed that prior to the petition date, the debtor had entered into an unauthorized
   arrangement with Think Together (TT), a non-profit organization, which had begun utilizing the space without the
   landlord's consent. The lease was rejected and the landlord's administrative rent claim was resolved pursuant to a
   compromise order entered on June 4, 2020 [Docket No. 134] and personal property was abandoned pursuant to an order
   entered March 13, 2020 [Docket No. 98].


   Beyond the Beverly Facility, other locations also required attention. For instance, the debtor operated from a facility
   in Sylmar, a distribution and warehouse space spanning 7,000 square feet. Similarly, other sites such as the San
   Fernando Gardens and the Pacoima Entrepreneurial Center were discovered as minor operational locations. The trustee
   inspected these facilities and with the assistance of counsel worked to abandon personal property at these facilities
   and reject leases as necessary.


   In addition to the facilities where the debtor operated, multiple storage facilities were discovered containing the
   debtor's personal property. Twelve storage units at Arleta Storage, a unit at Nova Storage, and another unit at Extra
   Space Storage were among these locations. The investigation and management of these storage units were intricate due to
   the Grand Jury Subpoena. The process involved evaluating the potential presence of responsive documents and coordinating
   with various governmental agencies. The storage units were abandoned as set forth on docket numbers 74, 113, 122, 141.


   The debtor's Schedules and Statement of Affair disclosed significant grant receivables, including billed and unbilled
   amounts from various agencies such as the California Department of Education (CDE) and the U.S. Department of Education
   (DOE). However, the investigation revealed that the disclosed receivables were overstated and often subject to offsets.
   The trustee with the assistance of his counsel embarked on efforts to collect these receivables, leading to
   negotiations and compromises resulting in the recovery of $590,583.11.


   Investigations into potential preference claims involved reviewing payments made by the Debtor during the 90-day




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   pre-petition period. This included payments to entities like The Princeton Review, Benuck & Rainey, Inc., Orenda
   Education, Vision Service Plan (VSP), Kaiser Foundation Health Plan, Inc., and California Dental Network (CDN).
   Trustee's counsel negotiated settlements for these claims, leading to a recovery of $362,574.90. Furthermore, a separate
   potential preference claim against California Community Foundation (CCF) led to a settlement payment of $400,000.
   Preference claims were resolved via settlement pursuant to orders as detailed on Form 1.


   In light of the information the trustee learned regarding the actions of Slingerland and others, the Trustee along with
   his counsel, investigated the potential claims regarding the apparent theft of at least $1.9 million of the company's
   funds in the five years leading up to the bankruptcy case and the misreporting of information to the various government
   agencies regarding grants. Trustee's counsel engaged in extensive negotiations with Hanover Insurance Company regarding
   coverage under a crime insurance policy.


   When the efforts to recover under the crime policy claim were unsuccessful, further investigation occurred regarding
   potential claims (the "Commercial Tort Claims") against Slingerland, his wife Susanne Steinke ("Ms. Steinke"), her
   professional corporation Suzanne M. Steinke a Professional Corporation ("Steinke APC"), YPI's former CFO Steven Schultz
   ("Schultz"), and the debtor's former auditor Hill Morgan and Associates ("Hill Morgan"). With respect to the Commercial
   Tort Claims, the trustee ultimately engaged special counsel, The Law Office of Philip Dracht ("Dracht") to pursue those
   claims on a contingency fee arrangement. The Bankruptcy Court approved Dracht's employment by order entered on August
   20, 2021 [Docket No. 184]. On November 3, 2021, Dracht filed a complaint on behalf of the bankruptcy estate against
   Slingerland, Ms. Steinke, Steinke APC, Mr. Schultz, and Hill Morgan (collectively, "Defendants") initiating adversary
   no. 2:21-ap-01221-BB (the "Adversary Proceeding").


   Multiple mediations occurred between the trustee and defendants/insurers which ultimately resulted in settlement whereby
   an aggregate settlement payment of $4,886,796.00. The settlement was approved by order of the Bankruptcy Court entered
   on February 8, 2023 [Docket No. 246].


   The debtor maintained two retirement plans, a 401(k) plan and a 403(b) plan. These plans comprised approximately 331
   employee accounts, and according to section 704(a)(11) of the Bankruptcy Code, it became the Trustee's responsibility to
   take over the administration of the Debtor 401(k) Plan. The Trustee collaborated with Kravitz, LLC, which agreed to
   assist with the termination process. The termination process was complex and involved negotiations, administrative
   steps, and collaboration between multiple parties. Though Kravitz was able to assist in much of the 401(k) termination
   process, Kravitz was unable to complete the final process of administering the accounts of approximately 186




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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                Page:      45
                                                                                                            ASSET CASES                                                                     Exhibit 8
Case No:             2:19-23085      BB    Judge: SHERI BLUEBOND                                                              Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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   participants in the 401(k) Plan that did not respond to the various notices relating to the 401(k) termination. The
   Trustee engaged the services of PenChecks Trust Company of America ("PenChecks") as reflected in the Stipulation Between
   Chapter 7 Trustee and PenChecks Trust Company of America Regarding Final Wind-Down and Dissolution of the Debtor's
   401(k) Plan [Docket No. 151], which the Bankruptcy Court approved by order entered September 8, 2020 [Docket No. 153].
   All funds were disbursed to participants.


   This is a summary of the major actions and administration of other assets are detailed on Form 1.


   Claim Issues:


   The Trustee and counsel reviewed the claims filed against the bankruptcy estate and determined that there were many
   claims that needed to be addressed. Claims were resolved through stipulations or amendments without the need to file
   formal objections.


   Tax Issues:


   The bankruptcy estate's tax returns were filed on or about July 3, 2023 for fiscal years ending June 30, 2018 thru June
   30, 2023. The tax returns were filed in compliance with 11 U.S.C. § 505(b) more than 60 days ago but the clearance
   letter has not been received. The returns are deemed accepted and the trustee discharged from tax liability by virtue
   of 11 U.S.C. § 505(b). The priority tax claim filed by the Franchise Tax Board is provided for in the Trustee's
   proposed distribution and will be paid at closing.


   The Trustee will remit payroll tax withholding deductions and the employer's payroll tax obligations (administrative
   taxes) to the Internal Revenue Service and Employment Development Department after the payroll tax returns are prepared
   post distribution. The total employee payroll deductions are $28,442.05 and the employer portion of the payroll taxes
   are $18,118.52.


   Professionals:


   The Trustee determined, in his reasonable business judgment that the issues presented warranted obtaining legal counsel.
   The Trustee retained Greenberg Glusker Fields Claman & Machtinger LLP and an Order Authorizing Employment was entered
   on January 10, 2020 effective November 11, 2019, docket number 66 and the final fee application is docket number 265.




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Case No:             2:19-23085       BB    Judge: SHERI BLUEBOND                                                             Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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   The Trustee retained Donald T. Fife, CPA of Hahn Fife & Company, LLP as the estate's accountant to prepare the necessary
   corporate tax returns for fiscal years ending June 30, 2018 thru June 30, 2023 and perform other accounting and
   financial duties assigned by the Trustee. The Order Authorizing Employment was entered July 7, 2022, docket number 53
   and the final fee application is docket number 59.


   Due to the large number of facilities, storage units, extensive personal property and the issues concerning preservation
   and compliance with the Grand Jury Subpoena, the trustee required the assistance of a field representative. The trustee
   retained Tony H. Shokrai of Interco Management Corporation. Order Authorizing Employment of Interco Management
   Corporation was entered January 28, 2020, docket number 81 and the final fee application is docket number 264.


   With respect to the Commercial Tort Claims, the trustee ultimately engaged special counsel, The Law Office of Philip
   Dracut to pursue those claims on a contingency fee arrangement. The Bankruptcy Court approved Dracht's employment by
   order entered on August 20, 2021, docket number 184. No additional fees or expenses are owed to this firm.


   The trustee also retained David Oshiro, debtor's former controller, as a paraprofessional to assist with the collection
   of the grant receivables. Mr. Oshiro provided limited support to the trustee's efforts. Mr. Oshiro did not request
   payment, file a fee application and the trustee has not heard from him in over two years.


   The debtor's former retirement plan consultant, Barbara Schwartz, filed a Proof of Claim in the total amount of $590.63
   claiming priority status and cites 11 U.S.C. § 503(b)(1)(A) for post-petition services. The trustee did not employ Ms.
   Schwartz and did not consider her a retained professional. The trustee communicated with her a few times early in the
   case to obtain necessary background information. Due to the small amount of the claim, the trustee is proposing to pay
   Ms. Schwartz as an administrative claimant considering the costs to otherwise adjudicate her entitlement to the claim.


   Distribution to Creditors:


   After full payment of over $1.1 million in priority claims, the trustee's administration of this estate is resulting in
   a 11% dividend to the general unsecured creditors with timely filed claims.


   Trustee's Fee:




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Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                            Date Filed (f) or Converted (c):   11/05/19 (f)
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   The Trustee submits that he effectively and efficiently administered this bankruptcy estate and therefore respectfully
   requests that pursuant to 11 U.S.C. §§ 326(a) and 330(a)(7) that a statutory fee/commission be allowed in the amount of
   $233,584.32. The requested fee is calculated on compensable receipts/disbursements of $6,677,810.76 as follows:


   25% of the first $5,000 =    $ 1,250.00
   10% of the next $45,000 = $ 4,500.00
   5% of the next $950,000 = $47,500.00
   3% of the Balance =         $170,334.32
   Total Fee: $223,584.32


   The trustee waives any increase in his statutory fee based on any future interest earned after the Trustee's Final
   Report has been prepared and the ultimate disbursement of funds. Pursuant to the United States Trustee memorandum dated
   March 25, 2002, all estate funds will remain in an interest bearing account until the trustee is ready to distribute
   the funds. Therefore, it is anticipated that the creditors who will receive dividends pursuant to this final report
   will receive a fractional amount more as a result of the additional accrued interest.


   Bank Service Fees:


   Pursuant to General Order 11-02, the Trustee has incurred and paid bank fees and charges directly related to the
   administration of the estate in the amount of $47,421.34. The Trustee seeks approval of this amount pursuant to 11
   U.S.C. § 330.


   Expenses:


   The Trustee is requesting a sum of $6,377.13 expenses paid. The primary portion of these expenses, totaling $5,600, is
   the amount paid by the trustee to the debtor's payroll service. This payment was made to acquire the 2019 W-2 forms for
   over 1900 employees. The remaining portion of the expenses includes minor amounts for photocopies, postage, and
   projected expenses related to the acquisition and mailing of the 2023 Forms W-2s to the wage claimants.




   PROCEDURAL SUMMARY THROUGH MARCH 31, 2023:




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Case No:             2:19-23085       BB    Judge: SHERI BLUEBOND                                                             Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The remaining asset
   being administered is the litigation against the debtor's former chief executive officer and chief financial officer.
   Please refer to asset number 30 for a detailed description. A settlement has been reached which will result in the
   bankruptcy estate receiving $4,886,796 consisting of $4,761,696 from two insurance companies and $125,000 from Dixon
   Slingerland. Order approving compromise entered February 8, 2023. The settlement funds from the insurance companies
   have been received and payment of $125,000 from Dixon Slingerland is due by April 30, 2023 at which time the estate will
   be fully administered. All claims have been reviewed and theTrustee is addressing issues directly with creditors to
   resolve. The Trustee does not anticipate claims or tax issues will impact closing.


   Dixon Slingleland, the debtor's former Chief Exeuctive Officer, entered a plead guilty on March 8, 2023 to a two count
   information charging him with conversion and misapplication of funds received from the debtor in the United States
   District Court, Central District of California case number CR 23-17-DMG. Sentencing is scheduled on July 25, 2023.


   PROCEDURAL SUMMARY THROUGH DECEMBER 31, 2022:


   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The remaing asset
   being administered is the litigation against the debtor's former chief executive officer and chief financial officer.
   Please refer to asset number 30 for a detailed description. A settlement has been reached which will result in the
   bankruptcy estate receiving $4,920,000 consisiting of $4,795,000 from two insurance companies and $125,000 from the
   former chief financial officer by April 30, 2023. Drafts of the Settlement Agreement are current being circulated
   between the parites. All claims have been reviwed and the Trustee is addressing issues directly with creditors to
   resolve.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2022:


   The Debtor's financial affairs are wide ranging and complex and have been extensively investigated. The primary remaing
   asset being administered is the litigation against the debtor's former chief executive officer. Mediation is scheduled
   on May 2, 2022. Please refer to asset number 30 for a detailed description. The Trustee is also continuing to try
   to obtain three FUTA overpayment refunds [assets 28, 74 and 75] from the Internal Revenue Service.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2021:




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Case No:             2:19-23085         BB   Judge: SHERI BLUEBOND                                                            Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                                                                              Claims Bar Date:                   03/17/20
   The Debtor's financial affairs are wide ranging and complex. The Trustee and his professionals are finalzing the
   investigation. A detailed description accompanies each asset. As discussed in the prior report, the Non Profit Finance
   Fund ("NFF") is owed approximately $4.35M and is secured by a blanket security agreement in all of the debtor's assets.
   The Trustee entered into stipulation with NFF which includes carve-outs net of collection expenses as follows: (a)
   grant assets 30% to the bankruptcy estate; (b) commercial tort claims 90% to the bankruptcy estate; (c) FUTA tax
   overpayments 50% to the bankruptcy estate; and (d) cash on hand of approximately $130,000 as of the date of stipulation
   100% to the bankruptcy estate. Order approving compromise granting certain carve-outs entered May 4, 2020. This
   arrangement is beneficial to the unsecured creditors of the estate. The Trustee does not anticipate that claims issues
   or tax issues will impact closing.


   PROCEDURAL SUMMARY THROUGH MARCH 31, 2020:


   The Debtor's financial affairs are wide ranging and complex. The Trustee and his professionals are in the early stages
   of the investigation. The Debtor's creditor matrix accompanying the Petition consists of approximately 356 pages and
   lists approximately 2,760 parties.


   The Debtor is a non-profit corporation which operated after-school and extracurricular programs at nearly 100 sites in
   the Los Angeles area and focused on the highest need communities. In operating these programs, the Debtor was funded
   primarily through sizeable federal and state government grants. In fact, the Debtor's most recent publicly available
   tax return shows grants totaling more than $40 million for both fiscal years 2016/2017 and 2015/2016. In early 2019, an
   audit revealed irregularities in expense reimbursements made to the former CEO, Dixon Singerland ("Mr. Singerland"),
   and inaccurate disclosures and reports made in connection with the various grants the Debtor received. The Debtor's
   Board of Directors therefore formed a special committee and investigated these irregularities and, through its
   investigations concluded that Mr. Singerland used the Debtor's funds for unauthorized and personal expenditures, and
   further directed inaccurate reporting to certain government agencies.


   After obtaining an extension of the deadline to file its required disclosure schedules and statements, on December 3,
   2019, the Debtor filed its Schedules, Statement of Financial Affairs and other case commencement documents
   (collectively, the "Schedules and SOFA"). In the Schedules and SOFA, the Debtor discloses, among other things,
   approximately 981 unsecured creditors - 834 priority unsecured creditors consisting primarily of wage claimants, and 147
   general unsecured creditors. In addition, the Schedules and SOFA identify approximately 163 contract counterparties
   relating to pre-petition executory contracts and unexpired leases.




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                                                                                                             ASSET CASES                                                                    Exhibit 8
Case No:             2:19-23085      BB     Judge: SHERI BLUEBOND                                                             Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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   The Schedules and SOFA, which have been prepared by the interim management of the Debtor, disclose over $9.2 million in
   assets and approximately $12.2 million in liabilities, including a secured liability of approximately $4.35 million owed
   to Non Profit Finance Fund ("NFF"). The most significant asset category disclosed by the Debtor are receivables -
   consisting generally of approximately $2.6 million in immediately due receivables and approximately $5.4 million in
   "unbilled" grant receivables. The Trustee understands that most, if not all, of these receivables relate to various
   government grants for programs previously conducted and are likely subject to certain reporting requirements and may be
   further subject to certain government agency claims.


   The Schedules and SOFA also disclose certain causes of action against Mr. Singerland in the aggregate amount of
   approximately $1.77 million, the collection of which may require litigation and may implicate certain pre-petition
   insurance policies held by the Debtor.
   The events detailed by the Debtor, especially those relating to alleged falsified or incorrect reporting to government
   agencies, has prompted numerous government agencies to launch investigations of their own into the affairs of the Debtor
   and Mr. Singerland. One such investigation has been initiated by the U.S. Department of Labor, as to which a grand
   jury subpoena was served on the Trustee on November 26, 2019. The Trustee is working cooperatively with the assigned
   Assistant United States Attorney to provide all documents required to comply with the subpoena. The Trustee further
   expects to be served with additional subpoenas as this chapter 7 bankruptcy progresses.


   The Debtor's Schedules and SOFA further disclose an interest in a 401(k) plan and 403(b) plan, both of which the Debtor
   has disclosed were not terminated as of the Petition Date. The Trustee has been working closely with the appropriate
   parties to promptly commence a wind-down and termination of these plans.


   As noted above, the Debtor's Schedules and SOFA disclose a secured claim held by NFF in the approximate amount of $4.35
   million. On November 25, 2019, NFF filed Nonprofit Finance Fund's Statement of Non-Consent to Use of Cash Collateral
   (the "NFF Statement"). According to the NFF Statement, NFF asserts a first priority lien in all receivables the Trustee
   is seeking to recover for the benefit of the bankruptcy estate. The Trustee is actively addressing the NFF secured
   claim in order to obtain value for unsecured creditors.


   Prior to the petition date, the Debtor was party to a commercial lease of certain real property located at 2707-11
   Beverly Blvd., Los Angeles, CA 90057 (the "Beverly Facility"). The Trustee has visited the Beverly Facility and has
   observed that a substantial amount of personal property of the Debtor remains at the Beverly Facility, including but not




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Case No:             2:19-23085      BB    Judge: SHERI BLUEBOND                                                              Trustee Name:                      JASON M. RUND, TRUSTEE
Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Date Filed (f) or Converted (c):   11/05/19 (f)
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   limited to furniture, fixtures and equipment; supplies used for the Debtor's various after-school and related programs;
   and paper records. The Schedules and SOFA further disclose the Debtor was party to pre-petition leases at the
   following locations, some or all of which may contain personal property and documents of the Debtor: (a) Pacoima/North
   Valley Worksource Center, 1201 Truman St., Suite A, San Fernando CA 91340; (b) the Debtor's former headquarters at 6464
   Sunset Blvd., Suite 650, Los Angeles, CA 90028; (c) Hollywood FamilySource Center, Units 110-113, 1075 N. Western Ave.,
   Los Aneles CA 90038; and (d) WorkSource Center (Temp. Site) 13420 Van Nuys Blvd., Suite 221, Pacoima, CA 91331.


   The Schedules and SOFA further disclose three off-site storage facilities, at which certain of the Debtor's personal
   property and documents are stored: (a) Arleta Storage, 8918 Woodman Ave., Arleta, CA 91331; (b) Iron Mountain, 100
   Campus Dr., Collegeville, PA 19426; and (c) Nova Storage, 13043 Foothill Blvd., Sylmar, CA 91342. The Trustee has
   further come to learn that certain personal property of the Debtor is being held at the following locations, which were
   not disclosed by the Debtor in the Schedules and SOFA: (a) Extra Space Storage, 4728 Fountain, Los Angeles CA 90028; and
   (b) San Fernando Gardens Community Center, 10896 Lehigh Ave, Pacoima, CA 91331. As the Debtor conducted programs at
   numerous sites in the greater Los Angeles area, the Trustee anticipates there may be additional personal property of the
   Debtor held at locations currently unknown to the Trustee. The Trustee is working to preserve necessary records and
   abandon the various premises.


   The Trustee does not anticipte claims issues or tax issues will delay closing.


   The Trustee retained Hahn Fife & Company, LLP as his accountant and the order approving employment was entered January
   8, 2020.


   The Trustee retained Greenberg Glusker Fields Claman & Machtinger LLP as his counsel and the order approving employment
   was entered January 10, 2020.


   The Trustee retained David Oshiro as his paraprofessional to help with grant collections and the order approving
   employment was entered January 16, 2020.


   The Trustee retained Interco Management Corporation as field agent to assist with the numerous facilties and records and
   the order approving employment was entered January 28, 2020.


   Initial Projected Date of Final Report (TFR): 10/31/23            Current Projected Date of Final Report (TFR): 10/31/23




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Case Name:          YOUTH POLICY INSTITUTE, INC.                                                   Date Filed (f) or Converted (c):   11/05/19 (f)
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             2:19-23085 -BB                                                                                            Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                              Bank Name:                         AXOS BANK
                                                                                                                                 Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                    Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                              3                                                  4                                                5                       6                   7
    Transaction       Check or                                                                                                          Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                   0.00
          11/15/19       66       Bank of America Corp.                          Contribution to debtor                                1229-000               50,000.00                                      50,000.00
                                  3400 Pawtucket Avenue
                                  RI1-5301-01-16
                                  East Providence, RI 02915
          11/15/19       67       Best Buy Foundation                            Grant to debtor                                       1229-000               10,000.00                                      60,000.00
                                  c/o Cyber Grants
                                  300 Brickstone Square, Suite 601
                                  Andover, MD 01810
          11/15/19       67       South Bay Workforce Investment Board Inc       Grant to debtor                                       1229-000                   1,200.00                                   61,200.00
                                  11539 Hawthorne Blvd., Suite 500               75% Reimbursement for DCFS Tier II - March 2019
                                  Hawthorne, CA 90250
          11/25/19       68       Paramount Contractors & Development Inc.       Return of key deposit                                 1229-000                     50.00                                    61,250.00
                                  6464 Sunset Boulevard, Suite 700               Former executive offices on Sunset Boulevard.
                                  Hollywood, CA 90028
          11/26/19        3       Wells Fargo Bank, N.A.                         Turnover of account                                   1129-000                   4,545.49                                   65,795.49
                                  P.O. Box 5131, N9777-112 OFC                   number ending in 7145
                                  Sioux Falls, SD 57117-5131
          11/26/19        2       Wells Fargo Bank, N.A.                         Turnover of account                                   1129-000                     47.43                                    65,842.92
                                  P.O. Box 5131, N9777-112 OFC                   number ending in 4905
                                  Sioux Falls, SD 57117-5131
          11/26/19        1       Wells Fargo Bank, N.A.                         Turnover of account                                   1129-000                        0.78                                  65,843.70
                                  P.O. Box 5131, N9777-112 OFC                   number ending in 4008
                                  Sioux Falls, SD 57117-5131
          12/05/19       70       Citibank, N.A.                                 Settlement re lien created on all p                   1229-000                   1,968.62                                   67,812.32
                                  One Penn's Way                                 number ending in 0190
                                  New Castle, DE 19720
          12/05/19        6       Citibank, N.A.                                 Turnover of account                                   1129-000                    401.10                                    68,213.42
                                  One Penn's Way                                 number ending in 5922
                                  New Castle, DE 19720

                                                                                                                                 Page Subtotals               68,213.42                      0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             2:19-23085 -BB                                                                                            Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                              Bank Name:                         AXOS BANK
                                                                                                                                 Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                    Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                               3                                                 4                                                5                       6                   7
    Transaction       Check or                                                                                                          Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          12/05/19        5       Citibank, N.A.                                  Turnover of account                                  1129-000                   1,251.29                                   69,464.71
                                  One Penn's Way                                  number ending in 5858
                                  New Castle, DE 19720
          12/05/19       71       Citibank, N.A.                                  Turnover of account                                  1229-000                     85.00                                    69,549.71
                                  One Penn's Way                                  number ending in 0216
                                  New Castle, DE 19720
          12/05/19        7       Citibank, N.A.                                  Turnover of account                                  1129-000                        9.82                                  69,559.53
                                  One Penn's Way                                  number ending in 7439
                                  New Castle, DE 19720
          12/05/19        8       Citibank, N.A.                                  Turnover of account                                  1129-000               23,725.00                                      93,284.53
                                  One Penn's Way                                  number ending in 6410
                                  New Castle, DE 19720
          12/12/19       69       Reuben Warner Associates, Inc.                  Insurance refund -                                   1229-000                   2,228.94                                   95,513.47
                                  BOA-Premium Account                             Berkley Life and Health
                                  1655 Richmond Avenue
                                  Staten Island, NY 10314
          12/12/19       67       Vaughn Next Century Learning Center             FY 18-19 Gear Up Budget                              1229-000                   2,587.50                                   98,100.97
                                  13330 Vaughn Street
                                  San Fernando, CA 91340
          12/16/19        4       Citigroup Global Markets, Inc.                  Turnover of account                                  1129-000                   6,704.53                               104,805.50
                                  390-388 Greenwich Street                        number ending in 1997
                                  New York, NY 10013-2375
          12/20/19        9       Paypal FBO                                      Turnover of account                                  1129-000               25,528.68                                  130,334.18
                                  2211 N. First Street
                                  San Jose, CA 95131
          01/22/20     002001     INTERNATIONAL SURETIES, LTD.                    Bond Payment- Bond Number 016030867                  2300-000                                           62.87          130,271.31
                                  SUITE 420                                       Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          04/13/20       72       City of Los Angeles                             Refund - Department of Building                      1229-000                   1,540.59                               131,811.90

                                                                                                                                Page Subtotals                63,661.35                    62.87
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          UST Form 101-7-TDR (10/1/2010) (Page: 202)
                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                            Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             2:19-23085 -BB                                                                                              Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                Bank Name:                         AXOS BANK
                                                                                                                                   Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                               4                                                   5                       6                   7
    Transaction       Check or                                                                                                            Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction                Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  200 N. Spring Street, Suite 201                 and Safety
                                  Los Angeles, CA 90012
          04/13/20       72       City of Los Angeles                             Refund - Department of Building                        1229-000                     38.64                                131,850.54
                                  200 N. Spring Street, Suite 201                 and Safety
                                  Los Angeles, CA 90012
          05/01/20       73       Universal Bank                                  Turnover of account                                    1229-000                   1,336.38                               133,186.92
                                  3455 Noagles Street
                                  West Covina, CA 91792
          06/17/20     002002     Trustee Insurance Agency                        Statement Number 4145                                  2420-000                                          2,635.41        130,551.51
                                  2813 West Main                                  Order on Trustee's Notice of Intent to Pay
                                  Kalamazoo, MI 49006                             Administrative Expenses entered June 16, 2020.
          10/16/20       29       United States Treasury                          FUTA Overpayment - 2018                                1124-000               58,123.87                                  188,675.38
                                  Kansas City, MO
          10/16/20       28       United States Treasury                          FUTA Overpayment - 2017                                1124-000              137,820.76                                  326,496.14
                                  Kansas City, MO
          11/13/20       74       United States Treasury                          FUTA Overpayment - 2016 Interest                       1224-000                   4,820.96                               331,317.10
                                  Kansas City, MO
          01/22/21     002003     International Sureties, LTD                     Bond Payment. Bond Number 016229730                    2300-000                                           297.29         331,019.81
                                  701 Poydras Street, Suite 420                   Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                  New Orleans, LA 70139
          02/08/21       20       Alta Public Schools                             Accounts receivable                                    1121-000               20,000.00                                  351,019.81
                                  DBA Academia Moderna
                                  2410 Broadway Avenue
                                  Walnut Park, CA 90255
          03/01/21       20       City of Los Angeles                             Housing Community Investment                           1121-000              460,078.60                                  811,098.41
                                  Los Angeles City Treasury                       Grant receivable
                                  200 N. Spring Street, Room 201                  Order approving compromise entered February 12,
                                  Los Angeles, CA 90012                           2021.
          03/03/21                AXOS BANK                                       BANK SERVICE FEE                                       2600-000                                           344.36         810,754.05
          04/02/21                AXOS BANK                                       BANK SERVICE FEE                                       2600-000                                           878.80         809,875.25

                                                                                                                                   Page Subtotals              682,219.21                   4,155.86
                                                                                                                                                                                                               Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                           Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             2:19-23085 -BB                                                                                             Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                               Bank Name:                         AXOS BANK
                                                                                                                                  Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                     Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


           1              2                               3                                                 4                                                 5                       6                   7
     Transaction      Check or                                                                                                           Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          05/03/21                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                          865.38          809,009.87
 *        05/21/21       21       Los Angeles City Treasury                       Grant receivable                                      1121-003               29,986.81                                  838,996.68
                                  200 N. Spring Street, Room 201                  Project Impact (Proposition 47)
                                  Los Angeles, CA 90012
 *        05/26/21       21       Los Angeles City Treasury                       Grant receivable                                      1121-003              -29,986.81                                  809,009.87
                                  200 N. Spring Street, Room 201                  Deposted entered for incorrect amount.
                                  Los Angeles, CA 90012
          05/26/21       21       Los Angeles City Treasury                       Grant receivable                                      1121-000               26,986.81                                  835,996.68
                                  200 N. Spring Street, Room 201                  Project Impact (Proposition 47)
                                  Los Angeles, CA 90012                           Redeposit to reflect correct deposit amount.
          06/01/21                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                          901.09          835,095.59
          06/02/21       21       Los Angeles City Treasury                       Grant receivable                                      1121-000               29,819.70                                  864,915.29
                                  200 N. Spring Street, Room 201                  Gang Reduction Youth Development (GRYD) for
                                  Los Angeles, CA 90012                           February 2019 and March 2019.
          06/04/21       53       ProSight Speciality Insurance                   Payment pursuant to compromise                        1141-000                   8,500.00                               873,415.29
                                  New York Marine & General Insurance Co.         Benuck & Rainey, Inc. collection agent for ProSight
                                  412 Mt Kemble Avenue, Suite 300C                Insurance.
                                  Morristown, CA 07960
          06/10/21       76       Wells Fargo Bank, N.A.                          Miscelleaneous Receipt                                1229-000                     10.54                                873,425.83
                                  P.O. Box 5131, N9777-112 OFC
                                  Sioux Falls, SD 57117-5131
          06/21/21       47       TPR Education, LLC                              Payment pursuant to compromise                        1141-000               20,000.00                                  893,425.83
                                  110 E. 42nd Street, Suite 700
                                  New York, NY 10017
          07/01/21                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                          935.72          892,490.11
          08/02/21                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                          985.41          891,504.70
          09/01/21                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                          984.35          890,520.35
          09/22/21       77       Principal Life Insurance Company                Payment pursuant to compromise                        1241-000               10,000.00                                  900,520.35
                                  711 High Street


                                                                                                                                  Page Subtotals               95,317.05                  4,671.95
                                                                                                                                                                                                              Ver: 22.07l
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          UST Form 101-7-TDR (10/1/2010) (Page: 204)
                                       Case 2:19-bk-23085-BB                   Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                          Desc
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             2:19-23085 -BB                                                                                              Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                                Bank Name:                         AXOS BANK
                                                                                                                                   Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                      Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                   Separate Bond (if applicable):


           1              2                                3                                                 4                                                 5                       6                   7
    Transaction       Check or                                                                                                            Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction              Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                  Des Moines, IA 50392
          09/24/21       45       Vision Service Plan                               Payment pursuant to compromise                       1141-000                   7,500.00                               908,020.35
                                  333 Quality Drive
                                  Rancho Cordova, CA 95670
          10/01/21                AXOS BANK                                         BANK SERVICE FEE                                     2600-000                                           955.08         907,065.27
          10/07/21       42       Orenda Education                                  Payment pursuant to compromise                       1141-000               25,000.00                                  932,065.27
                                  2101 E. Fourth Street, Suite 200B
                                  Santa Ana, CA 92705
          10/18/21       28       United States Treasury                            FUTA Overpayment - 2017                              1124-000               73,606.21                                 1,005,671.48
                                  Kansas City, MO
          11/01/21       33       Greenberg Glusker                                 Payment pursuant to compromise                       1141-000              294,107.90                                 1,299,779.38
                                  2049 Centura Park East, Suite 2600
                                  Los Angeles, CA 90067
          11/01/21                AXOS BANK                                         BANK SERVICE FEE                                     2600-000                                          1,056.95       1,298,722.43
          11/29/21                County of Los Angeles                             Grant receivable                                                            53,698.00                                 1,352,420.43
                                  The Treasurer of County of Los Angeles            July 2019 (asset 21) $20,415.39
                                  500 West Temple Street, Room 502                  August and September 2019 (asset 20) $33,282.61
                                  Los Angeles, CA 90012
                         21                                                             Memo Amount:             20,415.39               1121-000
                                                                                    July 2019
                         20                                                            Memo Amount:              33,282.61               1121-000
                                                                                    August/September 2019
          12/01/21                AXOS BANK                                         BANK SERVICE FEE                                     2600-000                                          1,379.11       1,351,041.32
          12/02/21       48       California Dental Health Network, Inc.            Payment pursuant to compromise                       1141-000                   7,467.00                              1,358,508.32
                                  23291 Mill Creek Drive, Suite 100
                                  Laguna Hills, CA 92653
          01/03/22                AXOS BANK                                         BANK SERVICE FEE                                     2600-000                                          1,498.61       1,357,009.71
          01/14/22     002004     International Sureties, LTD                       Bond Payment. Bond Number 016229730                  2300-000                                           681.41        1,356,328.30
                                  701 Poydras Street, Suite 420                     Issued pursuant to Local Bankruptcy Rule 2016-2(c)


                                                                                                                                  Page Subtotals               461,379.11                   5,571.16
                                                                                                                                                                                                               Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                          Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             2:19-23085 -BB                                                                                           Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Bank Name:                       AXOS BANK
                                                                                                                                Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                   Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                               4                                                 5                     6                   7
    Transaction       Check or                                                                                                         Uniform                                                    Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)       Disbursements ($)        Balance ($)
                                  New Orleans, LA 70139
          02/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,498.22       1,354,830.08
          03/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,351.12       1,353,478.96
          03/10/22       55       California Community Foundation                Payment pursuant to compromise                       1141-000              400,000.00                               1,753,478.96
                                  221 S. Figueroa Street, Suite 400
                                  Los Angeles, CA 90012
          04/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,793.57       1,751,685.39
          05/02/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,871.66       1,749,813.73
          06/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,932.05       1,747,881.68
          07/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,867.60       1,746,014.08
          08/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,927.79       1,744,086.29
          09/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,925.66       1,742,160.63
          10/03/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,861.49       1,740,299.14
          10/31/22      INT       AXOS BANK                                      Interest Rate 0.005                                  1270-000                   667.63                              1,740,966.77
          11/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,921.64       1,739,045.13
          11/30/22      INT       AXOS BANK                                      Interest Rate 0.005                                  1270-000                   714.82                              1,739,759.95
          12/01/22                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,858.18       1,737,901.77
          12/31/22      INT       AXOS BANK                                      Interest Rate 0.005                                  1270-000                   738.16                              1,738,639.93
          01/03/23                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        1,918.89       1,736,721.04
          01/06/23     002005     INTERNATIONAL SURETIES, LTD.                   Bond Payment. Bond Number 016229730                  2300-000                                         782.48        1,735,938.56
                                  SUITE 420                                      Issued pursuant to Local Bankruptcy Rule 2016-2(c)
                                  701 POYDRAS ST.
                                  NEW ORLEANS, LA 70139
          01/31/23       30       RSUI Indemnity Company                         Payment pursuant to compromise                       1149-000            2,761,796.00                               4,497,734.56
                                  945 East Places Ferry Road
                                  Suite 1800
                                  Atlanta, GA 30326-1160
          01/31/23      INT       AXOS BANK                                      Interest Rate 0.005                                  1270-000                   737.48                              4,498,472.04
          02/01/23                AXOS BANK                                      BANK SERVICE FEE                                     2600-000                                        2,015.45       4,496,456.59


                                                                                                                               Page Subtotals             3,164,654.09                24,525.80
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             2:19-23085 -BB                                                                                            Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                              Bank Name:                         AXOS BANK
                                                                                                                                 Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                    Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                                3                                                 4                                               5                         6                   7
    Transaction       Check or                                                                                                          Uniform                                                        Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)          Balance ($)
          02/28/23      INT       AXOS BANK                                       Interest Rate 0.005                                  1270-000                   1,724.99                                4,498,181.58
          03/01/23                AXOS BANK                                       BANK SERVICE FEE                                     2600-000                                            1,994.52       4,496,187.06
          03/03/23       30       The Hanover Insurance Company                   Payment pursuant to compromise                       1149-000            2,000,000.00                                   6,496,187.06
                                  P.O. Box 15149
                                  Worcester, MA 01615
          03/08/23     002006     International Sureties, LTD                     Trustee Separate Case Bond                           2300-000                                            6,500.00       6,489,687.06
                                  701 Poydras Street, Suite 420                   Bond Number 016239331
                                  New Orleans, LA 70139
          03/13/23     002007     LAW OFFICE OF PHILIP DRACHT                     Attorneys Fees - Special Counsel                    3210-600                                       1,571,392.68         4,918,294.38
                                  15 W. CARRILLO STREEET, SUITE 250               Order Granting Trustee's Motion Under Federal Rules
                                  SANTA BARBARA, CA 93101                         of Bankruptcy Procedure 9019 entered February 8,
                                                                                  2023. Funds received: RSUI: $2,761,796.00 and
                                                                                  Hanover: $2,000,000.00. $4,761,796.00 x .33 =
                                                                                  $1,571,392.68
          03/13/23     002008     LAW OFFICE OF PHILIP DRACHT                     Attorney Costs - Special Counsel                    3220-610                                             1,701.96       4,916,592.42
                                  15 W. CARRILLO STREEET, SUITE 250               Order Granting Trustee's Motion Under Federal Rules
                                  SANTA BARBARA, CA 93101                         of Bankruptcy Procedure 9019 entered February 8,
                                                                                  2023.
          03/28/23                Global Surety, LLC                              Bond Premium Refund                                  2300-000                                            -1,583.00      4,918,175.42
                                  Operating Account                               Trustee is treating the amount received as a
                                  701 Poydras, Suite 420                          non-compensable negative disbursement
                                  New Orleans, LA 70139
          03/31/23     002009     International Sureties, LTD                     Trustee Separate Case Bond                           2300-000                                                8.00       4,918,167.42
                                  701 Poydras Street, Suite 420                   Bond Number 016239331
                                  New Orleans, LA 70139                           Bond amount adjustment
          04/02/23      INT       AXOS BANK                                       Interest Rate 0.005                                  1270-000                   2,410.72                                4,920,578.14
          04/03/23                AXOS BANK                                       BANK SERVICE FEE                                     2600-000                                            2,208.22       4,918,369.92
          04/28/23       30       Dixon Slingerland                               Payment pursuant to compromise                       1149-000              125,000.00                                   5,043,369.92
                                  Suzanne Steinke
                                  4247 Camelia Avenue

                                                                                                                                 Page Subtotals            2,129,135.71               1,582,222.38
                                                                                                                                                                                                               Ver: 22.07l
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          UST Form 101-7-TDR (10/1/2010) (Page: 207)
                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                         Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             2:19-23085 -BB                                                                                           Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Bank Name:                         AXOS BANK
                                                                                                                                Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                   Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                                  4                                              5                       6                   7
    Transaction       Check or                                                                                                           Uniform                                                   Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction               Tran. Code     Deposits ($)         Disbursements ($)       Balance ($)
                                  Studio City, CA 91604
          04/30/23      INT       AXOS BANK                                       Interest Rate 0.005                                   1270-000                 1,886.85                             5,045,256.77
          05/01/23                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                        2,136.99      5,043,119.78
          05/02/23     002010     International Sureties, LTD                     Trustee Separate Case Bond                            2300-000                                         108.00       5,043,011.78
                                  701 Poydras Street, Suite 420                   Aggregate Limit Increase
                                  New Orleans, LA 70139                           Bond Number 016239331
          05/09/23     002011     LAW OFFICE OF PHILIP DRACHT                     Attorneys Fees - Special Counsel                    3210-600                                       41,250.00        5,001,761.78
                                  15 W. CARRILLO STREEET, SUITE 250               Order Granting Trustee's Motion Under Federal Rules
                                  SANTA BARBARA, CA 93101                         of Bankruptcy Procedure 9019 entered February 8,
                                                                                  2023. Funds received: Dixon Slingerland:
                                                                                  $125,00.00 x .33 = $41,250.00
          05/31/23      INT       AXOS BANK                                       Interest Rate 0.005                                   1270-000                 2,142.00                             5,003,903.78
          06/01/23                AXOS BANK                                       BANK SERVICE FEE                                      2600-000                                        2,208.22      5,001,695.56
          06/12/23     002012     Nonprofit Finance Fund                          Pursuant to Order Approving                           4210-000                                    826,933.37        4,174,762.19
                                  Sidley Austin LLP                               Stipulation Between Chapter 7 Trustee and Nonprofit
                                  Attn Genevieve G Weiner                         Finance Fund Regarding Secured Claim Distribution
                                  555 W Fifth St Ste 4000                         entered June 9, 2023
                                  Los Angeles CA 90013                            The Stipulation is in furtherance of the Order
                                                                                  Granting Chapter 7 Trustee’s Motion Under Fed. R.
                                                                                  Bankr. P. 9019 for Order Approving Stipulation
                                                                                  Between Chapter 7 Trustee and Secured Creditor
                                                                                  Nonprofit Finance Fund: (1) Authorizing Use of Cash
                                                                                  Collateral; (2) Granting Certain Carve Outs from
                                                                                  Senior Lien in Favor of the Bankruptcy Estate; and
                                                                                  (3) Resolving Disputes
                                                                                  Regarding Secured Claim and Extent of Lien entered
                                                                                  May 4, 2019.
          06/26/23       79       Citibank                                        Turnover of bank account                              1229-000                 3,717.81                             4,178,480.00
                                  1000 Technology Drive, MS 785
                                  O'Fallon, MO 63368

                                                                                                                                Page Subtotals                   7,746.66            872,636.58
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                      Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             2:19-23085 -BB                                                                                       Trustee Name:                      JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                         Bank Name:                         AXOS BANK
                                                                                                                            Account Number / CD #:             *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                               Blanket Bond (per case limit):     $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                   7
    Transaction       Check or                                                                                                     Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
          07/02/23      INT       AXOS BANK                                      Interest Rate 0.005                              1270-000                   2,049.42                             4,180,529.42
          07/03/23                AXOS BANK                                      BANK SERVICE FEE                                 2600-000                                          2,136.99      4,178,392.43
          07/31/23      INT       AXOS BANK                                      Interest Rate 0.005                              1270-000                   1,660.22                             4,180,052.65
          08/01/23                AXOS BANK                                      BANK SERVICE FEE                                 2600-000                                          2,208.22      4,177,844.43
          08/31/23      INT       AXOS BANK                                      Interest Rate 0.005                              1270-000                   1,774.52                             4,179,618.95
          10/01/23      INT       AXOS BANK                                      Interest Rate 0.005                              1270-000                   1,775.27                             4,181,394.22
          10/31/23      INT       AXOS BANK                                      Interest Rate 0.005                              1270-000                   1,718.73                             4,183,112.95
          11/24/23      INT       AXOS BANK                                      Interest Rate 0.000                              1270-000                   1,318.16                             4,184,431.11
          11/29/23     002013     JASON M. RUND                                  Chapter 7 Compensation/Fees                      2100-000                                      223,584.32        3,960,846.79
                                  270 CORAL CIRCLE
                                  EL SEGUNDO, CA 90245
          11/29/23     002014     JASON M. RUND                                  Chapter 7 Expenses                               2200-000                                          6,377.13      3,954,469.66
                                  270 CORAL CIRCLE
                                  EL SEGUNDO, CA 90245
          11/29/23     002015     United States Bankruptcy Court                 Court Costs                                      2700-000                                           350.00       3,954,119.66
                                  255 East Temple Street, Room 100
                                  Los Angeles, CA 90012
          11/29/23     002016     Greenberg Glusker Fields                       Attorney's Fees                                  3210-000                                      558,314.50        3,395,805.16
                                  Claman & Machtinger LLP
                                  2049 Century Park East, Suite 2600
                                  Los Angeles, CA 90067
          11/29/23     002017     Greenberg Glusker Fields                       Attorney's Expenses                              3220-000                                          9,488.16      3,386,317.00
                                  Claman & Machtinger LLP
                                  2049 Century Park East, Suite 2600
                                  Los Angeles, CA 90067
          11/29/23     002018     HAHN FIFE & COMPANY LLP                        Accountant's Fees                                3410-000                                       40,476.00        3,345,841.00
                                  Donald T. Fife, CPA
                                  1055 East Colorado Blvd., 5th Floor
                                  Pasadena, CA 91106


                                                                                                                            Page Subtotals               10,296.32               842,935.32
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             2:19-23085 -BB                                                                                      Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                        Bank Name:                       AXOS BANK
                                                                                                                           Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                  7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          11/29/23     002019     HAHN FIFE & COMPANY LLP                        Accountant's Expenses                           3420-000                                           921.10       3,344,919.90
                                  Donald T. Fife, CPA
                                  1055 East Colorado Blvd., 5th Floor
                                  Pasadena, CA 91106
          11/29/23     002020     Barbara J Schwartz                             Claim 000160, Payment 100.00000%                3991-000                                           590.63       3,344,329.27
                                  4640 ADMIRALTY WAY SUITE 500
                                  MARINA DEL REY, CA 90292
          11/29/23     002021     Interco Management Corporation                 Field Agent Fees                                3991-400                                       45,000.00        3,299,329.27
                                  2118 Wilshire Boulevard, Suite 717
                                  Santa Monica, CA 90403
          11/29/23     002022     Interco Management Corporation                 Field Agent Expenses                            3992-410                                          5,681.40      3,293,647.87
                                  2118 Wilshire Boulevard, Suite 717
                                  Santa Monica, CA 90403
          11/29/23     002023     MDB International Branding LLC                 Claim 000101B, Payment 100.00000%               2410-000                                      105,000.00        3,188,647.87
                                  Daniel Bohbot
                                  2707-2711 Beverly Blvd
                                  Los Angeles, CA 90057
          11/29/23     002024     FRANCHISE TAX BOARD                            Claim 000166, Payment 100.00000%                2690-730                                          3,793.68      3,184,854.19
                                  BANKRUPTCY SECTION MS A340
                                  PO BOX 2952
                                  SACRAMENTO CA 95812-2952
          11/29/23     002025     HEATHER FUKUNAGA                               Claim 000001, Payment 100.00000%                5300-000                                          4,069.23      3,180,784.96
                                  229 VIA DE AMO
                                  FALLBROOK, CA 92028
          11/29/23     002026     Amber Skrumbis                                 Claim 000002, Payment 100.00000%                5300-000                                          2,773.37      3,178,011.59
                                  2628 Surrey Avenue
                                  Modesto, CA 95355
          11/29/23     002027     ANGELICA ARNOLD                                Claim 000004, Payment 100.00000%                5300-000                                          2,761.93      3,175,249.66
                                  1635 N MARTEL AVE APT 304
                                  LOS ANGELES, CA 90046

                                                                                                                           Page Subtotals                        0.00           170,591.34
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                    Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             2:19-23085 -BB                                                                                    Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                      Bank Name:                       AXOS BANK
                                                                                                                         Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                              3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                  Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002028     Sofia Goode                                    Claim 000005, Payment 100.00000%              5300-000                                          2,648.63       3,172,601.03
                                  1070 S Crescent Heights Blvd
                                  Los Angeles, CA 90035
          11/29/23     002029     VERONICA Z. ANAYA                              Claim 000007, Payment 100.00000%              5300-000                                          1,746.11       3,170,854.92
                                  1150 N Evergreen St
                                  Burbank, CA 91505
          11/29/23     002030     JOSE ESTRADA                                   Claim 000008, Payment 100.00000%              5300-000                                           252.49        3,170,602.43
                                  21225 SATICOY STREET APT 4                     (8-1) Account Number (last 4
                                  CANOGA PARK, CA 91304                          digits):8339
          11/29/23     002031     Carlos Saul Sical Sanchez                      Claim 000009, Payment 100.00000%              5300-000                                          2,093.86       3,168,508.57
                                  19401 Haynes St, Apt. 10                       (9-1) Account Number (last 4
                                  Reseda, CA 91335-9133                          digits):8339
 *        11/29/23     002032     CAMILLE BULACLAC                               Claim 000011, Payment 100.00000%              5300-004                                          1,753.13       3,166,755.44
                                  100 SOUTH ALTADENA DRIVE APT 9                 (11-1) Account Number (last 4
                                  PASADENA, CA 91107                             digits):8339
          11/29/23     002033     JULIE LE                                       Claim 000014, Payment 100.00000%              5300-000                                          1,654.64       3,165,100.80
                                  27498 DAFFODIL COURT APT 308
                                  SANTA CLARITA, CA 91350
          11/29/23     002034     NICHOLAS WU                                    Claim 000020, Payment 100.00000%              5300-000                                          8,231.55       3,156,869.25
                                  5510 POPLAR BLVD
                                  LOS ANGELES, CA 90032
          11/29/23     002035     EMILSA GUTIERREZ                               Claim 000026, Payment 100.00000%              5300-000                                          2,880.31       3,153,988.94
                                  225 1/2 E 30TH ST
                                  LOS ANGELES, CA 90011
          11/29/23     002036     MAYRA GUTIERREZ                                Claim 000029, Payment 100.00000%              5300-000                                          2,737.59       3,151,251.35
                                  13085 DESMOND ST
                                  PACOIMA, CA 91331
          11/29/23     002037     KIMBERLY A MELGAR                              Claim 000031, Payment 100.00000%              5300-000                                           164.21        3,151,087.14
                                  1831 Tamarind Ave Apt 7
                                  Los angeles, CA 90028

                                                                                                                         Page Subtotals                        0.00              24,162.52
                                                                                                                                                                                                     Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                    Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             2:19-23085 -BB                                                                                    Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                      Bank Name:                       AXOS BANK
                                                                                                                         Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                             3                                               4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002038     SONIA MORENO                                   Claim 000033, Payment 100.00000%              5300-000                                          1,638.78       3,149,448.36
                                  2001 NEW JERSEY ST
                                  LOS ANGELES, CA 90033
          11/29/23     002039     HECTOR SERRATO                                 Claim 000034, Payment 100.00000%              5300-000                                          3,179.73       3,146,268.63
                                  10077 AMBOY AVE
                                  PACOIMA, CA 91331
          11/29/23     002040     MARVIN A RAMIREZ                               Claim 000036, Payment 100.00000%              5300-000                                           247.35        3,146,021.28
                                  9541 WOODMAN AVE UNIT 3
                                  ARLETA, CA 91331
          11/29/23     002041     LUIS CARBAJO                                   Claim 000039, Payment 100.00000%              5300-000                                          6,989.31       3,139,031.97
                                  13890 SAYRE ST APT 120
                                  SYLMAR, CA 91342
          11/29/23     002042     JASMINE TOVER                                  Claim 000041, Payment 100.00000%              5300-000                                          4,496.86       3,134,535.11
                                  434 E. 78TH STREET
                                  LOS ANGELES, CA 90003
          11/29/23     002043     DIANA MEJIA                                    Claim 000042, Payment 100.00000%              5300-000                                          1,171.68       3,133,363.43
                                  2301 W LA HABRA BLVD APT 5                     (42-1) Account Number (last 4
                                  LA HABRA, CA 90631                             digits):3085
          11/29/23     002044     BRYAN COREAS                                   Claim 000045A, Payment 100.00000%             5300-000                                          2,679.38       3,130,684.05
                                  16352 GLENHOPE DR                              (45-1) Account Number (last 4
                                  LA PUENTE, CA 91744                            digits):8339
          11/29/23     002045     MARISSA C JOHNSON                              Claim 000046, Payment 100.00000%              5300-000                                           167.98        3,130,516.07
                                  6438 HAZELTINE AVENUE APT 3
                                  VAN NUYS, CA 91401
          11/29/23     002046     LUIS GOMEZ                                     Claim 000047, Payment 100.00000%              5300-000                                          2,639.11       3,127,876.96
                                  807 N BUNKER HILL AVE APT 201
                                  LOS ANGELES, CA 90012
          11/29/23     002047     EDWARD L KLEIN                                 Claim 000052, Payment 100.00000%              5300-000                                           197.31        3,127,679.65
                                  12320 CHANDLER BLVD #25                        (52-1) Unpaid hourly wages
                                  N HOLLYWOOD, CA 91607

                                                                                                                         Page Subtotals                        0.00              23,407.49
                                                                                                                                                                                                     Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                         Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             2:19-23085 -BB                                                                                         Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                           Bank Name:                       AXOS BANK
                                                                                                                              Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                 Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                             3                                                 4                                               5                       6                   7
    Transaction       Check or                                                                                                       Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002048     ANA OSTORGA                                    Claim 000054, Payment 100.00000%                   5300-000                                           151.69        3,127,527.96
                                  9800 VESPER AVE APT 55                         (54-1) Unpaid hourly wages
                                  PANORAMA CITY, CA 91402
          11/29/23     002049     DYLAN J CAMPBELL                               Claim 000055, Payment 100.00000%                   5300-000                                           125.92        3,127,402.04
                                  8912 HAZELTINE AVE                             (55-1) Unpaid hourly wages
                                  PANORAMA CITY, CA 91402
          11/29/23     002050     YESENIA IBARRA                                 Claim 000056, Payment 100.00000%                   5300-000                                          4,607.43       3,122,794.61
                                  14238 SHERMAN WAY, APT F                       (56-1) Account Number (last 4
                                  VAN NUYS, CA 91405                             digits):3085
          11/29/23     002051     DIANE ESTRADA                                  Claim 000060, Payment 100.00000%                   5300-000                                          1,534.68       3,121,259.93
                                  27924 LASSEN ST
                                  CASTAIC, CA 91384
          11/29/23     002052     ROXANA MAYORGA                                 Claim 000064, Payment 100.00000%                   5300-000                                          1,031.58       3,120,228.35
                                  11346 EMELITA ST                               (64-1) Services Performed
                                  NORTH HOLLYWOOD, CA 91601
          11/29/23     002053     ZULY REYES                                     Claim 000071, Payment 100.00000%                   5300-000                                          1,254.33       3,118,974.02
                                  18813 SCHOENBORN STREET
                                  NORTHRIDGE, CA 91324
          11/29/23     002054     KARINA MOSQUEDA                                Claim 000072, Payment 100.00000%                   5300-000                                          1,535.53       3,117,438.49
                                  39513 DIJON LANE
                                  PALMDALE, CA 93551
          11/29/23     002055     Wendy Fabiola Quinonez                         Claim 000074, Payment 100.00000%                   5300-000                                          1,629.00       3,115,809.49
                                  13107 Ottoman St.                              (74-1) College counseling services
                                  Arleta CA 91331                                performed for summer programs 2019
          11/29/23     002056     BELINDA KWAN                                   Claim 000076A, Payment 100.00000%                  5300-000                                          2,265.88       3,113,543.61
                                  2521 MIDWICKHILL DRIVE                         (76-1) Account Number (last 4
                                  LOS ANGELES, CA 91803                          digits):8339 (76-2) Account Number (last 4
                                                                                 digits):8339
          11/29/23     002057     DANIELA J FLORES BUSSO                         Claim 000077, Payment 100.00000%                   5300-000                                          1,968.42       3,111,575.19
                                  2935 EAST 60TH PLACE UNIT E

                                                                                                                              Page Subtotals                        0.00              16,104.46
                                                                                                                                                                                                          Ver: 22.07l
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          UST Form 101-7-TDR (10/1/2010) (Page: 213)
                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                         Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             2:19-23085 -BB                                                                                         Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                           Bank Name:                       AXOS BANK
                                                                                                                              Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                 Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                               3                                               4                                               5                       6                   7
     Transaction      Check or                                                                                                       Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  HUNTINGTON PARK, CA 90255
          11/29/23     002058     AURELIA ORTIZ                                  Claim 000082A, Payment 100.00000%                  5300-000                                          1,449.67       3,110,125.52
                                  19115 FRANFORT STREET                          (82-1) Account Number (last 4
                                  NORTHRIDGE, CA 91324                           digits):8339
          11/29/23     002059     Paola Mejia                                    Claim 000083A, Payment 100.00000%                  5300-000                                           230.92        3,109,894.60
                                  1808 2nd St
                                  San Fernando, CA 91340-9134
          11/29/23     002060     ALMA R ESTEVEZ                                 Claim 000084, Payment 100.00000%                   5300-000                                          3,874.37       3,106,020.23
                                  1001 LORD STREET                               (84-1) UNPAID WAGES
                                  LOS ANGELES, CA 90033
          11/29/23     002061     DELVY I GARCIA                                 Claim 000087, Payment 100.00000%                   5300-000                                           817.46        3,105,202.77
                                  1742 WALTON AVENUE                             (87-1) Services Performed
                                  LOS ANGELES, CA 90006
          11/29/23     002062     Irma Leticia Sepulveda                         Claim 000090, Payment 100.00000%                   5300-000                                          2,105.22       3,103,097.55
                                  26123 Bouquet Canyon Rd. , Apt. 223            (90-1) Account Number (last 4
                                  Santa Clarita, CA 91350-9135                   digits):2385
          11/29/23     002063     JESSICA HENDRICKS                              Claim 000091A, Payment 100.00000%                  5300-000                                          2,673.65       3,100,423.90
                                  6600 WHITSETT AVE, APT 7                       (91-1) Account Number (last 4
                                  NORTH HOLLYWOOD, CA 91606                      digits):8339 (91-2) Account Number (last 4
                                                                                 digits):8339 (91-3) Account Number (last 4
                                                                                 digits):8339
          11/29/23     002064     Pedro T. Chavira                               Claim 000092, Payment 100.00000%                   5300-000                                          2,804.62       3,097,619.28
                                  3064 Isabel Dr.
                                  Los Angeles, CA 90065
 *        11/29/23     002065     CICELY MAJEED                                  Claim 000096, Payment 100.00000%                   5300-004                                          1,659.14       3,095,960.14
                                  327 W PCH HWY APT 7
                                  LONG BEACH, CA 90806
          11/29/23     002066     VANESSA NUNEZ CRUZ                             Claim 000097, Payment 100.00000%                   5300-000                                          1,788.96       3,094,171.18
                                  8020 LEMONA AVENUE
                                  PANORAMA CITY, CA 91402

                                                                                                                              Page Subtotals                        0.00              17,404.01
                                                                                                                                                                                                          Ver: 22.07l
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             2:19-23085 -BB                                                                                     Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                       Bank Name:                       AXOS BANK
                                                                                                                          Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
    Transaction       Check or                                                                                                   Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002067     Lena Georgas                                   Claim 000100, Payment 100.00000%               5300-000                                          4,013.53       3,090,157.65
                                  2351 Fernleaf St
                                  Los Angeles, CA 90031
          11/29/23     002068     BRIAN J MARTINEZ                               Claim 000107, Payment 100.00000%               5300-000                                           703.68        3,089,453.97
                                  346 W VALENCIA AVE
                                  BURBANK, CA 91506
          11/29/23     002069     MELISSA MARTINEZ E                             Claim 000108, Payment 100.00000%               5300-000                                          1,471.33       3,087,982.64
                                  3453 N MISSION RD                              (108-1) Unpaid wage and vacation
                                  LOS ANGELES, CA 90031                          hours
          11/29/23     002070     MARIA VALLEJO VAZQUEZ                          Claim 000109, Payment 100.00000%               5300-000                                           937.69        3,087,044.95
                                  1627 S VERMONT AVE APT 1                       (109-1) Unpaid wages and vacation
                                  LOS ANGELES, CA 90006                          time
          11/29/23     002071     NANCY CARDENAS                                 Claim 000110, Payment 100.00000%               5300-000                                           199.67        3,086,845.28
                                  671 GRISWOLD AVE                               (110-1) Services/Hours Performed
                                  SAN FERNANDO, CA 91340
          11/29/23     002072     NOEMI RODRIGUEZ                                Claim 000112, Payment 100.00000%               5300-000                                          3,452.29       3,083,392.99
                                  18551 DEARBORN STREET APT 38
                                  NORTHRIDGE, CA 91324
          11/29/23     002073     DANIEL GRUNFELD                                Claim 000113, Payment 100.00000%               5300-000                                          8,498.20       3,074,894.79
                                  2307 DUXBURY CIRCLE
                                  LOS ANGELES, CA 90034
          11/29/23     002074     MARILU RAMOS                                   Claim 000116, Payment 100.00000%               5300-000                                           147.32        3,074,747.47
                                  5087 Bohlig Rd
                                  Los Angeles, CA 90032
          11/29/23     002075     ROSA RAMIREZ                                   Claim 000117, Payment 100.00000%               5300-000                                          2,206.17       3,072,541.30
                                  3140 FAIRMOUNT ST
                                  LOS ANGELES, CA 90063
          11/29/23     002076     RENEE OCHOA                                    Claim 000119, Payment 100.00000%               5300-000                                           105.63        3,072,435.67
                                  3426 ISABEL DRIVE APT 1
                                  LOS ANGELES, CA 90065

                                                                                                                          Page Subtotals                        0.00              21,735.51
                                                                                                                                                                                                      Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                           Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             2:19-23085 -BB                                                                                           Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                             Bank Name:                       AXOS BANK
                                                                                                                                Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                   Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                Separate Bond (if applicable):


           1              2                               3                                               4                                                 5                       6                  7
     Transaction      Check or                                                                                                         Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction              Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
          11/29/23     002077     DANIELLE K MARTINEZ                            Claim 000120, Payment 100.00000%                     5300-000                                           236.19       3,072,199.48
                                  2201 CHARNWOOD AVE
                                  ALHAMBRA, CA 91803
 *        11/29/23     002078     AUDREY LOPEZ                                   Claim 000121, Payment 100.00000%                     5300-004                                           133.47       3,072,066.01
                                  564 OLEANDER DR
                                  LOS ANGELES, CA 90042
 *        11/29/23     002079     PAOLA HUERTA                                   Claim 000122, Payment 100.00000%                     5300-004                                           179.90       3,071,886.11
                                  2580 N SOTO ST #421
                                  LOS ANGELES, CA 90032
 *        11/29/23     002080     MIGUEL A GARCIA                                Claim 000124, Payment 100.00000%                     5300-004                                           152.37       3,071,733.74
                                  711 1/2 Euclid Ave
                                  Los Angeles, CA 90023
          11/29/23     002081     HUGO CRISOSTOMO-ROMO                           Claim 000125, Payment 100.00000%                     5300-000                                           174.10       3,071,559.64
                                  5901 MERIDIAN STREET
                                  LOS ANGELES, CA 90042
          11/29/23     002082     ROBERT BARBA                                   Claim 000126, Payment 100.00000%                     5300-000                                           176.29       3,071,383.35
                                  4302 Amistad Ave
                                  Pico Rivera, CA 90660
 *        11/29/23     002083     JOCELYN FLORES                                 Claim 000128A, Payment 100.00000%                    5300-004                                           346.16       3,071,037.19
                                  12300 OSBORN PL APT 208
                                  PACOIMA, CA 91331
          11/29/23     002084     GUSTAVO GUTIERREZ                              Claim 000135, Payment 100.00000%                     5300-000                                          1,882.34      3,069,154.85
                                  10425 PLAINVIEW AVE A9
                                  TUJUNGA, CA 91042
          11/29/23     002085     Labor Commissioner of the State of             Claim 000137A, Payment 100.00000%                    5300-000                                      620,536.37        2,448,618.48
                                  California                                     (137-1) Unpaid Wages and Labor Code
                                  Attn: Matthew Sirolly                          penalties(137-2) Unpaid wages and Labor code
                                  320 W. 4th Street, Suite 600                   penalties
                                  Los Angeles, CA 90013
          11/29/23     002086     MARYAM MALEKI MS RD                            Claim 000145, Payment 100.00000%                     5300-000                                          5,241.30      2,443,377.18

                                                                                                                                Page Subtotals                        0.00           629,058.49
                                                                                                                                                                                                           Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                             Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             2:19-23085 -BB                                                                                             Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                               Bank Name:                       AXOS BANK
                                                                                                                                  Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                     Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                  Separate Bond (if applicable):


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     Transaction      Check or                                                                                                            Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                          Description Of Transaction                Tran. Code      Deposits ($)          Disbursements ($)       Balance ($)
                                  9165 ALCOTT ST 203                             (145-1) Account Number (last 4
                                  LOS ANGELES, CA 90035                          digits):8339
 *        11/29/23     002087     STACY TAPIA                                    Claim 000149, Payment 100.00000%                        5300-004                                         1,022.62       2,442,354.56
                                  9233 VAN NUYS BLVD # 224
                                  PANORAMA CITY, CA 91402
          11/29/23     002088     RANDY QUEZADA                                  Claim 000150, Payment 100.00000%                        5300-000                                          224.40        2,442,130.16
                                  7500 PENFIELD AVENUE
                                  WINNETKA, CA 91306
          11/29/23     002089     YADIRA QUEZADA                                 Claim 000151, Payment 100.00000%                        5300-000                                          618.37        2,441,511.79
                                  7500 Penfield Avenue
                                  WINNETKA, CA 91306
          11/29/23     002090     VERONICA HERNANDEZ                             Claim 000164, Payment 100.00000%                        5300-000                                         2,077.91       2,439,433.88
                                  2624 CALIFORNIA STREET                         (164-1) Unpaid wages
                                  HUNTINGTON PARK, CA 90255                      (164-1) The
                                                                                 Proof of Claim form discloses that this claim amends
                                                                                 one already filed. There is no claim previously filed
                                                                                 by the creditor.
          11/29/23     002091     INTERNAL REVENUE SERVICE                       SOCIAL SECURITY                                         5300-000                                         9,506.23       2,429,927.65
                                  SOCIAL SECURITY
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002092     INTERNAL REVENUE SERVICE                       FEDERAL INCOME TAX                                      5300-000                                      15,332.63         2,414,595.02
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002093     INTERNAL REVENUE SERVICE                       MEDICARE                                                5300-000                                         2,223.22       2,412,371.80
                                  MEDICARE
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002094     EMPLOYMENT DEVELOPMENT DEPARTMENT              STATE DISABILITY INSURANCE                              5300-000                                         1,379.97       2,410,991.83
                                  STATE DISABILITY INSURANCE

                                                                                                                                  Page Subtotals                        0.00              32,385.35
                                                                                                                                                                                                              Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                    Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             2:19-23085 -BB                                                                                    Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                      Bank Name:                       AXOS BANK
                                                                                                                         Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                               3                                             4                                            5                       6                  7
    Transaction       Check or                                                                                                  Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  P.O. BOX 826276
                                  SACRAMENTO, CA 94230-6276
          11/29/23     002095     Kaiser Permanente                              Claim 000161, Payment 100.00000%              5400-000                                      294,107.90        2,116,883.93
                                  The Ebersole Law Firm, LLC                     (161-1) Account Number (last 4
                                  1229 Dietrich Way                              digits):2101
                                  Annapolis, MD 21409
          11/29/23     002096     California Dept. of Tax & Fee                  Claim 000159A, Payment 100.00000%             5800-000                                       16,177.00        2,100,706.93
                                  Administration
                                  PO Box 942879
                                  Sacramento, CA 94279-0055
          11/29/23     002097     FRANCHISE TAX BOARD                            Claim 000167A, Payment 100.00000%             5800-000                                          2,516.23      2,098,190.70
                                  BANKRUPTCY SECTION MS A340
                                  PO BOX 2952
                                  SACRAMENTO CA 95812-2952
          11/29/23     002098     INTERNAL REVENUE SERVICE                       EMPLOYER MATCHING SOCIAL SECURITY             5800-000                                          9,506.23      2,088,684.47
                                  SOCIAL SECURITY
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002099     INTERNAL REVENUE SERVICE                       FEDERAL UNEMPLOYMENT INSURANCE                5800-000                                          1,117.88      2,087,566.59
                                  FEDERAL UNEMPLOYMENT TAX INSURANCE
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002100     INTERNAL REVENUE SERVICE                       EMPLOYER MATCHING MEDICARE                    5800-000                                          2,223.22      2,085,343.37
                                  MEDICARE
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002101     EMPLOYMENT DEVELOPMENT DEPARTMENT              STATE EMPLOYER TRAINING TAX                   5800-000                                           124.22       2,085,219.15
                                  P.O. BOX 826276
                                  SACRAMENTO, CA 94230-6276
          11/29/23     002102     EMPLOYMENT DEVELOPMENT DEPARTMENT              STATE UNEMPLOYMENT INSURANCE                  5800-000                                          4,222.97      2,080,996.18

                                                                                                                         Page Subtotals                        0.00           329,995.65
                                                                                                                                                                                                    Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                     Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             2:19-23085 -BB                                                                                      Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                        Bank Name:                       AXOS BANK
                                                                                                                           Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                   7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  STATE DISABILITY INSURANCE
                                  P.O. BOX 826276
                                  SACRAMENTO, CA 94230-6276
          11/29/23     002103     INTERNAL REVENUE SERVICE                        FEDERAL UNEMPLOYMENT INSURANCE                 5800-000                                           189.00        2,080,807.18
                                  FEDERAL UNEMPLOYMENT TAX INSURANCE
                                  P.O. BOX 105083
                                  ATLANTA, GA 30348-5083
          11/29/23     002104     EMPLOYMENT DEVELOPMENT DEPARTMENT               STATE EMPLOYER TRAINING TAX                    5800-000                                            21.00        2,080,786.18
                                  P.O. BOX 826276
                                  SACRAMENTO, CA 94230-6276
          11/29/23     002105     EMPLOYMENT DEVELOPMENT DEPARTMENT               STATE UNEMPLOYMENT INSURANCE                   5800-000                                           714.00        2,080,072.18
                                  STATE DISABILITY INSURANCE
                                  P.O. BOX 826276
                                  SACRAMENTO, CA 94230-6276
          11/29/23     002106     Staples Business Advantage                      Claim 000010, Payment 11.00571%                7100-000                                       19,408.80         2,060,663.38
                                  PO Box 105748                                   (10-1) Goods sold-office products
                                  Atlanta, GA 30348
 *        11/29/23     002107     Office Depot                                    Claim 000012, Payment 11.00589%                7100-004                                           180.38        2,060,483.00
                                  6600 N Military Trail                           (12-1) Account Number (last 4
                                  Bankruptcy Filing                               digits):8435
                                  Boca Raton, FL 33496
          11/29/23     002108     UNIVERSITY OF LA VERNE                          Claim 000013, Payment 11.00565%                7100-000                                          1,188.17       2,059,294.83
                                  1950 THIRD STREET
                                  LA VERNE, CA 91750
          11/29/23     002109     Direct Ed                                       Claim 000015, Payment 11.00571%                7100-000                                       13,521.30         2,045,773.53
                                  c/o Jonathan Neil & Assoc. Inc.                 (15-1) Services Performed
                                  P.O. Box 7000
                                  Tarzana CA 91357
          11/29/23     002110     Newport International United College            Claim 000016, Payment 11.00571%                7100-000                                          9,501.56       2,036,271.97
                                  5959 Topanga Canyon Blvd., Suite 110

                                                                                                                           Page Subtotals                        0.00              44,724.21
                                                                                                                                                                                                       Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                  Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                       Desc
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             2:19-23085 -BB                                                                                         Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                           Bank Name:                       AXOS BANK
                                                                                                                              Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                 Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                              Separate Bond (if applicable):


           1              2                               3                                                   4                                           5                       6                   7
    Transaction       Check or                                                                                                       Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                           Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Woodland Hills, CA 91367-9136
          11/29/23     002111     City Year, Inc.                                  Claim 000017, Payment 11.00571%                  7100-000                                       25,313.13         2,010,958.84
                                  Kat Decelles                                     (17-1) Services Performed
                                  287 Columbus Ave
                                  Boston, MA 02116
          11/29/23     002112     National Career College, Inc.                    Claim 000018, Payment 11.00568%                  7100-000                                          3,257.13       2,007,701.71
                                  14355 Roscoe Blvd.                               (18-1) Account Number (last 4
                                  Panorama City, CA 91402                          digits):8339
          11/29/23     002113     Olivarend Inc.                                   Claim 000019, Payment 11.00570%                  7100-000                                          3,035.78       2,004,665.93
                                  16211 Filbert St
                                  Sylmar, CA 91342-9134
          11/29/23     002114     IMPAQ International, LLC                         Claim 000021, Payment 11.00571%                  7100-000                                          3,964.56       2,000,701.37
                                  10420 Little Patuxent Pkwy, Suite 300            (21-1) Account Number (last 4
                                  Columbia, MD 21044-3533                          digits):2744
          11/29/23     002115     Mitchell Silberberg & Knupp                      Claim 000023, Payment 11.00571%                  7100-000                                           395.16        2,000,306.21
                                  2049 Century Park East. 18th Floor               (23-1) General legal services
                                  Los Angeles, CA 90067                            rendered to Youth Policy Institute, Inc.
          11/29/23     002116     DSH                                              Claim 000024, Payment 11.00571%                  7100-000                                          6,466.86       1,993,839.35
                                  3250 Wilshire Blvd Suite 1105
                                  Los Angeles, CA 90010
          11/29/23     002117     MEDG International, Inc                          Claim 000025, Payment 11.00572%                  7100-000                                          1,981.03       1,991,858.32
                                  701 SONORA AVE, SUITE 200
                                  GLENDALE, CA 91201
          11/29/23     002118     Gopher Sport                                     Claim 000027, Payment 11.00566%                  7100-000                                          1,118.87       1,990,739.45
                                  NW 5634                                          (27-1) Account Number (last 4
                                  PO Box 1450                                      digits):1206
                                  Minneapolis, MN 55485
          11/29/23     002119     STEM & MORE LLC                                  Claim 000040, Payment 11.00570%                  7100-000                                          4,380.27       1,986,359.18
                                  7618 JELLICO AVE
                                  NORTHRIDGE, CA 91325

                                                                                                                              Page Subtotals                        0.00              49,912.79
                                                                                                                                                                                                          Ver: 22.07l
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             2:19-23085 -BB                                                                                    Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                      Bank Name:                       AXOS BANK
                                                                                                                         Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                               3                                             4                                            5                       6                   7
     Transaction      Check or                                                                                                  Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002120     S&S WORLDWIDE                                  Claim 000043, Payment 11.00584%               7100-000                                           276.25        1,986,082.93
                                  75 Mill Street
                                  Colchester, CT 06415
          11/29/23     002121     INTERNATIONAL INSTITUTE OF LOS ANGELES         Claim 000044, Payment 11.00570%               7100-000                                          6,017.43       1,980,065.50
                                  3845 SELIG PLACE
                                  LOS ANGELES, CA 90031
          11/29/23     002122     TOTAL CORPORATE SOLUTIONS                      Claim 000048, Payment 11.00718%               7100-000                                            20.71        1,980,044.79
                                  20335 S WESTERN AVE
                                  TORRANCE, CA 90501
          11/29/23     002123     Fifth Road Inc                                 Claim 000049, Payment 11.00552%               7100-000                                           149.40        1,979,895.39
                                  2821 Elm Street
                                  Los Angeles, CA 90065
          11/29/23     002124     CLOUD FOR GOOD LLC                             Claim 000050, Payment 11.00586%               7100-000                                           300.46        1,979,594.93
                                  1854A HENDERSONVILLE, #252
                                  ASHEVILLE, NC 28803
          11/29/23     002125     Kravitz Inc                                    Claim 000057, Payment 11.00561%               7100-000                                           426.33        1,979,168.60
                                  16030 Ventura Blvd Ste 200                     (57-1) Account Number (last 4
                                  Encino, CA 91436                               digits):5011
          11/29/23     002126     Dell Marketing, L.P.                           Claim 000058, Payment 11.00569%               7100-000                                          1,676.06       1,977,492.54
                                  Dell, Inc.                                     (58-1) Goods Sold
                                  One Dell Way, RR1, MS 52
                                  Round Rock, TX 78682
          11/29/23     002127     Uniforms and Safety Supplies                   Claim 000059, Payment 11.00592%               7100-000                                           128.00        1,977,364.54
                                  11011 San Fernando Rd.
                                  Pacoima, CA 91331
          11/29/23     002128     ChildCare Careers                              Claim 000061, Payment 11.00570%               7100-000                                          4,295.36       1,973,069.18
                                  2000 Sierra Point Pkwy, Ste 702                (61-1) services rendered for
                                  Brisbane, CA 94005                             subsitute teachers
 *        11/29/23     002129     Maximus Protective Services                    Claim 000062, Payment 11.00571%               7100-004                                          4,586.89       1,968,482.29
                                  2540 Grand Avenue

                                                                                                                         Page Subtotals                        0.00              17,876.89
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                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                    Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             2:19-23085 -BB                                                                                     Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                       Bank Name:                       AXOS BANK
                                                                                                                          Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                  7
    Transaction       Check or                                                                                                   Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  Huntington Park, CA 90255
          11/29/23     002130     Granada Hills High School                       Claim 000063, Payment 11.00571%               7100-000                                       18,621.50        1,949,860.79
                                  10535 Zelzah Ave
                                  Granada Hills, CA 91344
          11/29/23     002131     DISCOVERY SCIENCE CENTER OF OC                  Claim 000065, Payment 11.00573%               7100-000                                          1,843.46      1,948,017.33
                                  2500 N MAIN ST
                                  SANTA ANA, CA 92705
          11/29/23     002132     MISSION ECONOMIC DEVELOPMENT AGENCY             Claim 000066, Payment 11.00570%               7100-000                                           772.27       1,947,245.06
                                  JILLIAN SPINDLE
                                  2301 MISSION STREET SUITE 301
                                  SAN FRANCISCO, CA 94110
          11/29/23     002133     Think Together                                  Claim 000067A, Payment 11.00571%              7100-000                                       44,306.26        1,902,938.80
                                  2101 E 4th Street 200B                          (67-1) Account Number (last 4
                                  Santa Ana, CA 92705-9270                        digits):8339
          11/29/23     002134     University of Southern California               Claim 000068, Payment 11.00571%               7100-000                                          4,512.34      1,898,426.46
                                  USC Gould School of Law
                                  ATTN: Niels Frenzen
                                  699 Exposition Blvd.
                                  Los Angeles, CA 90089-0071
          11/29/23     002135     American Express National Bank                  Claim 000069, Payment 11.00571%               7100-000                                       44,447.95        1,853,978.51
                                  c/o Becket and Lee LLP
                                  PO Box 3001
                                  Malvern PA 19355-0701
          11/29/23     002136     Wells Fargo Bank, N.A.                          Claim 000070, Payment 11.00561%               7100-000                                           225.91       1,853,752.60
                                  Wells Fargo Bank Payment Remittance Ctr         (70-1) 178509845
                                  P.O. Box 51174
                                  Los Angeles, CA 90051
          11/29/23     002137     Mimi Diep                                       Claim 000073, Payment 11.00572%               7100-000                                          2,403.65      1,851,348.95
                                  66 Trofello Ln                                  (73-1) Account Number (last 4
                                  Aliso Viejo, CA 92656                           digits):8339

                                                                                                                          Page Subtotals                        0.00           117,133.34
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LFORM24
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                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                   Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             2:19-23085 -BB                                                                                    Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                      Bank Name:                       AXOS BANK
                                                                                                                         Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                            Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                         Separate Bond (if applicable):


           1              2                                 3                                           4                                            5                       6                   7
    Transaction       Check or                                                                                                  Uniform                                                      Account / CD
       Date           Reference               Paid To / Received From                       Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          11/29/23     002138     BELINDA KWAN                                   Claim 000076B, Payment 11.00568%              7100-000                                           371.05        1,850,977.90
                                  2521 MIDWICKHILL DRIVE
                                  LOS ANGELES, CA 91803
          11/29/23     002139     826LA                                          Claim 000078, Payment 11.00572%               7100-000                                          4,543.27       1,846,434.63
                                  1714 W SUNSET BLVD
                                  LOS ANGELES, CA 90026
          11/29/23     002140     California Emerging Technology Fund            Claim 000079, Payment 11.00570%               7100-000                                          5,502.85       1,840,931.78
                                  414 13th Street, Suite 200B
                                  Oakland, CA 94612
          11/29/23     002141     Public Counsel                                 Claim 000080, Payment 11.00571%               7100-000                                          4,666.45       1,836,265.33
                                  610 S Ardmore Avenue                           (80-1) Services Performed
                                  Los Angeles, CA 90005
          11/29/23     002142     EVALUATION SPECIALISTS                         Claim 000081, Payment 11.00570%               7100-000                                          5,389.27       1,830,876.06
                                  1070 CALIFORNIA STREET                         (81-1) Services rendered per
                                  MOUNTAIN VIEW, CA 94041                        contract
          11/29/23     002143     AURELIA ORTIZ                                  Claim 000082B, Payment 11.00572%              7100-000                                           381.39        1,830,494.67
                                  19115 FRANFORT STREET
                                  NORTHRIDGE, CA 91324
          11/29/23     002144     Paola Mejia                                    Claim 000083B, Payment 11.00628%              7100-000                                           144.54        1,830,350.13
                                  1808 2nd St
                                  San Fernando, CA 91340-9134
          11/29/23     002145     Career Development Solutions LLC               Claim 000086, Payment 11.00570%               7100-000                                          5,157.16       1,825,192.97
                                  New Horizons Career Development Solution       (86-1) Services Performed
                                  1900 S. State College Blvd. Ste. 100
                                  Anaheim CA 92806
          11/29/23     002146     Yehudellie LLC                                 Claim 000088B, Payment 11.00573%              7100-000                                          1,650.86       1,823,542.11
                                  719 N Roxbury Dr
                                  Beverly Hills, CA 90210
          11/29/23     002147     JESSICA HENDRICKS                              Claim 000091B, Payment 11.00577%              7100-000                                           358.70        1,823,183.41
                                  6600 WHITSETT AVE, APT 7

                                                                                                                         Page Subtotals                        0.00              28,165.54
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                                       Case 2:19-bk-23085-BB                  Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                    Desc
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                         Exhibit 9
  Case No:             2:19-23085 -BB                                                                                      Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                        Bank Name:                       AXOS BANK
                                                                                                                           Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                              3                                                4                                            5                       6                  7
     Transaction      Check or                                                                                                    Uniform                                                     Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  NORTH HOLLYWOOD, CA 91606
          11/29/23     002148     MULTICULTURAL LEARNING CENTER                    Claim 000093, Payment 11.00571%               7100-000                                       18,457.01        1,804,726.40
                                  7510 DESOTO AVE
                                  CANOGA PARK, CA 91303
          11/29/23     002149     AAA Institute                                    Claim 000094, Payment 11.00579%               7100-000                                           209.11       1,804,517.29
                                  12086 Eddleston Dr
                                  Northridge, CA 91326
          11/29/23     002150     City of Philadelphia Law Tax & Revenue           Claim 000099, Payment 11.00570%               7100-000                                          5,931.90      1,798,585.39
                                  Unit                                             (99-1) Account Number (last 4
                                  1401 JFK Blvd, 5th flooor                        digits):8339
                                  Philadelphia, PA 19102
          11/29/23     002151     MDB International Branding LLC                   Claim 000101A, Payment 11.00571%              7100-000                                       72,930.68        1,725,654.71
                                  Daniel Bohbot
                                  2707-2711 Beverly Blvd
                                  Los Angeles, CA 90057
          11/29/23     002152     C3 Business Solutions                            Claim 000104, Payment 11.00570%               7100-000                                          5,080.37      1,720,574.34
                                  20321 SW Acacia St Ste 200
                                  Newport Beach, CA 92660
          11/29/23     002153     Wells Fargo Vendor Financial Services            Claim 000106, Payment 11.00571%               7100-000                                       12,522.21        1,708,052.13
                                  PO Box 30310
                                  Los Angeles, CA 90030
          11/29/23     002154     SARA ISRAEL                                      Claim 000114, Payment 11.00568%               7100-000                                           676.42       1,707,375.71
                                  638 WEST KNOLL DRIVE APT 5                       (114-1) Account Number (last 4
                                  WEST HOLLYWOOD, CA 90069                         digits):8339
 *        11/29/23     002155     leap                                             Claim 000115, Payment 11.00571%               7100-004                                          2,623.93      1,704,751.78
                                  1310 N La Brea Avenue Ste. A
                                  Inglewood, CA 90302-9030
 *        11/29/23     002156     TransPerfect Document Management, Inc.           Claim 000127, Payment 11.00582%               7100-004                                           359.34       1,704,392.44
                                  5700 Wilshire Blvd #265
                                  Los Angeles, CA 90036-9003

                                                                                                                           Page Subtotals                        0.00           118,790.97
                                                                                                                                                                                                      Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                   Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                     Desc
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             2:19-23085 -BB                                                                                        Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                          Bank Name:                       AXOS BANK
                                                                                                                             Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                             Separate Bond (if applicable):


           1              2                                3                                                4                                            5                       6                  7
     Transaction      Check or                                                                                                      Uniform                                                     Account / CD
        Date          Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
 *        11/29/23     002157     JOCELYN FLORES                                    Claim 000128B, Payment 11.00569%               7100-004                                           870.99       1,703,521.45
                                  12300 OSBORN PL APT 208
                                  PACOIMA, CA 91331
 *        11/29/23     002158     Fresh Start Meals Inc                             Claim 000129, Payment 11.00572%                7100-004                                          3,678.46      1,699,842.99
                                  1530 First St                                     (129-1) Meals sold to the Debtor
                                  San Fernando, CA 91340                            who operates a charter school.
          11/29/23     002159     Nonprofit Finance Fund                            Claim 000130B, Payment 11.00571%               7100-000                                      387,738.40        1,312,104.59
                                  Sidley Austin LLP
                                  Attn Genevieve G Weiner
                                  555 W Fifth St Ste 4000
                                  Los Angeles CA 90013
          11/29/23     002160     Cintas Corporation dba Cintas Location            Claim 000131, Payment 11.00571%                7100-000                                           458.98       1,311,645.61
                                  No. 53
                                  c/o Jason V. Stitt
                                  Keating Muething & Klekamp PLL
                                  One East 4th Street, Suite 1400
                                  Cincinnati, OH 45202
          11/29/23     002161     Pioneer Fire Professionals, Inc.                  Claim 000132, Payment 11.00299%                7100-000                                            19.90       1,311,625.71
                                  14819 Calvert Street
                                  Van Nuys, CA 91411
 *        11/29/23     002162     EdNet Career Institute, Inc.                      Claim 000133, Payment 11.00570%                7100-004                                          8,276.29      1,303,349.42
                                  7301 Topanga Canyon Blvd.
                                  Suite 350
                                  Canoga Park, CA 91303-9130
          11/29/23     002163     Oracle America, Inc                               Claim 000134, Payment 11.00571%                7100-000                                          8,069.56      1,295,279.86
                                  c/o Shawn M Christianson Esq
                                  Buchalter, a Professional Corp
                                  55 Second St, 17th Fl
                                  San Francisco, CA 94105
          11/29/23     002164     Orenda Education (Principals Exchange)            Claim 000136, Payment 11.00571%                7100-000                                          9,696.03      1,285,583.83

                                                                                                                             Page Subtotals                        0.00           418,808.61
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             2:19-23085 -BB                                                                                       Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                         Bank Name:                       AXOS BANK
                                                                                                                            Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                               Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                            Separate Bond (if applicable):


           1              2                               3                                                4                                            5                       6                  7
    Transaction       Check or                                                                                                     Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  2101 E 4th Street 200B
                                  Santa Ana, CA 92705-9270
          11/29/23     002165     Labor Commissioner of the State of              Claim 000137B, Payment 11.00571%                7100-000                                      118,515.22        1,167,068.61
                                  California
                                  Attn: Matthew Sirolly
                                  320 W. 4th Street, Suite 600
                                  Los Angeles, CA 90013
          11/29/23     002166     Dolphin Trucking School                         Claim 000138, Payment 11.00575%                 7100-000                                            88.09       1,166,980.52
                                  4820 S. Eastern Ave.
                                  Unit O
                                  Commerce, CA 90040-9004
          11/29/23     002167     Los Angeles Unified School District             Claim 000142A, Payment 11.00571%                7100-000                                       32,367.84        1,134,612.68
                                  David Homquist, LAUSD General Counsel           (142-1) Prepaid services not
                                  333 S Beaudry Ave., 24th Floor                  rendered, lease, overpayment
                                  Los Angeles, CA 90017
          11/29/23     002168     Teachers On Reserve LLC                         Claim 000143, Payment 11.00572%                 7100-000                                          2,751.69      1,131,860.99
                                  604 Sonora Ave                                  (143-1) Account Number (last 4
                                  Glendale, CA 91201                              digits):0001
          11/29/23     002169     Kounkuey Design Initiative, Inc.                Claim 000144, Payment 11.00580%                 7100-000                                           358.11       1,131,502.88
                                  309 E. 8th Street
                                  Suite #205
                                  Los Angeles, CA 90014-2254
          11/29/23     002170     California Institute of Technology,             Claim 000147, Payment 11.00571%                 7100-000                                       33,013.60        1,098,489.28
                                  Jet Propulsion Laboratory                       (147-1) See attached declarations
                                  David Flores                                    from Eleanor Wiggan and Michelle Viotti
                                  4800 Oak Grove Drive MS180-305
                                  Pasadena CA 91109
          11/29/23     002171     HACIENDA LA PUENTE ADULT                        Claim 000148, Payment 11.00571%                 7100-000                                           982.26       1,097,507.02
                                  EDUCATION/HACIE
                                  14101 E NELSON AVENUE

                                                                                                                            Page Subtotals                        0.00           188,076.81
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                                       Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                           Desc
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                Exhibit 9
  Case No:             2:19-23085 -BB                                                                                            Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                              Bank Name:                       AXOS BANK
                                                                                                                                 Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                    Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                                 Separate Bond (if applicable):


           1              2                               3                                                 4                                                5                       6                  7
    Transaction       Check or                                                                                                          Uniform                                                     Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                  LA PUENTE, CA 91746
          11/29/23     002172     Los Angeles Valley College -                    Claim 000152, Payment 11.00557%                      7100-000                                           177.74       1,097,329.28
                                  Extension/Workforce Training                    (152-1) Services Performed
                                  5800 Fulton Ave., ACA #1301                     (Education)
                                  Valley Glen, CA 91401-4096
          11/29/23     002173     National Career College, Inc.                   Claim 000153, Payment 11.00571%                      7100-000                                          3,257.14      1,094,072.14
                                  14355 Roscoe Blvd.                              (153-1) Account Number (last 4
                                  Panorama City, CA 91402                         digits):8339
          11/29/23     002174     Bright Star Schools                             Claim 000155, Payment 11.00571%                      7100-000                                       53,068.31        1,041,003.83
                                  Procopio, Cory, Hargreaves & Savitch LLP
                                  c/o William A. Smelko
                                  525 B Street, Suite 2200
                                  San Diego, CA 92101
          11/29/23     002175     California Department of Education              Claim 000156, Payment 11.00571%                      7100-000                                      972,960.87             68,042.96
                                  c/o Yiping Hu                                   (156-1) For possible overpayments &
                                  1430 N. Street, Suite 2213                      violations of grant terms and conditions
                                  Sacramento, CA 95814                            (156-1) Unliquidated
          11/29/23     002176     The Regents of the University of                Claim 000157, Payment 11.00570%                      7100-000                                       18,487.48             49,555.48
                                  California
                                  Attn: Rhonda Goldstein
                                  1111 Franklin Street, 8th Floor
                                  Oakland, CA 94607
          11/29/23     002177     California Dept. of Tax & Fee                   Claim 000159B, Payment 11.00561%                     7100-000                                            89.02            49,466.46
                                  Administration
                                  PO Box 942879
                                  Sacramento, CA 94279-0055
          11/29/23     002178     Department of Labor, Employee                   Claim 000162, Payment 11.00571%                      7100-000                                          5,398.30           44,068.16
                                  Benefits Security Administration                (162-1) ERISA 502(c)(2) Civil
                                  ERISA Civil Penalty                             Penalty for Plan Year(s) ended December 31, 2019.
                                  PO Box 6200-36

                                                                                                                                Page Subtotals                         0.00         1,053,438.86
                                                                                                                                                                                                            Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                      Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             2:19-23085 -BB                                                                                      Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                        Bank Name:                       AXOS BANK
                                                                                                                           Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                   7
     Transaction      Check or                                                                                                    Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Portland, OR 97228
          11/29/23     002179     California Community Foundation                Claim 000163, Payment 11.00571%                 7100-000                                       44,022.83                 45.33
                                  Attn: Carol Bradford                           (163-1) 11 U.S.C. 502(h) Claim, in
                                  717 W. Temple Street                           accordance with Settlement Agreement
                                  Los Angeles, CA 90012
          11/29/23     002180     FRANCHISE TAX BOARD                            Claim 000167B, Payment 11.00670%                7100-000                                             45.33                 0.00
                                  BANKRUPTCY SECTION MS A340
                                  PO BOX 2952
                                  SACRAMENTO CA 95812-2952
 *        01/04/24     002083     JOCELYN FLORES                                 Stop Payment Reversal                           5300-004                                           -346.16             346.16
                                  12300 OSBORN PL APT 208                        check not received by claimant
                                  PACOIMA, CA 91331
 *        01/04/24     002157     JOCELYN FLORES                                 Stop Payment Reversal                           7100-004                                           -870.99            1,217.15
                                  12300 OSBORN PL APT 208                        check not received by claimant
                                  PACOIMA, CA 91331
          01/08/24     002181     JOCELYN FLORES                                 Claim 000128B, Payment 11.00569%                7100-000                                            870.99             346.16
                                  12300 OSBORN PL APT 208
                                  PACOIMA, CA 91331
          01/08/24     002182     JOCELYN FLORES                                 Claim 000128A, Payment 100.00000%               5300-000                                            346.16                 0.00
                                  12300 OSBORN PL APT 208
                                  PACOIMA, CA 91331
 *        01/25/24     002065     CICELY MAJEED                                  Stop Payment Reversal                           5300-004                                          -1,659.14           1,659.14
                                  327 W PCH HWY APT 7                            check not received by claimant
                                  LONG BEACH, CA 90806
 *        01/25/24     002079     PAOLA HUERTA                                   Stop Payment Reversal                           5300-004                                           -179.90            1,839.04
                                  2580 N SOTO ST #421                            check not received by claimant
                                  LOS ANGELES, CA 90032
 *        01/25/24     002080     MIGUEL A GARCIA                                Stop Payment Reversal                           5300-004                                           -152.37            1,991.41
                                  711 1/2 Euclid Ave                             check not received by claimant
                                  Los Angeles, CA 90023

                                                                                                                           Page Subtotals                        0.00              42,076.75
                                                                                                                                                                                                       Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                      Desc
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             2:19-23085 -BB                                                                                      Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                        Bank Name:                       AXOS BANK
                                                                                                                           Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                              Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                           Separate Bond (if applicable):


           1              2                               3                                               4                                            5                       6                    7
     Transaction      Check or                                                                                                    Uniform                                                       Account / CD
        Date          Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
 *        01/26/24     002032     CAMILLE BULACLAC                               Stop Payment Reversal                           5300-004                                          -1,753.13             3,744.54
                                  100 SOUTH ALTADENA DRIVE APT 9                 check not received by claimant
                                  PASADENA, CA 91107
          01/26/24     002183     CICELY MAJEED                                  Claim 000096, Payment 100.00000%                5300-000                                          1,659.14              2,085.40
                                  327 W PCH HWY APT 7
                                  LONG BEACH, CA 90806
          01/26/24     002184     PAOLA HUERTA                                   Claim 000122, Payment 100.00000%                5300-000                                            179.90              1,905.50
                                  2580 N SOTO ST #421
                                  LOS ANGELES, CA 90032
          01/26/24     002185     MIGUEL A GARCIA                                Claim 000124, Payment 100.00000%                5300-000                                            152.37              1,753.13
                                  711 1/2 Euclid Ave
                                  Los Angeles, CA 90023
          01/29/24     002186     CAMILLE BULACLAC                               Claim 000011, Payment 100.00000%                5300-000                                          1,753.13                   0.00
                                  100 SOUTH ALTADENA DRIVE APT 9                 (11-1) Account Number (last 4
                                  PASADENA, CA 91107                             digits):8339
 *        02/02/24     002078     AUDREY LOPEZ                                   Stop Payment Reversal                           5300-004                                           -133.47               133.47
                                  564 OLEANDER DR                                check not received by claimant
                                  LOS ANGELES, CA 90042
          02/05/24     002187     AUDREY LOPEZ                                   Claim 000121, Payment 100.00000%                5300-000                                            133.47                   0.00
                                  564 OLEANDER DR
                                  LOS ANGELES, CA 90042
 *        02/07/24     002162     EdNet Career Institute, Inc.                   Stop Payment Reversal                           7100-004                                          -8,276.29             8,276.29
                                  7301 Topanga Canyon Blvd.                      check not received by claimant
                                  Suite 350
                                  Canoga Park, CA 91303-9130
 *        02/08/24     002087     STACY TAPIA                                    Stop Payment Reversal                           5300-004                                          -1,022.62             9,298.91
                                  9233 VAN NUYS BLVD # 224                       check not received by claimant
                                  PANORAMA CITY, CA 91402
 *        02/08/24     002155     leap                                           Stop Payment Reversal                           7100-004                                          -2,623.93            11,922.84
                                  1310 N La Brea Avenue Ste. A                   check not received by claimant

                                                                                                                           Page Subtotals                        0.00               -9,931.43
                                                                                                                                                                                                        Ver: 22.07l
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             2:19-23085 -BB                                                                                     Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                       Bank Name:                       AXOS BANK
                                                                                                                          Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                             Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                          Separate Bond (if applicable):


           1              2                               3                                              4                                            5                       6                   7
     Transaction      Check or                                                                                                   Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  Inglewood, CA 90302-9030
          02/08/24     002188     EdNet Career Institute, Inc.                   Claim 000133, Payment 11.00570%                7100-000                                          8,276.29            3,646.55
                                  7301 Topanga Canyon Blvd.
                                  Suite 350
                                  Canoga Park, CA 91303-9130
          02/12/24     002189     leap                                           Claim 000115, Payment 11.00571%                7100-000                                          2,623.93            1,022.62
                                  1310 N La Brea Avenue Ste. A
                                  Inglewood, CA 90302-9030
 *        02/12/24     002190     STACY TAPIA                                    Claim 000149, Payment 100.00000%               5300-004                                          1,022.62                 0.00
                                  9233 VAN NUYS BLVD # 224
                                  PANORAMA CITY, CA 91402
 *        02/28/24     002107     Office Depot                                   Stop Payment Reversal                          7100-004                                           -180.38             180.38
                                  6600 N Military Trail                          check not deposited
                                  Bankruptcy Filing
                                  Boca Raton, FL 33496
 *        02/28/24     002129     Maximus Protective Services                    Stop Payment Reversal                          7100-004                                          -4,586.89           4,767.27
                                  2540 Grand Avenue                              check not deposited
                                  Huntington Park, CA 90255
 *        02/28/24     002156     TransPerfect Document Management, Inc.         Stop Payment Reversal                          7100-004                                           -359.34            5,126.61
                                  5700 Wilshire Blvd #265                        check not deposited
                                  Los Angeles, CA 90036-9003
 *        02/28/24     002158     Fresh Start Meals Inc                          Stop Payment Reversal                          7100-004                                          -3,678.46           8,805.07
                                  1530 First St                                  check not deposited
                                  San Fernando, CA 91340
          02/29/24     002191     United States Bankruptcy Court                 Claim numbers:                                                                                   8,805.07                 0.00
                                  255 East Temple Street, Room 100               000012         180.38
                                  Los Angeles, CA 90012                          000062       4,586.89
                                                                                 000127         359.34
                                                                                 000129       3,678.46
                                                                                 DIVIDENDS REMITTED TO THE COURT

                                                                                                                          Page Subtotals                        0.00              11,922.84
                                                                                                                                                                                                      Ver: 22.07l
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                                          Case 2:19-bk-23085-BB                 Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                            Desc
                                                                                Main DocumentFORMPage
                                                                                                  2   231 of 232
                                                                                                                                                                                                                 Page:      31
                                                                            ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                           Exhibit 9
  Case No:               2:19-23085 -BB                                                                                             Trustee Name:                       JASON M. RUND, TRUSTEE
  Case Name:             YOUTH POLICY INSTITUTE, INC.                                                                               Bank Name:                          AXOS BANK
                                                                                                                                    Account Number / CD #:              *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                                       Blanket Bond (per case limit):      $ 5,000,000.00
                                                                                                                                    Separate Bond (if applicable):


           1                2                               3                                                  4                                                  5                          6                         7
     Transaction        Check or                                                                                                           Uniform                                                               Account / CD
        Date            Reference                 Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
                                                                                      ITEM #   CLAIM #    DIVIDEND
                                                                                      ==================================
                                                                                        12          000012              180.38            7100-001
                                                                                        62          000062             4,586.89           7100-001
                                                                                        128         000127              359.34            7100-001
                                                                                        130         000129             3,678.46           7100-001
 *        03/22/24       002190      STACY TAPIA                                      Stop Payment Reversal                               5300-004                                               -1,022.62                 1,022.62
                                     9233 VAN NUYS BLVD # 224                         check not received by claimant
                                     PANORAMA CITY, CA 91402
          03/25/24       002192      STACY TAPIA                                      Claim 000149, Payment 100.00000%                    5300-000                                               1,022.62                        0.00
                                     9233 VAN NUYS BLVD # 224
                                     PANORAMA CITY, CA 91402

                                             Memo Allocation Receipts:           53,698.00                      COLUMN TOTALS                                  6,682,622.92               6,682,622.92                            0.00
                                         Memo Allocation Disbursements:               0.00                          Less: Bank Transfers/CD's                          0.00                       0.00
                                                                                                                Subtotal                                       6,682,622.92            6,682,622.92
                                                   Memo Allocation Net:          53,698.00                          Less: Payments to Debtors                                                  0.00
                                                                                                                Net
                                                                                                                                                               6,682,622.92            6,682,622.92
                                                                                                                                                                                        NET                             ACCOUNT
                     Total Allocation Receipts:            53,698.00                                            TOTAL - ALL ACCOUNTS                      NET DEPOSITS             DISBURSEMENTS                        BALANCE
               Total Allocation Disbursements:                  0.00                          Checking Account (Non-Interest Earn - ********0483                6,682,622.92                6,682,622.92                          0.00
                                                                                                                                                        ------------------------    ------------------------   ------------------------
                     Total Memo Allocation Net:            53,698.00
                                                                                                                                                                6,682,622.92                6,682,622.92                          0.00
                                                                                                                                                        ==============             ==============              ==============
                                                                                                                                                         (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                                    Transfers)               To Debtors)                    On Hand




                                                                                                                                    Page Subtotals                        0.00                        0.00
                                                                                                                                                                                                                           Ver: 22.07l
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                                       Case 2:19-bk-23085-BB                Doc 293 Filed 06/11/24 Entered 06/11/24 09:19:55                                 Desc
                                                                            Main DocumentFORMPage
                                                                                              2   232 of 232
                                                                                                                                                                                         Page:   32
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                      Exhibit 9
  Case No:             2:19-23085 -BB                                                                                 Trustee Name:                    JASON M. RUND, TRUSTEE
  Case Name:           YOUTH POLICY INSTITUTE, INC.                                                                   Bank Name:                       AXOS BANK
                                                                                                                      Account Number / CD #:           *******0483 Checking Account (Non-Interest Earn
  Taxpayer ID No:    *******8339
  For Period Ending: 03/31/25                                                                                         Blanket Bond (per case limit):   $ 5,000,000.00
                                                                                                                      Separate Bond (if applicable):


          1               2                             3                                            4                                            5                       6                  7
    Transaction       Check or                                                                                               Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                    Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)




                                                                                                                      Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                 Ver: 22.07l
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